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                        EXHIBIT E
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


     In re:                                                          Chapter 11

     BOY SCOUTS OF AMERICA and                                       Case No. 20-10343 (LSS)
     DELAWARE BSA, LLC,1
                                                                     (Jointly Administered)
                                  Debtors.
                                                                     Objection Deadline:
                                                                     November 5, 2021 at 4:00 p.m. (ET)

              SUMMARY COVER SHEET OF TENTH MONTHLY APPLICATION OF
               WHITE & CASE LLP FOR ALLOWANCE OF COMPENSATION AND
                 REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                      JULY 1, 2021 TO AND INCLUDING JULY 31, 2021

     Name of Applicant:                                                  White & Case LLP

     Authorized to Provide Professional Services to:                     Debtors and Debtors in Possession

     Date of Retention:                                                  Effective September 23, 2020

     Period for Which Compensation and                                   July 1, 2021 – July 31, 2021
     Reimbursement Are Requested:

     Amount of Compensation Requested:                                   $2,706,272.00 (80% of $3,382,840.00)

     Amount of Expense Reimbursement Requested:                          $14,684.91



 This is a monthly fee application.




 1     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are
       as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West
       Walnut Hill Lane, Irving, Texas 75038.
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                                                     PRIOR MONTHLY FEE APPLICATIONS FILED

                                                             Requested                                 Approved                           Outstanding
             Date Filed;          Period                  Fees      Expenses                        Fees     Expenses                    Fees    Expenses
                 D.I.            Covered
             11/23/2020         9/23/2020 –           $568,536.80                  $0.00        $426,402.60                 $0.00 $142,134.20       $0.00
             D.I. 1729          10/31/2020
             12/30/2020         11/1/2020 –        $1,332,752.50               $256.11 $1,066,202.00                     $256.11 $266,550.50        $0.00
             D.I. 1885          11/30/2020
             2/9/2021           12/1/2020 –        $1,604,473.50             $2,544.74 $1,283,578.80                  $2,544.74 $320,894.70         $0.00
             D.I. 2130          12/31/2020
             3/10/2021          1/1/2021 –         $1,619,976.50               $479.28 $1,295,981.20                     $479.28 $323,995.30        $0.00
             D.I. 2350          1/31/2021
             4/16/2021          2/1/2021 –         $2,116,633.50             $1,357.66 $1,693,306.80                  $1,357.66 $423,326.70         $0.00
             D.I. 2627          2/28/2021
             5/17/2021          3/1/2021 –         $2,828,345.00             $1,970.13 $2,262,676.00                  $1,970.13 $565,669.00         $0.00
             D.I. 4137          3/31/2021
             7/1/2021           4/1/2021 –         $2,704,853.50             $3,922.93 $2,163,882.80                  $3,922.93 $540,970.70         $0.00
             D.I. 5471          4/30/2021
             9/10/2021          5/1/2021 –         $2,379,140.40           $23,051.59 $2,379,140.40 $23,051.59 $594,785.10                          $0.00
             D.I. 6194          5/31/2021
             9/30/2021          6/1/2021 –         $1,974,144.80 $36,219.301 $1,974,144.80 $36,219.30 $493,536.20                                   $0.00
             D.I. 6434          6/30/2021




1   This amount reflects a reduction of $341.15 in requested expenses as a result of an inadvertent error in the Application as filed.
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                                                      SUMMARY OF TOTAL FEES AND HOURS
                                                     BY ATTORNEYS AND PARAPROFESSIONALS

             Name                        Title            Year of                          Areas of Expertise                           Total      Hourly          Total
                                                         Admission                                                                      Hours       Billing     Compensation
                                                                                                                                        Billed1     Rate2
    Andolina, Michael            Partner                 1999            Commercial Litigation Practice                                  187.8     1,300.00          244,140.00
    Dharia, Binoy                Partner                 2008            Debt Finance Practice                                             14.4    1,285.00           18,504.00
    Hammond, Andrew              Partner                 1998            Commercial Litigation Practice                                  165.5     1,285.00          212,667.50
    Kurtz, Glenn                 Partner                 1990            Commercial Litigation Practice                                  126.0     1,725.00          217,350.00
    Lauria (Boelter), Jessica    Partner                 2002            Financial Restructuring & Insolvency (FRI) Practice             107.3     1,350.00          144,855.00
    O’Neill, Andrew              Partner                 2005            Financial Restructuring & Insolvency (FRI) Practice               92.4    1,300.00          120,120.00
    Baccash, Laura               Counsel                 2003            Financial Restructuring & Insolvency (FRI) Practice             199.4     1,050.00          209,370.00
    Green, Jesse                 Counsel                 2007            Commercial Litigation Practice                                    50.2    1,120.00           56,224.00
    Linder, Matthew              Counsel                 2012            Financial Restructuring & Insolvency (FRI) Practice             231.6     1,050.00          243,180.00
    Tiedemann, Robert            Counsel                 1994            Commercial Litigation Practice                                    75.5    1,120.00           84,560.00
    Adler, Christoffer           Associate               2015            Debt Finance Practice                                             13.5    1,045.00           14,107.50
    Boone, Robbie                Associate               2013            Financial Restructuring & Insolvency (FRI) Practice             187.8     1,045.00          196,251.00
                                                               3
    Bowron, Ashley               Associate               2019            Financial Restructuring & Insolvency (FRI) Practice               18.2      730.00           13,286.00
    Burgess, Kelsey              Associate               2019            Financial Restructuring & Insolvency (FRI) Practice             184.1       730.00          134,393.00
    Cull, Thomas                 Associate               2015            Commercial Litigation Practice                                    31.9      990.00           31,581.00
    Ferrier, Kyle                Associate               2020            Financial Restructuring & Insolvency (FRI) Practice             129.5       835.00          108,132.50
    Hershey, Sam                 Associate               2013            Commercial Litigation Practice                                  271.3     1,065.00          288,934.50
    Jaoude, Michael              Associate               2018            Commercial Litigation Practice                                    63.9      940.00           60,066.00


1   White & Case charged the Debtors for only 50% of non-working travel time, if any, in compliance with Local Rule 2016-2(d)(viii). Such reductions are reflected in the figures
    in this column.
2   As noted in the Debtors’ application to retain White & Case [D.I. 1571], White & Case has agreed that former Sidley professionals who have transitioned to White & Case will
    charge the Debtors’ estates for their services at the hourly rate that is the lower of their most recent hourly rate at Sidley and their then-current hourly rate at White & Case,
    subject to periodic adjustments in the normal course of White & Case’s operations. Effective January 1, 2021, the hourly rate for these former Sidley professionals has been
    adjusted to the lower of the applicable hourly rate for professionals of comparable seniority at Sidley effective January 1, 2021, on the one hand, and their respective current
    hourly rate at White & Case, on the other hand. For the other professionals, this application reflects White & Case’s customary annual rate increases effective January 1, 2021.
3   Ontario.
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Kim, David                Associate            2021   Financial Restructuring & Insolvency (FRI) Practice     56.6     635.00       35,941.00
Ludovici, Stephen         Associate            2014   Financial Restructuring & Insolvency (FRI) Practice     27.0    1,015.00      27,405.00
Mezei, Livy               Associate            2017   Financial Restructuring & Insolvency (FRI) Practice    114.5     730.00       83,585.00
Murray, Sean              Associate            2018   Antitrust Practice                                      39.7     920.00       36,524.00
Nasser, Adam              Associate            2020   Commercial Litigation Practice                          17.3     730.00       12,629.00
Popa, Iva                 Associate            2020   Commercial Litigation Practice                          30.6     730.00       22,338.00
Rifkin, David             Associate            2018   Commercial Litigation Practice                          32.5     835.00       27,137.50
Rivero, Devin             Associate            2020   Financial Restructuring & Insolvency (FRI) Practice    173.1     635.00      109,918.50
Rosenberg, Erin           Associate            2012   Financial Restructuring & Insolvency (FRI) Practice     57.9    1,065.00      61,663.50
Schultz, Kristin          Associate            2020   Financial Restructuring & Insolvency (FRI) Practice     14.2     730.00       10,366.00
Thomas, Jennifer          Associate            2019   Commercial Litigation Practice                         139.1     920.00      127,972.00
Tuffey, Claire            Associate            2020   Financial Restructuring & Insolvency (FRI) Practice    133.3     635.00       84,645.50
Walker, Cecilia           Associate            2014   Commercial Litigation Practice                          57.9    1,015.00      58,768.50
Warner, Blair             Associate            2015   Financial Restructuring & Insolvency (FRI) Practice    197.4     970.00      191,478.00
Chemborisov, Gleb         Litigation Support   N/A    Timekeeper Pool                                         45.8     330.00       15,114.00
Chen, Tony                Project Manager -    N/A    Timekeeper Pool                                        115.6     330.00       38,148.00
                          Litigation Support
Hirshorn, Deanna          Legal Assistant      N/A    Financial Restructuring & Insolvency (FRI) Practice     40.2     330.00       13,266.00
Leung, Kenneth            Project Manager -    N/A    Timekeeper Pool                                         26.1     330.00         8,613.00
                          Litigation Support
Waterfield, Amy           Project Manager -    N/A    Practice Technology – Transactional                     34.7     565.00       19,605.50
                          Litigation Support
Grand Total                                                                                                 3,503.8              $3,382,840.00




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                    STATEMENT OF FEES BY PROJECT CATEGORY

     Cat.                 Project Category Description                     Total      Total
     No.                                                                  Hours       Fees
     001    Administrative Expense Claims                                    45.8    $15,114.00
     002    Adversary Proceedings and Bankruptcy Litigation               1,230.0 $1,276,986.50
     003    Asset Dispositions                                                0.3       $315.00
     004    Automatic Stay                                                   75.7    $69,594.50
     005    Bar Date, Noticing and Claims Reconciliation Issues              18.8    $18,223.00
     006    Case Administration (e.g., WIP, case calendar, general tasks)    12.9     $5,400.00
     007    Chapter 11 Plan Matters                                       1,400.8 $1,300,941.00
     008    Communication with Client                                        10.3    $12,065.00
     009    Corporate Governance and Board Matters                            0.0         $0.00
     010    Customer and Vendor Issues                                        0.0         $0.00
     011    Disclosure Statement                                            259.4   $222,418.00
     012    Donor Issues                                                      0.0         $0.00
     013    Employee and Labor Issues                                         0.0         $0.00
     014    Exclusivity                                                       0.0         $0.00
     015    Executory Contracts and Leases                                    1.2     $1,164.00
     016    FCR Issues and Communications                                     0.0         $0.00
     017    Fee Applications                                                 43.8    $34,919.00
     018    Financing Matters and Cash Collateral                            29.6    $34,396.50
     019    First and Second Day Motions                                      0.0         $0.00
     020    General Case Strategy                                            87.0   $117,336.00
     021    Hearing and Court Matters                                        56.7    $66,992.00
     022    Insurance Issues                                                 33.8    $31,175.50
     023    Non-Bankruptcy Litigation                                        14.7    $13,863.00
     024    Non-Working Travel                                               20.8    $22,093.50
     025    Professional Retention                                            6.2     $6,270.50
     026    Public Relations Issues                                           2.6     $3,105.00
     027    Schedules and Statements                                          0.0         $0.00
     028    Tax Issues                                                        1.1       $932.00
     029    Unsecured Creditors and Issues and Communications                 2.5     $2,609.00
     030    U.S. Trustee Issues and Reporting                                 0.0         $0.00
     031    Utility Issues and Adequate and Assurance                         0.0         $0.00
     032    Local Council Issues and Communications                         103.7    $75,615.50
     033    Property of the Estate Issues                                     0.0         $0.00
     034    Bankruptcy Appeals                                                0.2       $127.00
     035    Mediation                                                        39.2    $44,049.00
     036    Fee Examiner Issues and Communications                            0.0         $0.00
     037    District Court Litigation                                         6.7     $7,135.50
            GRAND TOTAL                                                   3,503.8 $3,382,840.00




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                               EXPENSE SUMMARY

                               Description      Bill Amount
                         Business Meals              2,655.00
                         Computer Services             147.98
                         Courier Service                58.75
                         Deposition Transcripts    11,346.11
                         Document Research              35.27
                         Miscellaneous Other            50.00
                         Overtime Meals                 24.80
                         Printing                      367.00
                         Grand Total             $14,684.91




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


     In re:                                                               Chapter 11

     BOY SCOUTS OF AMERICA AND                                            Case No. 20-10343 (LSS)
     DELAWARE BSA, LLC,1
                                                                          (Jointly Administered)
                                  Debtors.
                                                                          Objection Deadline:
                                                                          November 5, 2021 at 4:00 p.m. (ET)

 TENTH MONTHLY APPLICATION OF WHITE & CASE LLP FOR ALLOWANCE OF
   COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
          FROM JULY 1, 2021 TO AND INCLUDING JULY 31, 2021

              White & Case LLP (“White & Case”), attorneys for the Boy Scouts of America and

 Delaware BSA, LLC, the non-profit corporations that are debtors and debtors in possession in the

 above-captioned chapter 11 cases (together, the “Debtors”), hereby files this tenth monthly

 application (this “Application”) for (a) interim allowance and payment of compensation for

 professional services to the Debtors during the period from July 1, 2021 to and including July 31,

 2021 (the “Fee Period”) in the amount of $2,706,272.00, representing 80% of the $3,382,840.00

 of fees earned by White & Case for professional services to the Debtors during the Fee Period, and

 (b) reimbursement of 100% of the actual and necessary expenses incurred by White & Case during

 the Fee Period in connection with such services in the amount of $14,684.91. In support of this

 Application, White & Case respectfully represents as follows:

                                             JURISDICTION AND VENUE

                      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

 jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of



 1     The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification number, are
       as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West
       Walnut Hill Lane, Irving, Texas 75038.
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 Reference from the United States District Court for the District of Delaware, dated February 29,

 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is

 proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                The statutory and other bases for the relief requested herein are sections 330 and

 331 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rule

 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-2 of the

 Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

 District of Delaware (the “Local Rules”), the Order (I) Approving Procedures for (A) Interim

 Compensation and Reimbursement of Expenses of Retained Professionals and (B) Expense

 Reimbursement for Official Committee Members and (II) Granting Related Relief [D.I. 341], as

 amended by the Order Amending the Order (I) Approving Procedures for (A) Interim

 Compensation and Reimbursement of Expenses of Retained Professionals and (B) Expense

 Reimbursement for Official Committee Members and (II) Granting Related Relief [D.I. 5899]

 (together, the “Compensation Procedures Order”), and the Order Appointing Fee Examiner and

 Establishing Related Procedures [D.I. 1342] (the “Fee Examiner Order”).

                                        BACKGROUND

                The Debtors commenced these cases on February 18, 2020 (the “Petition Date”),

 and they continue to operate their non-profit organization and manage their properties as debtors

 in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. These chapter 11

 cases are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule

 1015(b) and Local Rule 1015-1.

                On March 5, 2020, the Office of the United States Trustee for the District of

 Delaware appointed an official committee of tort claimants and an official committee of unsecured

 creditors pursuant to section 1102 of the Bankruptcy Code.

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                  On April 24, 2020, the Court appointed James L. Patton, Jr. as the legal

  representative of future abuse claimants pursuant to sections 105(a) and 1109(b) of the Bankruptcy

  Code.

                  The Court has authorized the Debtors to retain and employ White & Case as their

  lead bankruptcy counsel, nunc pro tunc to September 23, 2020, pursuant to the Order Authorizing

  the Retention and Employment of White & Case LLP as Attorneys to the Debtors and Debtors in

  Possession, Effective as of September 23, 2020 [D.I. 1698] (the “Retention Order”). The Retention

  Order authorizes the Debtors to compensate and reimburse White & Case in accordance with the

  terms and conditions set forth in the Debtors’ application to retain White & Case, subject to White

  & Case’s application to the Court.

                  On April 6, 2020, the Court entered the Compensation Procedures Order, which

  was subsequently amended by the Court. The Compensation Procedures Order provides, among

  other things, that each professional shall be entitled, on or as soon as practicable after the fifteenth

  (15th) day of each month following the month for which compensation and/or expense

  reimbursement is sought, to file and serve an application for interim allowance of compensation

  earned and reimbursement of expenses incurred during the preceding month (each a “Monthly Fee

  Application”). Parties shall have fourteen (14) days after service of a Monthly Fee Application to

  object thereto (as applicable, the “Objection Deadline”). Upon the expiration of the Objection

  Deadline, the applicant may file a certificate of no objection (a “CNO”) with the Court with respect

  to the unopposed portion of the fees and/or expenses requested in the applicable Monthly Fee

  Application. After the filing of a CNO, the Debtors are authorized and directed to pay the applicant

  an amount equal to 80% of the fees and 100% of the expenses requested in the applicable Monthly

  Fee Application not subject to an objection.



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                     On September 18, 2020, the Court entered the Fee Examiner Order. A copy of this

  Application will be served on the fee examiner.

                                                 RELIEF REQUESTED

                     By this Application, in accordance with the Compensation Procedures Order and

  the Fee Examiner Order, White & Case requests payment in the aggregate amount of

  $2,720,956.91, which is equal to (a) 80% of the $3,382,840.002 of fees earned by White & Case

  for professional services to the Debtors during the Fee Period; and (b) 100% of the $14,684.913 of

  actual and necessary expenses incurred by White & Case during the Fee Period in connection with

  its services to the Debtors.

                                    SUMMARY OF SERVICES RENDERED

                     Attached hereto as Exhibit A is a detailed statement of White & Case’s hours

  expended and fees earned during the Fee Period. White & Case attorneys and paraprofessionals

  expended a total of 3,503.8 hours in connection with these chapter 11 cases during the Fee Period.

  All services rendered by White & Case for which compensation is sought pursuant to this

  Application were rendered solely to or on behalf of the Debtors. No payments were received by

  White & Case from any other source for services rendered or to be rendered in connection with

  these chapter 11 cases. The services rendered by White & Case during the Fee Period are grouped

  into the categories set forth in Exhibit A and in the summary cover sheets prefixed to this

  Application. The attorneys and paraprofessionals who provided services to the Debtors during the

  Fee Period are also identified in Exhibit A and in the summary cover sheets.




  2   This amount reflects a voluntary reduction of $398,193.00 for the Fee Period in recognition of the Debtors’ status as nonprofit
      corporations. Cumulatively, from its First through Tenth Monthly Fee Applications, White & Case has made voluntary
      reductions of fees in the aggregate amount of $2,482,307.00.
  3   This amount reflects a voluntary reduction of $14,225.65 for the Fee Period. Cumulatively from its First through Tenth
      Monthly Fee Applications, White & Case has made voluntary reductions of expenses in the aggregate amount of $47,352.16.


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                            ACTUAL AND NECESSARY EXPENSES

                 Attached as Exhibit B is a detailed statement of White & Case’s out-of-pocket

  expenses incurred during the Fee Period, totaling $14,684.91. These expenses include, but are not

  limited to, business and overtime meals, printing costs, and courier services.

                                   VALUATION OF SERVICES

                 As noted above, the amount of time spent by each White & Case attorney and

  paraprofessional providing services to the Debtors during the Fee Period is set forth in the

  summary attached hereto as Exhibit A. The rates reflected on Exhibit A are White & Case’s

  customary hourly rates for work of this character. Effective January 1, 2021, the hourly rates

  charged for each professional may have increased as described above. The reasonable value of

  the services rendered by White & Case for the Fee Period as attorneys to the Debtors in these

  chapter 11 cases is $3,382,840.00.

                 In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

  the fees requested are fair and reasonable given (a) the complexity of these chapter 11 cases, (b) the

  time expended, (c) the nature and extent of the services rendered, (d) the value of such services,

  and (e) the costs of comparable services other than in a case under this title.

                 Although White & Case has made every effort to include all fees earned and

  expenses incurred during the Fee Period, some fees and expenses might not be included in this

  Application due to delays caused by accounting and processing during the Fee Period. White &

  Case reserves the right to make further applications to this Court for allowance of such fees and

  expenses not included herein. Subsequent fee applications will be filed in accordance with the

  Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Compensation Procedures Order,

  and the Fee Examiner Order.




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                             CERTIFICATION OF COMPLIANCE

                The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

  that, to the best of her knowledge, information, and belief, this Application complies with the

  requirements of that Local Rule.


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         WHEREFORE, White & Case requests allowance and payment of compensation for

  professional services to the Debtors during the Fee Period in the amount of $2,706,272.00,

  representing 80% of the $3,382,840.00 of fees earned by White & Case for professional services

  to the Debtors during the Fee Period, and reimbursement of 100% of the actual and necessary

  expenses incurred by White & Case during the Fee Period in connection with such services in the

  amount of $14,684.91, for a total interim award of $2,720,956.91.



   Dated: October 22, 2021                   WHITE & CASE LLP
          New York, New York
                                              /s/ Jessica C. Lauria
                                               Jessica C. Lauria (admitted pro hac vice)
                                               1221 Avenue of the Americas
                                               New York, New York 10020
                                               Telephone: (212) 819-8200
                                               Email: jessica.lauria@whitecase.com

                                              – and –

                                              WHITE & CASE LLP
                                              Michael C. Andolina (admitted pro hac vice)
                                              Matthew E. Linder (admitted pro hac vice)
                                              Laura E. Baccash (admitted pro hac vice)
                                              Blair M. Warner (admitted pro hac vice)
                                              111 South Wacker Drive
                                              Chicago, Illinois 60606
                                              Telephone: (312) 881-5400
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                                                     mlinder@whitecase.com
                                                     laura.baccash@whitecase.com
                                                     blair.warner@whitecase.com

                                              ATTORNEYS FOR THE DEBTORS AND
                                              DEBTORS IN POSSESSION




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
      In re:
                                                                Case No. 20-10343 (LSS)
      BOY SCOUTS OF AMERICA and
      DELAWARE BSA, LLC,1
                                                                (Jointly Administered)

                                Debtors.                        Objection Deadline:
                                                                November 5, 2021, at 4:00 p.m. (ET)


       NOTICE OF TENTH MONTHLY APPLICATION OF WHITE & CASE LLP FOR
      ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
          THE PERIOD FROM JULY 1, 2021 TO AND INCLUDING JULY 31, 2021

                 PLEASE TAKE NOTICE that today, White & Case LLP, as attorneys to the
  Debtors in the above-captioned cases, filed the attached Tenth Monthly Application of White &
  Case LLP for Allowance of Compensation and Reimbursement of Expenses for the Period
  from July 1, 2021 to and Including July 31, 2021 (the “Application”).

                 PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application,
  must: (a) be filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd Floor,
  Wilmington, Delaware 19801, by November 5, 2021, at 4:00 p.m. (Eastern Time) (the
  “Objection Deadline”); and (b) be served so as to be received on or before the Objection Deadline
  by:

                    i.         the Applicant: White & Case LLP, 111 South Wacker Drive, Chicago,
                               Illinois 60606, Attn: Matthew E. Linder;

                   ii.         the Debtors: Boy Scouts of America, 1325 West Walnut Hill Lane, Irving,
                               Texas 75038, Attn: Steven P. McGowan;

                  iii.         co-counsel to the Debtors: Morris, Nichols, Arsht & Tunnell LLP, 1201 N.
                               Market Street, 16th Floor, Wilmington, Delaware 19801, Attn: Derek C.
                               Abbott;

                  iv.          the Office of the United States Trustee: J. Caleb Boggs Federal Building,
                               Room 2207, 844 N. King Street, Wilmington, Delaware 19801, Attn:
                               David Buchbinder and Hannah M. McCollum;

                   v.          counsel to the Creditors’ Committee: Kramer Levin Naftalis & Frankel
                               LLP, 1177 Avenue of the Americas, New York, New York 10036, Attn:

  1
        The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
        number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
        address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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                    Rachael Ringer and Megan M. Wasson;

            vi.     counsel to the Tort Claimants’ Committee: Pachulski Stang Ziehl & Jones
                    LLP, 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California
                    90067, Attn: James I. Stang;

           vii.     counsel to the Future Claimants’ Representative: Young Conaway Stargatt
                    & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington,
                    Delaware 19801, Attn: Robert S. Brady and Edwin J. Harron;

          viii.     counsel to the Ad Hoc Committee of Local Councils: Wachtell, Lipton,
                    Rosen & Katz, 51 West 52nd Street, New York, New York 10019, Attn:
                    Richard G. Mason and Joseph C. Celentino;

            ix.     counsel to JPMorgan Chase Bank, National Association: Norton Rose
                    Fulbright US LLP, 2200 Ross Avenue, Dallas, Texas 75201-7932, Attn:
                    Louis R. Strubeck and Kristian W. Gluck;

            x.      counsel to the County Commission of Fayette County (West Virginia):
                    Steptoe & Johnson PLLC, Chase Tower – 8th Floor, 707 Virginia Street
                    East, Charleston, West Virginia 25301, Attn: John Stump; and

            xi.     Rucki Fee Review, LLC: 1111 Windon Drive, Wilmington, Delaware
                    19803, Attn: Justin Rucki.

            A HEARING ON THE APPLICATION, IF NECESSARY, WILL BE HELD AT
  THE CONVENIENCE OF THE COURT AND NOTICE OF ANY SUCH HEARING WILL BE
  GIVEN ONLY TO THE OBJECTING PARTY OR PARTIES.

            IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
  COURT MAY GRANT THE RELIEF REQUESTED BY THE APPLICATION WITHOUT
  FURTHER NOTICE OR HEARING.



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   Dated: October 22, 2021             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
          Wilmington, Delaware
                                       /s/ Paige N. Topper
                                       Derek C. Abbott (No. 3376)
                                       Andrew R. Remming (No. 5120)
                                       Paige N. Topper (No. 6470)
                                       1201 North Market Street, 16th Floor
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 658-9200
                                       Facsimile: (302) 425-4664
                                       Email: dabbott@morrisnichols.com
                                               aremming@morrisnichols.com
                                               ptopper@morrisnichols.com
                                       – and –

                                       WHITE & CASE LLP
                                       Jessica C. Lauria (admitted pro hac vice)
                                       1221 Avenue of the Americas
                                       New York, New York 10020
                                       Telephone: (212) 819-8200
                                       Email: jessica.lauria@whitecase.com

                                       – and –

                                       WHITE & CASE LLP
                                       Michael C. Andolina (admitted pro hac vice)
                                       Matthew E. Linder (admitted pro hac vice)
                                       Laura E. Baccash (admitted pro hac vice)
                                       Blair M. Warner (admitted pro hac vice)
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                                       Telephone: (312) 881-5400
                                       Email: mandolina@whitecase.com
                                              mlinder@whitecase.com
                                              laura.baccash@whitecase.com
                                              blair.warner@whitecase.com

                                       Attorneys for the Debtors and Debtors in Possession




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                                     Exhibit A

                                  Fees Statement
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Boy Scouts of America
RE: Project Restructuring                                                                                OUR REF: 1786703-0002



For professional services for the period ending 31 July 2021




DATE                        DESCRIPTION                                               TIMEKEEPER          HOURS                   USD

Administrative Expense Claims
5 July 2021                 Download files from SFTP (0.5); move to the secured       Gleb Chemborisov       3.00                990.00
                            shared environment (0.5); process data (1.0); upload
                            data to Relativity and indexing (1.0).

6 July 2021                 Batch documents (0.3); create coding fields and panel     Gleb Chemborisov       0.80                264.00
                            (0.5).

8 July 2021                 Pull metadata from files (0.5); upload documents to       Gleb Chemborisov       1.00                330.00
                            review platform (0.5).

9 July 2021                 Pull metadata from documents (0.5); upload documents      Gleb Chemborisov       4.00            1,320.00
                            to review platform (0.5); set up new EDT workspace
                            (0.5); ingest new data into EDT (1.0); run Date Filter
                            (0.5); run OCR and Deduplication (0.5); run QC checks
                            (0.5).

11 July 2021                Pull metadata from documents (0.5); upload to review      Gleb Chemborisov       3.00                990.00
                            platform (0.5); run review checks (0.5); run production
                            (1.5).

12 July 2021                Export documents for production (0.5); set up folder      Gleb Chemborisov       1.00                330.00
                            structure (0.2); move documents in the production
                            eligible format (0.3).

13 July 2021                Pull metadata from document (0.5); upload documents       Gleb Chemborisov       2.00                660.00
                            to the platform (0.5); export documents post production
                            (0.5); combine docs into production eligible standard
                            (0.5).

14 July 2021                Upload documents to the platform (0.5); run post upload   Gleb Chemborisov       2.00                660.00
                            QC checks (0.3); run index and OCR (0.2); assist with
                            production (0.5); export documents (0.5).

15 July 2021                Upload documents (0.5); assist with running kw            Gleb Chemborisov       1.50                495.00
                            searches (0.5); perform deduplication + OCR and index
                            (0.5).

16 July 2021                Pull metadata from documents (0.5); upload documents      Gleb Chemborisov       1.50                495.00
                            to the platform (0.5); run QC checks (0.5).

17 July 2021                Upload new documents to the platform (1.0); run post      Gleb Chemborisov       3.00                990.00
                            upload QC checks (0.5); run index and OCR (0.3); run
                            requested searches and checks (1.0); set up batches
                            (0.2).

22 July 2021                Upload documents to the review platform (0.5); run        Gleb Chemborisov       1.00                330.00
                            batches (0.5).

23 July 2021                Upload new documents (0.5); run QC (0.5); run             Gleb Chemborisov       2.00                660.00
                            requested searches (1.0).



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Boy Scouts of America
RE: Project Restructuring                                                                                 OUR REF: 1786703-0002




DATE                        DESCRIPTION                                                TIMEKEEPER          HOURS                   USD

24 July 2021                Pull metadata (0.5); upload documents to platform (0.5);   Gleb Chemborisov       1.50                495.00
                            run OCR and Index (0.5).

25 July 2021                Pull metadata (0.5); upload documents to platform (0.5);   Gleb Chemborisov       2.50                825.00
                            run OCR and Index (0.5); generate images and run QC
                            checks (0.5); run Production QC (0.5).

26 July 2021                Upload documents (1.0); run QC checks and batch            Gleb Chemborisov       3.00                990.00
                            (1.0); run productions (1.0).

27 July 2021                Upload documents (1.0); run QC checks and batch            Gleb Chemborisov       3.00                990.00
                            (1.0); run productions (1.0).

28 July 2021                Upload documents (1.0); run QC checks and batch            Gleb Chemborisov       2.00                660.00
                            (1.0).

29 July 2021                Set up and run searches (0.5); set up coding panel         Gleb Chemborisov       2.00                660.00
                            (0.5); isolate and batch document populations (0.5); run
                            imaging and index (0.5).

30 July 2021                Upload documents (1.0); run QC checks and batch            Gleb Chemborisov       3.00                990.00
                            (1.0); run productions (1.0).

31 July 2021                Upload documents (1.0); run QC checks and batch            Gleb Chemborisov       3.00                990.00
                            (1.0); run productions (1.0).

SUBTOTAL: Administrative Expense Claims                                                                      45.80           15,114.00


Adversary Proceedings and Bankruptcy Litigation
1 July 2021                 Review insurer's brief seeking to adjourn the hearing to   G Kurtz                1.60            2,760.00
                            consider approval of disclosure statement and
                            solicitations procedures (0.5); email issues for
                            responses (0.4); review reorganization term sheet (0.5);
                            review and comment on responses to insurer (0.2).

1 July 2021                 Review insurer motion to continue and emails and           M Andolina             1.00            1,300.00
                            phone conferences with BSA team re: response re:
                            same.

1 July 2021                 Call with C. Binggeli re: issues arising from RSA (0.5);   Andrew Hammond         2.50            3,212.50
                            call with R. Tiedemann re: revising stipulation and
                            issues arising from RSA (0.5); review of
                            correspondence and motion papers re: adjournment of
                            disclosure statement hearing and insurers objections to
                            RSA (1.1); call with S. Hershey re: objection to motion
                            to adjourn (0.4).

1 July 2021                 Review Insurer settlement issues (0.7); review RSA         R Tiedemann            6.40            7,168.00
                            (2.0); discussions with J. Thomas re: discovery (0.3);
                            discussions with A. Hammond re: case status and
                            settlement (0.4); draft stipulation staying adversary
                            proceeding and comments (3.0).

1 July 2021                 Review emails to insurers (0.4); review filings re:        S Hershey              6.40            6,816.00
                            adjournment (0.9); draft objection to adjournment
                            request (5.1).



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Boy Scouts of America
RE: Project Restructuring                                                                                 OUR REF: 1786703-0002




DATE                        DESCRIPTION                                                  TIMEKEEPER        HOURS                   USD

1 July 2021                 Research re: objection to motion to shorten for S.           B Warner             2.10            2,037.00
                            Hershey (0.3); revise motion to approve RSA (1.3);
                            finalize RSA, signatures and exhibits for filing (0.5).

1 July 2021                 Correspond with J. Thomas and M. Parsons re:                 Sean Murray          0.40                368.00
                            restricted assets materials (0.3); correspond with S. Lutt
                            and C. Sonoda re: same restricted assets (0.1).

1 July 2021                 Review of documents re: same (0.1); review documents         J Thomas             2.00            1,840.00
                            re: same in response to questions (0.3); analysis of
                            documents for coding issues for production (1.6).

1 July 2021                 Review and redact documents for production.                  I Popa               2.70            1,971.00

1 July 2021                 Monitor batch review progress and batch new                  T Chen               4.80            1,584.00
                            documents (0.5); prepare document images for
                            redaction and perform quality control checks, manually
                            image problematic files (1.5); new data validate, and
                            stage for processing (0.3); data processing, monitor
                            processing, run deduplication, and export deduped
                            documents (0.3); import data into review platform and
                            prepare for review (0.2); issue documents investigation
                            and     provide   case      team     clarification (1.0);
                            communications/calls with team re: case settlement
                            status and data archival options (1.0).

2 July 2021                 Conferences with A. Hammond concerning insurance             G Kurtz              1.40            2,415.00
                            litigation issues (0.4); conference with bankruptcy team
                            concerning response to motion to delay the disclosure
                            statement hearing and the litigation with the insurers
                            (0.5); revisions to response to insurers' motion to
                            adjourn (0.5).

2 July 2021                 Review and revise response to motion to adjourn (1.8);       M Andolina           4.90            6,370.00
                            follow-up emails and phone conferences with S.
                            Hershey, G. Kurtz, and BSA team, and emails with Ad
                            Hoc Committee of Local Councils team re: same (1.8);
                            review and revise proposed confirmation discovery
                            materials for filing (0.7); emails with BSA team re: same
                            (0.4); phone conferences with S. Hershey and BSA
                            team re: same (0.2).

2 July 2021                 Review and prepare responses to discovery (2.3); calls       Andrew Hammond       3.50            4,497.50
                            with S. Hershey re: same and call with client re: same
                            (0.8); email with client re: same (0.4).

2 July 2021                 Revise objection per comments from team and finalize         S Hershey            6.60            7,029.00
                            for filing (3.6); review and summarize Insurer discovery
                            (1.8); correspond with A. Hammond, C. Walker, and M.
                            Andolina re: discovery (1.2).

2 July 2021                 Draft responses and objection to Insurer Interrogatories     C Walker             2.90            2,943.50
                            (0.9); draft responses and objections to Insurer
                            requests for production (1.3); draft responses and
                            objections to Insurer requests for admission (0.7).

2 July 2021                 Review and comment on insurer motion to adjourn              B Warner             1.00                970.00
                            response (0.3); research and compile litigation
                            materials for W&C team re: RSA motion (0.7).



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Boy Scouts of America
RE: Project Restructuring                                                                               OUR REF: 1786703-0002




DATE                        DESCRIPTION                                                TIMEKEEPER        HOURS                   USD

2 July 2021                 Draft notice of revised proposed order and relevant        M Jaoude             2.10            1,974.00
                            exhibits.

3 July 2021                 Respond to emails concerning discovery requests.           G Kurtz              0.30                517.50

3 July 2021                 Review and prepare responses and objections to             Andrew Hammond       3.40            4,369.00
                            discovery requests and edit same (2.9); conference call
                            with M. Andolina and S. Hershey (0.5).

3 July 2021                 Call with M. Andolina and A. Hammond re: discovery         S Hershey            5.60            5,964.00
                            (0.4); call with C. Walker and M. Jaoude re: same (0.3);
                            review and revise responses and objections to Insurer
                            RFPs, interrogatories and RFAs (4.9).

3 July 2021                 Call with M. Andolina, S. Hershey, M. Jaoude, and team     C Walker             4.30            4,364.50
                            re: discovery (0.4); call with S. Hershey and M. Jaoude
                            re: discovery responses (0.2); draft responses and
                            objections to Insurer interrogatories (0.9); draft
                            responses and objections to Insurer requests for
                            production (1.3); draft responses and objection to
                            Insurer requests for admission (1.2); call with S.
                            Hershey re: discovery (0.2); call with D. Rifkin re:
                            privilege research (0.1).

3 July 2021                 Correspond with W&C litigation team re: discovery          B Warner             0.30                291.00
                            questions.

3 July 2021                 Call with S. Hershey and discovery team re: R&Os.          M Jaoude             0.50                470.00

4 July 2021                 Call with A. O'Neill re: TDPs (0.5); review and edit       Andrew Hammond       3.50            4,497.50
                            responses to discovery (2.4); email correspondence re:
                            same (0.6).

4 July 2021                 Correspond with A. Hammond re: requests (0.4); draft       S Hershey            4.60            4,899.00
                            email re: depositions and send same (0.9); review and
                            revise Insurer responses and objections (1.1);
                            correspond with M. Andolina and D. Abbot re: discovery
                            requests (0.6); review RSA motion and declarations
                            (0.3); review and revise Propounding Insurers
                            responses and objections (1.3).

4 July 2021                 Draft responses and objections to propounding insurers     C Walker             3.30            3,349.50
                            requests for production (1.7); draft responses and
                            objection to Insurer requests for production (1.6).

5 July 2021                 Respond to emails concerning objections to discovery       G Kurtz              0.40                690.00
                            requests.

5 July 2021                 Emails with BSA team re: strategy re: 7/7 hearing and      M Andolina           1.80            2,340.00
                            status re: collection of documents and update re: same
                            (0.4); phone conferences with BSA team re: same (0.3);
                            review discovery responses (0.8); emails with insurers
                            re: 7/6 phone conferences and document requests
                            (0.3).

5 July 2021                 Collection and review of materials for production in       Andrew Hammond       3.30            4,240.50
                            response to discovery requests from insurers (1.9);
                            review and revise responses to discovery requests



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Boy Scouts of America
RE: Project Restructuring                                                                                  OUR REF: 1786703-0002




DATE                        DESCRIPTION                                                   TIMEKEEPER        HOURS                   USD

                            (1.4).

5 July 2021                 Review and revise R&Os per comments from A.                   S Hershey            1.70            1,810.50
                            Hammond (1.4); correspond with A. Hammond and C.
                            Walker re: same (0.3).

5 July 2021                 Review and edit responses and objections to Insurer           C Walker             0.60                609.00
                            interrogatories (0.4); confer with M. Jaoude re:
                            summaries (0.1); email with D. Rifkin re: summaries
                            (0.1).

5 July 2021                 Revise R&Os to Insurer interrogatories.                       M Jaoude             1.30            1,222.00

5 July 2021                 Analysis of minutes re: document request (0.7); email         J Thomas             0.80                736.00
                            correspondence to A. Hammond and R. Tiedemann re:
                            same (0.1).

5 July 2021                 Incoming new data email communications (0.5); provide         T Chen               1.00                330.00
                            team data processing instructions and specifications
                            (0.5).

6 July 2021                 Call with team concerning discovery and hearing (0.8);        G Kurtz              5.90           10,177.50
                            review objections (0.5); participate in meet and confer
                            with insurer's counsel (0.3); revisions to RSAs (1.1);
                            revisions to interrogatory responses (1.2); call with team
                            concerning meet and confer with insurer's (0.6); call
                            with A. Hammond concerning interrogatory responses
                            (0.2); call with plaintiffs' counsel concerning approach to
                            the hearing (0.4); review research concerning mediation
                            privilege (0.8).

6 July 2021                 Prepare for and attend meet-and-confer re: RSA                M Andolina           4.90            6,370.00
                            discovery issue (0.9); follow-up emails re: same (0.2);
                            phone conferences re: same (0.4); litigation team calls
                            re: document production and depositions strategy and
                            follow-up emails and phone conferences re: same (1.5);
                            communication with all parties re: production and
                            deposition scheduling (1.9).

6 July 2021                 Multiple conference calls with G. Kurtz, M. Andolina,         Andrew Hammond       4.70            6,039.50
                            and S. Hershey (1.2); prepare for and attend
                            conference call with A. Azer and A. O'Neill (0.7);
                            prepare for and attend conference call with M. Linder,
                            M. Andolina, G. Kurtz, and committee re: preparation
                            for status conference (1.1); review and preparation of
                            schedule (0.5); revise discovery responses and
                            objections (1.2).

6 July 2021                 Review and revise R&Os per comments from G. Kurtz             S Hershey           10.40           11,076.00
                            (2.2); correspond with G. Kurtz and M. Andolina re:
                            same (0.7); draft emails to insurers re: discovery (0.9);
                            correspond with M. Andolina, G. Kurtz, and L. Baccash
                            re: same (1.9); review documents from BSA (2.6);
                            correspond with M. Jaoude and J. Thomas re: same
                            (1.9); correspond with S. Murray re: discovery question
                            (0.2).

6 July 2021                 Conference call with team to discuss discovery                T Cull               3.70            3,663.00
                            requests, document review, privilege calls, and related



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Boy Scouts of America
RE: Project Restructuring                                                                                OUR REF: 1786703-0002




DATE                        DESCRIPTION                                                   TIMEKEEPER      HOURS                   USD

                            issues (0.4); emails with S. Hershey and A. Waterford
                            on the same (0.4); review and code documents in
                            response to discovery requests from Insurer and other
                            parties (2.9).

6 July 2021                 Calls with L. Baccash re: RSA order and legal                 B Warner           5.90            5,723.00
                            standards (0.3); revise proposed RSA order (0.3);
                            research and analyze standards for approval of RSA
                            (1.0); insurer meet and confer call with W&C and
                            Haynes Boone re: RSA motion discovery (0.3);
                            correspond with M. Linder and L. Baccash re: RSA
                            approval order (0.2); call with G. Kurtz, A. Hammond,
                            M. Andolina, M. Linder, L. Baccash, and S. Hershey re:
                            discovery and RSA motion strategy (0.6); pre-call on
                            status conference with W&C team, FCR counsel, PSZJ
                            team, Ad Hoc Committee of Local Councils team, and
                            Coalition counsel (0.8); research precedent re: RSA
                            order findings (1.2); research re: precedent and case
                            law for RSA motion issues (1.1); draft email response to
                            M. Murray (Bates White) re: Fifth preliminary injunction
                            Stipulation obligations (0.1).

6 July 2021                 Review documents for potential production relating to         M Jaoude           8.40            7,896.00
                            Insurer RFPs (7.5); call with discovery team re:
                            upcoming hearing (0.7); call with S. Hershey re:
                            document production (0.2).

6 July 2021                 Telephone call with S. Hershey, M. Jaoude, and team           J Thomas           2.70            2,484.00
                            re: document review for insurer RFP production (0.5);
                            analysis of documents to be produced as responsive to
                            insurers RFPs (2.2).

6 July 2021                 Attend review team meeting to go over details of the          A Waterfield       1.00                565.00
                            case and parameters for review.

6 July 2021                 Update user group permissions, secure coding layout           T Chen             6.00            1,980.00
                            and document sets from new user group, and user
                            account management (2.0); add new tag and create
                            new coding panels (0.5); format privilege terms and add
                            to persistent highlighting set (1.0); re-batch documents
                            (0.5); issue document investigation and provide
                            clarification (0.5); prepare production images, perform
                            image quality control checks, and manually fix cutoff
                            image files (1.0); new production communications and
                            prepare production searches (0.5).

6 July 2021                 Monitor various bankruptcy and adversary cases for K.         D Hirshorn         0.30                 99.00
                            Burgess (0.2); e-mail docket update and calendar to K.
                            Burgess re: same (0.1).

7 July 2021                 Revisions to RSAs (0.7); revisions to interrogatories         G Kurtz            8.70           15,007.50
                            (0.5); conference with A. Hammond concerning
                            discovery responses (0.5); call with group concerning
                            interrogatories, RSAs and insurer's reply brief (1.2);
                            review insurer's reply brief and joiners (0.4); prepare for
                            court call (0.5); participate in status conference with the
                            court (2.1); call with W&C team concerning the court's
                            approach at the status conference and the discovery
                            and legal issues in connection the motions to approve
                            the RSA and the disclosures statement (0.6); begin



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                            outlining reply brief in connection with RSA motion
                            (2.2).

7 July 2021                 Emails with S. Hershey and M. Linder re: document            M Andolina           3.10            4,030.00
                            production and discovery schedule and proposal (0.6);
                            phone conferences with S. Hershey and M. Linder re:
                            same (0.7); review and revise discovery responses to
                            insurers (0.9); follow-up emails with BSA team re: same
                            (0.6); phone conferences with BSA team re: same (0.3).

7 July 2021                 Calls with G. Kurtz, M. Linder, and M. Andolina to           Andrew Hammond       6.40            8,224.00
                            prepare for status conference (1.2); status conference
                            re: scheduling of disclosure statement hearing and RSA
                            motion (2.1); post status conference calls with G. Kurtz,
                            M. Andolina and S. Hershey (0.7); email with L.
                            Baccash re: TDPs (0.5); review of case law and
                            materials in preparation for deposition (1.5);
                            correspondence with A&M re: collection of materials
                            (0.4).

7 July 2021                 Telephone calls with M. Andolina, L. Baccash, and            M Linder             1.60            1,680.00
                            W&C litigation team re: discovery issues.

7 July 2021                 Review discovery requests and prepare summary for            S Hershey            7.70            8,200.50
                            conference (1.1); email to M. Linder re: status
                            conference arguments (0.2); correspond with M.
                            Andolina, M. Linder, and G. Kurtz re: next steps (1.1);
                            draft email re: new schedule (0.6); correspond with M.
                            Jaoude and J. Thomas re: discovery responses (0.6);
                            review documents for production (0.8); draft letter re:
                            mediation privilege (1.6); revise discovery responses
                            (1.7).

7 July 2021                 Call with G. Kurtz, A. Hammond, M. Andolina, M.              B Warner             1.80            1,746.00
                            Linder, L. Baccash and S. Hershey re: discovery/RSA
                            motion (1.2); call with litigators, M. Linder, L. Baccash,
                            S. Hershey re: status conference recap and next steps
                            (0.6).

7 July 2021                 Call with T. Chen re: production of documents (0.4);         M Jaoude             1.80            1,692.00
                            review documents for production (1.4).

7 July 2021                 Review Insurer Settlement (0.2); draft RFP to insurers       J Thomas             3.40            3,128.00
                            from BSA (1.8); review RFPs from insurers (0.4); email
                            correspondence with client re: uploading documents to
                            shared workspace and missing CGAs (0.2); draft
                            deposition notice (0.8).

7 July 2021                 Legal research re: privilege issues in analogous case        C Tuffey             5.30            3,365.50
                            (3.4); review local council inquiry re: fifth preliminary
                            injunction stipulation and respond to same (1.4); review
                            Bates White spreadsheet and folders re: chartered
                            organization requests (0.5).

7 July 2021                 Email data collection communications/discussions and         T Chen               5.50            1,815.00
                            provide case team the firm's policy and protocol (2.0);
                            new production request communication/calls and
                            preparation (1.5); A&M new data download, validate,
                            and stage for processing (1.1); data processing, monitor



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                            processing, run deduplication, and export deduped
                            documents (0.3); import data into review platform and
                            prepare for review (0.6).

7 July 2021                 Telephone call with T. Chen re: W&C Internal                   K Leung              0.40                132.00
                            Collection.

8 July 2021                 Continue revising response to RSAs (1.5); continue             G Kurtz              8.70           15,007.50
                            revising interrogatories (1.2); revisions to mediation
                            letter (0.2); review mediation research (0.9); revisions to
                            RFPs (1.4); continue outlining reply brief in connection
                            with RSA motion (2.6); conference with A. Hammond
                            concerning litigation strategy (0.4); conference with
                            team concerning discovery and litigation strategy (0.5).

8 July 2021                 Review materials re: mediation confidentiality and             M Andolina           3.70            4,810.00
                            common interest (1.1); follow-up emails to BSA team re:
                            same (0.3); emails and phone conferences with insurer
                            counsel and BSA team re: depositions scheduling (1.5);
                            review and revise letter to insurer counsel and follow-up
                            with BSA team and G. Kurtz re: same (0.8).

8 July 2021                 Correspond with Alvarez & Marsal re: discovery (0.6);          Andrew Hammond       4.60            5,911.00
                            review responses to discovery requests (0.7); review
                            and edit correspondence re: mediation privilege (0.5);
                            research and review research re: TDPs, insurance
                            neutrality and fiduciary outs (2.2); review and comment
                            on stipulation staying time in restricted asset litigation
                            (0.4); call with R. Tiedemann and email with M. Linder
                            re: same (0.2).

8 July 2021                 Finalize stipulation to stay adversary proceeding and          R Tiedemann          0.60                672.00
                            related communications.

8 July 2021                 Review draft RFAs and related discovery materials              L Baccash            1.50            1,575.00
                            (0.6); review settlement agreement in connection with
                            upcoming pleadings (0.5); call with M. Andolina, G.
                            Kurtz, A. Hammond, S. Hershey, and M. Andolina re:
                            discovery issues (0.4).

8 July 2021                 Review and comment on responses and objections to              M Linder             3.40            3,570.00
                            certain discovery (0.3); telephone call with M. Andolina
                            and S. Hershey re: same (1.0); discovery call with
                            Client, M. Andolina, and S. Hershey (0.4); review
                            revised version of draft stipulation staying restricted
                            assets adversary (0.2); revise same (1.1); telephone
                            calls with M. Andolina and L. Baccash re: same (0.2);
                            emails with A. Hammond and R. Tiedemann re: same
                            (0.1); email to TCC counsel re: same (0.1).

8 July 2021                 Edit responses and objections to requests for                  C Walker             4.60            4,669.00
                            production (1.4); edit responses and objections to
                            requests for admissions (0.7); edit responses and
                            objections to interrogatories (0.6); call with D. Rifkin re:
                            mediation privilege (0.5); call with S. Hershey and D.
                            Rifkin re: mediation privilege (0.3); review and analyze
                            cases and rules re: mediation privilege (0.6); call with
                            M. Linder re: settlements (0.5).




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8 July 2021                 Call with L. Baccash re: solicitation/confirmation timing   B Warner             1.90            1,843.00
                            and RSA reply issues and research (0.3); review and
                            comment on response to third party motion (0.3); call
                            with M. Linder, L. Baccash, and R. Boone re: RSA
                            motion reply (0.4); call with P. Topper re: response to
                            third party motion and omnibus hearing matters (0.2);
                            email K. Burgess re: RSA reply tasks (0.3); correspond
                            with M. Linder and L. Baccash re: third party motion
                            response (0.1); correspond with K. Burgess re: RSA
                            reply fees research (0.2); call with K. Burgess re:
                            section of RSA reply section (0.1).

8 July 2021                 Review documents for production            and    isolate   M Jaoude             2.30            2,162.00
                            documents to be produced.

8 July 2021                 Draft RFPs to insurers (0.7); review Insurer RFAs and       J Thomas             2.00            1,840.00
                            interrogatories (0.5); analyze emails re: discovery
                            production (0.8).

8 July 2021                 Research and analyze federal and state case law re:         D Rifkin             7.40            6,179.00
                            the scope of privileged communications recognized in
                            court ordered mediation.

8 July 2021                 Email data collection communications/calls to clarify       T Chen              11.80            3,894.00
                            details and work-flow (2.0); A&M data download,
                            validate, and stage for processing (0.9); data
                            processing, monitor processing, run deduplication, and
                            export deduped documents (0.8); import data into
                            review platform and prepare for review (0.3); run
                            searches and create batches (2.0); update production
                            searches, run coding conflict checks (1.0); prepare
                            document images and perform image quality checks
                            and manually fix cutoff image issues (1.5); create
                            production set, run production, export produced data,
                            and post-export cleanup (3.0); data transfer and/or
                            upload to FTP (0.3).

8 July 2021                 Prepare documents for discovery re:           Adversary     K Leung              0.80                264.00
                            Proceedings and Bankruptcy Litigation.

9 July 2021                 Review RSA brief (2.1); review RFPs (0.5); conference       G Kurtz              3.40            5,865.00
                            with team concerning discovery approach, RFPs and
                            deposition scheduling (0.8).

9 July 2021                 Phone conference re: discovery requests to insurers         M Andolina           6.60            8,580.00
                            (0.4); follow-up emails re: same with H&B team (A.
                            Azer) and BSA litigation team (0.8); phone conferences
                            clients and witnesses re: deposition scheduling (0.8);
                            follow-up emails re: same (0.6); email communications
                            re: discovery issues and deposition schedules (1.1);
                            meet-and-confers with Insurer and Insurer (2.2);
                            coordination with local counsel re: confirmation of
                            discovery schedule (0.7).

9 July 2021                 Further emails re: discovery.                               A O'Neill            0.10                130.00

9 July 2021                 Review discovery requests and responses (1.4); attend       Andrew Hammond       4.00            5,140.00
                            conference calls with G. Kurtz, S. Hershey, and M.
                            Andolina and prepare for same (1.5); review research



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                            re: mediation privilege (1.1).

9 July 2021                 Call with M. Andolina, G. Kurtz, A. Hammond, M.              L Baccash            1.80            1,890.00
                            Linder, and S. Hershey re: discovery and deposition
                            issues (0.2); review multiple correspondence related to
                            discovery issues from M. Andolina, S. Hershey, J.
                            Ruggeri, T. Schiavoni, and others (0.4); call with M.
                            Andolina, S. Hershey, G. Kurtz, M. Linder, A. Azer, and
                            A. Hammond re: discovery/litigation issues (0.8); call
                            with M. Andolina re: same (0.2); call with M. Linder re:
                            same (0.2).

9 July 2021                 Draft arguments re: privilege (2.4); emails with D. Rifkin   C Walker             2.60            2,639.00
                            re: discovery (0.2).

9 July 2021                 Review and code documents for responsiveness to              T Cull               4.40            4,356.00
                            insurer discovery requests.

9 July 2021                 Review documents for privilege log.                          M Jaoude             1.70            1,598.00

9 July 2021                 Draft RFPs to Insurer (0.9); review BSA ROs to Insurer       J Thomas             1.20            1,104.00
                            RFPs (0.2); email correspondence with S. Hershey re:
                            RFPs to Insurer (0.1).

9 July 2021                 Research and analyze federal and state case law re:          D Rifkin             6.50            5,427.50
                            the scope of privileged communications recognized in
                            court ordered mediation.

9 July 2021                 Review client documents for privilege in response to         A Waterfield         6.00            3,390.00
                            request for production.

9 July 2021                 Respond to outside counsel’s access issues (0.3);            T Chen               9.00            2,970.00
                            create new FTP database, multiple-user groups, and
                            user accounts (1.2); Internal attorney email data
                            collection communications/calls to clarify data
                            processing details and specifications (0.5); A&M data
                            download, validate, and stage for processing; data
                            processing, monitor processing, run deduplication, and
                            export deduped documents; import data into review
                            platform and prepare for review (2.0); run searches and
                            create batches (0.5); user account management (0.3);
                            OGC collection data download, validate, transfer and
                            stage for processing (2.0); provide team data
                            processing instructions (0.3); call with case team re:
                            privilege review (0.5); create document review Event
                            Handler and modify coding panel (0.8); create
                            persistent highlight set (0.6).

9 July 2021                 Monitor various bankruptcy and adversary cases for K.        D Hirshorn           0.30                99.00
                            Burgess (0.2); e-mail docket update and calendar to K.
                            Burgess re: same (0.1).

10 July 2021                Phone conferences with client and BSA team re:               M Andolina           1.30            1,690.00
                            document collection (0.7); follow-up emails re: same
                            (0.6).

10 July 2021                Review materials in connection          with   deposition    Andrew Hammond       1.90            2,441.50
                            preparation for RSA motion.



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10 July 2021                Telephone calls with S. Hershey re: depositions and       M Linder             0.30                315.00
                            related matters (0.2); email to MNAT team re:
                            preliminary injunction stipulation (0.1).

10 July 2021                Draft requests for production (2.1); draft requests for   C Walker             3.90            3,958.50
                            admission (0.9); draft interrogatories (0.9).

10 July 2021                Review board materials and documents re: document         B Warner             1.00                970.00
                            production.

10 July 2021                Draft categorical privilege log (2.2); review documents   M Jaoude             3.70            3,478.00
                            for privilege log (1.5).

10 July 2021                Research and analyze federal and state case law re:       D Rifkin             2.20            1,837.00
                            the scope of privileged communications recognized in
                            court ordered mediation along with related discovery
                            issues.

10 July 2021                Communication with team re: internal data and             T Chen               3.50            1,155.00
                            processing status (1.0); new production request
                            communication (0.5); create production searches and
                            run coding conflict checks (1.0); prepare production
                            images, perform image quality control checks, and
                            manually image cutoff image issue files (1.0).

11 July 2021                Review insurer discovery (1.1); follow-up emails re:      M Andolina           2.00            2,600.00
                            same (0.3); phone conferences with BSA team re:
                            same (0.6).

11 July 2021                Review materials for preparation of deposition of B.      Andrew Hammond       2.40            3,084.00
                            Whittman and R. Mosby.

11 July 2021                Discussions with A. Hammond, M. Linder, and J.            R Tiedemann          0.30                336.00
                            Thomas re: stipulation to stay adversary proceeding.

11 July 2021                Telephone call with M. Andolina and S. Hershey re:        M Linder             2.00            2,100.00
                            responses to discovery (0.6); review and comment on
                            draft cover letter to supplemental discovery responses
                            (0.2); emails with W&C team re: stipulation staying
                            restricted assets adversary (0.4); review board
                            materials and proposed redactions in connection with
                            responses to discovery (0.8).

11 July 2021                Review and code documents relating to requests for        T Cull               1.80            1,782.00
                            production served by Insurer and other insurers.

11 July 2021                Diligence re: board materials (0.2); review and           B Warner             1.80            1,746.00
                            comment on L. Baccash write-up re: RSA/good faith
                            analysis (0.3); factual research for S. Hershey re:
                            privilege log (1.3).

11 July 2021                Review documents for privilege log.                       M Jaoude             3.50            3,290.00

11 July 2021                Research and analyze federal and state case law re:       D Rifkin             4.60            3,841.00
                            scope of privileged communications.

11 July 2021                Re-run production search conflict checks and provide      T Chen               3.80            1,254.00



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                            case team updates (1.1); communication/calls re:
                            additional incoming documents for production and
                            provide team specific instructions (1.5); QC revised
                            production searches (0.5); prepare production image,
                            perform image quality control checks, and manually fix
                            cutoff image emails (0.7).

12 July 2021                Review and make suggestions to RFP (0.8); conference       G Kurtz              1.80            3,105.00
                            with A. Hammond concerning RSA litigation (1.0).

12 July 2021                Emails and phone conferences with BSA team re:             M Andolina           4.50            5,850.00
                            collection of documents re: RSA motion (0.8); follow-up
                            emails and phone conferences with client re: same
                            (0.7); correspond with BSA and insurers re: request for
                            meet and confer and follow-up re: same (1.7); emails
                            and phone conference with insurer re: deposition and
                            document issues (0.5); review privilege log and emails
                            re: same (0.3); review discovery re: Insurer depositions
                            and emails re: same (0.5).

12 July 2021                Emails re: discovery and next steps and consider           A O'Neill            0.20                260.00
                            issues with same.

12 July 2021                Review materials in preparation for Whitman deposition     Andrew Hammond       6.50            8,352.50
                            and prepare outline re: same (5.1); review and edit
                            discovery correspondence (1.4).

12 July 2021                Review draft discovery requests (0.5); correspondence      L Baccash            0.80                840.00
                            with S. Hershey re: same (0.1); review stipulation
                            staying TCC adversary (0.1); review filed letter on
                            docket (0.1).

12 July 2021                Revise stipulation staying restricted assets adversary     M Linder             3.90            4,095.00
                            (0.2); email to TCC re: same (0.1); review draft
                            discovery requests directed to certain insurers and
                            comment on same (0.7); emails and telephone calls
                            with M. Andolina and S. Hershey re: discovery
                            responses (0.8); review and comment on proposed
                            production of board minutes and redactions to same
                            (0.6); review and comment on proposed redactions to
                            certain presentation materials and redactions to same
                            (0.5); telephone call with S. Hershey re: same (0.2);
                            telephone call with A. Hammond re: deposition issues
                            (0.8).

12 July 2021                Call with L. Baccash re: RSA issues.                       B Warner             0.30                291.00

12 July 2021                Redact documents for privilege and produce redacted        M Jaoude             4.50            4,230.00
                            documents.

12 July 2021                Revise Notice of Entry of Fifth Stipulation.               C Tuffey             0.80                508.00

12 July 2021                Perform production data QC (0.5); production data          T Chen               8.80            2,904.00
                            transfer and upload to FTP (0.5); new production data
                            communication and clarification (0.5); FTP user account
                            management (0.8); run searches and filters re: internal
                            attorneys email data (2.0); new data download, validate,
                            and stage for processing (0.5); data processing, monitor
                            processing, run deduplication, and export deduped



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                            documents (0.5); import data into review platform and
                            prepare for review (0.5); similarly documents
                            investigation and perform line-to-line comparison (0.5);
                            create production searches, run coding conflict checks
                            (0.5); prepare document images and perform image
                            quality checks (0.2); create production set, run
                            production, export produced data, and post-export
                            cleanup (0.8); export multiple sets of production images
                            in PDF format (1.0).

12 July 2021                Prepare documents for discovery re:            Adversary     K Leung              1.00                330.00
                            Proceedings and Bankruptcy Litigation.

13 July 2021                Conference with A. Hammond concerning discovery              G Kurtz              1.10            1,897.50
                            issues (0.3); review RSA brief (0.8).

13 July 2021                Attend B. Whittman deposition prep session (6.0);            M Andolina          10.00           13,000.00
                            review documents and lead R. Mosby deposition prep
                            session (4.0).

13 July 2021                Review discovery materials.                                  A O'Neill            0.40                520.00

13 July 2021                Review documents in preparation for deposition of B.         Andrew Hammond       9.20           11,822.00
                            Whittman (3.0); meeting with M. Andolina, M. Linder, S.
                            Hershey & B. Whittman re: deposition preparation (6.2).

13 July 2021                Review stipulation staying adversary proceeding.             R Tiedemann          0.20                224.00

13 July 2021                Call with J. Lauria and M. Linder re: plan, litigation and   L Baccash            0.80                840.00
                            strategy.

13 July 2021                Confer with M. Andolina, A. Hammond, B. Whittman, S.         M Linder             3.30            3,465.00
                            Hershey, and E. Martin in preparation for depositions
                            (2.2); review documents in connection with same (1.1).

13 July 2021                Draft responses and objections to propounding insurer's      C Walker             0.60                609.00
                            interrogatories.

13 July 2021                Review and analyze legal research from K. Burgess            B Warner             5.50            5,335.00
                            and case law re: RSA reply (0.8); call with L. Baccash
                            re: RSA reply and research (0.2); correspond with K.
                            Burgess re: fees section of RSA reply (0.2); review and
                            comment on fees section of RSA reply (0.8); call with S.
                            Hershey re: response to discovery request (0.2); revise
                            RSA proposed order re: comments from L. Baccash
                            (0.5); review and analyze discovery requests re: factual
                            information for response (0.2); research factual material
                            re: response to discovery requests (1.5); review and
                            comment on RSA reply section (0.8); call with L.
                            Baccash re: RSA reply and research (0.3).

13 July 2021                Redact documents for production.                             M Jaoude             1.50            1,410.00

13 July 2021                Telephone call with S. Hershey re: draft declaration for     J Thomas             5.00            4,600.00
                            D. Ownby re: RSA (0.1); analysis of board meeting
                            minutes (1.6); draft chart with information re: same
                            (1.0); analysis of BSA materials re: chart (0.8);
                            telephone call with C. Binggeli re: use of funds (0.1);



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                            review file for documents pertaining to funds (0.4);
                            review documents found pursuant to same (1.0).

13 July 2021                Communication with case team to prepare encrypted           T Chen               6.00            1,980.00
                            PDFs, data transfer and upload to FTP (1.0); create
                            FTP folder, new user groups and user accounts (1.0);
                            respond to outside counsels issues with FTP access
                            and unzip encrypted production data (0.8); new data
                            download, validate, and stage for processing; data
                            processing (0.5); monitor processing, run deduplication,
                            and export deduped documents (0.2); import data into
                            review platform and prepare for review (0.3); create
                            production searches, run coding conflict checks (0.5);
                            prepare document images and perform image quality
                            checks (0.5); create production set, run production,
                            export produced data, and post-export cleanup (1.0);
                            data transfer and/or upload to FTP (0.2).

13 July 2021                Prepare documents for discovery re:           Adversary     K Leung              0.20                66.00
                            Proceedings and Bankruptcy Litigation.

14 July 2021                Review and revise mediator letter (0.4); conference with    G Kurtz              2.20            3,795.00
                            S. Hershey re: same (0.4); review mediation research
                            (1.4).

14 July 2021                Review documents and lead R. Mosby deposition prep          M Andolina          10.00           13,000.00
                            session.

14 July 2021                Prepare for and defend deposition of B. Whittman.           Andrew Hammond       9.10           11,693.50

14 July 2021                Attend deposition of B. Whittman.                           L Baccash            4.00            4,200.00

14 July 2021                Prepare for deposition of B. Whittman (1.2); attend         M Linder             8.90            9,345.00
                            deposition of B. Whittman (6.7); confer with M.
                            Andolina, A. Hammond, M. Hershey, and E. Martin
                            following same and in anticipation of R. Mosby
                            deposition (1.0).

14 July 2021                Call with S. Hershey re: research (0.1); call with D.       C Walker             1.00            1,015.00
                            Rifkin re: research (0.2); review and analyze letter re:
                            discovery (0.3); review and analyze research re:
                            discovery responses (0.4).

14 July 2021                Research issues identified in opposing counsel's meet       T Cull               4.40            4,356.00
                            and confer letter (2.7); prepare notes on relevant case
                            law for response (1.0); email C. Walker and S. Hershey,
                            outlining research on issues related to attorney-client
                            privilege (0.7).

14 July 2021                Call with L. Baccash re: RSA revised order (0.2);           B Warner             5.20            5,044.00
                            correspond with K. Burgess re: RSA motion
                            precedent/research (0.5); factual research re: discovery
                            and deposition preparation (0.5); call with J. Lauria, L.
                            Baccash, K. Ferrier, and L. Mezei re: RSA findings
                            research (0.2); research re: factual information re:
                            Mosby deposition (1.1); analyze drafts of supplemental
                            declaration and proposed order revisions re: coalition
                            changes (0.3); research and analyze case law re: fees
                            section of RSA reply (2.4).



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14 July 2021                Review and redact documents for privilege log.                 M Jaoude             4.50            4,230.00

14 July 2021                Telephone call with C. Binggeli, L. Baccash, D. Kim,           J Thomas             1.30            1,196.00
                            and R. Walsh re: plan issues (0.3); review for deposition
                            preparation (0.4); analysis of restricted funds (0.6).

14 July 2021                Run date cull and domain searches for email data,              T Chen               9.50            3,135.00
                            create saved searches, and tag relevant data for export
                            (4.0); call with case team to clarify search terms and
                            specifications, and formatting search syntax (1.0);
                            create productions searches, run coding conflict checks
                            (1.0); create production sets, run productions, export
                            produced data, and post-export cleanup (2.0); transfer
                            production sets (0.5); new data unzip, validate, and
                            stage for processing (1.0).

14 July 2021                Prepare documents for discovery re:              Adversary     K Leung              0.80                264.00
                            Proceedings and Bankruptcy Litigation.

14 July 2021                Monitor various bankruptcy and adversary cases for K.          D Hirshorn           0.30                 99.00
                            Burgess (0.2); e-mail docket update and calendar to K.
                            Burgess re: same (0.1).

15 July 2021                Review and revise letter outlining mediation privilege         G Kurtz              3.80            6,555.00
                            and response to discovery complaints by insurer (2.7);
                            draft insert for opposition to motion to compel that is
                            expected from insurers (1.1).

15 July 2021                Prepare for R. Mosby deposition (1.4); defend same             M Andolina          10.00           13,000.00
                            (7.4); follow-up meeting with client re: same (1.2).

15 July 2021                Correspondence with S. Hershey re: deposition (0.5);           Andrew Hammond       3.00            3,855.00
                            review of correspondence re: mediation privilege issues
                            (0.6); review of rough transcript and protective order
                            and email with R. Tiedemann re: same (1.4); outline of
                            direct examination of B. Whittman and call with J.
                            Thomas re: same (0.5).

15 July 2021                Attend deposition of R. Mosby (4.0); review letter re:         L Baccash            5.00            5,250.00
                            discovery issues (0.2); call with K. Ferrier re: RSA
                            related potential objections (0.3); call with D. Rivero, R.
                            Boone, K. Burgess, and others re: same (0.3); review
                            chartered org letter (0.2).

15 July 2021                Prepare for R. Mosby deposition (0.7); attend same             M Linder             6.90            7,245.00
                            (6.2).

15 July 2021                Draft and revise section of RSA reply (1.9); revise draft      B Warner             7.40            7,178.00
                            of RSA amendment (0.2); research and analyze case
                            law (3.5); revise section of RSA reply (1.8).

15 July 2021                Run production of documents.                                   M Jaoude             1.00                940.00

15 July 2021                Telephone call with A. Hammond re: preparation for B.          J Thomas             5.80            5,336.00
                            Whittman direct examination for RSA hearing (0.6);
                            review notes from call to start draft and create action list
                            (0.3); review B. Whittman July 1 declaration (0.7);
                            review and take notes on B. Whittman deposition



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                            transcript (2.5); review RSA motion (0.8); Draft B.
                            Whittman cross examination (0.9).

15 July 2021                FTP user groups and accounts management (0.6); and          T Chen               6.00            1,980.00
                            respond outside counsel’s questions re: downloading
                            production data (0.4); loaded email data QC, and run
                            date culls and email domains searches (2.5);
                            run/create/revise multiple sets of keywords searches
                            and provide search results (2.5).

15 July 2021                Prepare documents for discovery re:           Adversary     K Leung              0.20                66.00
                            Proceedings and Bankruptcy Litigation.

16 July 2021                Review documents in preparation for D. Ownby                M Andolina           4.70            6,110.00
                            deposition (2.1); emails with BSA team re: same (0.9);
                            follow-up communications with witnesses re: deposition
                            testimony and documents (0.6); emails and phone
                            conferences with Client re: same (0.7); emails and
                            phone conferences with BSA team re: same (0.4).

16 July 2021                Review Mosby deposition transcript (0.7); call with S.      Andrew Hammond       2.50            3,212.50
                            Hershey re: Mosby deposition and discovery issues
                            (0.4); analyze issues likely to be raised in connection
                            with TDPs (1.4).

16 July 2021                Correspond with J. Lauria, M. Linder and L. Baccash re:     B Warner             5.00            4,850.00
                            RSA timeline and research requests (0.2); call with
                            Brown Rudnick team, Mersky law firm, M. Linder and L.
                            Baccash re: RSA reply (0.5); correspond with P. Topper
                            and M. Linder re: third party claimant follow-up motion
                            (0.1); correspond with K. Burgess re: RSA
                            reply/strategy tasks on precedent cases (0.1);
                            correspond with M. Linder and L. Baccash re: RSA
                            revised proposed order changes (0.2); call with P.
                            Topper re: third party motion issues and follow-up (0.2);
                            draft RSA timeline and plan summary/analysis for J.
                            Lauria re: RSA reply strategy (3.0); analyze RSA
                            precedent research from K. Burgess (0.2); correspond
                            with M. Linder and L. Baccash on same (0.1); review
                            and revise RSA order re: comments from L. Baccash
                            and M. Linder (0.4).

16 July 2021                Telephone call with S. Hershey re: D. Ownby                 J Thomas             3.90            3,588.00
                            declaration (0.1); draft D. Ownby declaration (1.2); read
                            B. Whittman deposition transcript (0.5); draft B.
                            Whittman direct examination outline (1.2); telephone
                            call with S. Hershey re: responding to Insurer
                            interrogatories (0.1); draft BSA ROs to Propounding
                            Insurers interrogatories (0.8).

16 July 2021                Prepare search result documents for review (0.5);           T Chen               7.50            2,475.00
                            run/create email domain searches, and manually clean
                            up duplication email domains from the search results
                            and run further searches to narrow down review
                            population (4.0); new data communication, validation,
                            transfer and stage for processing (1.5); data
                            processing, monitor processing, run deduplication, and
                            export deduped documents (0.8); import data into
                            review platform and prepare for review (0.7).




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17 July 2021                Review and comment on responses and objections to R         G Kurtz              0.80            1,380.00
                            Phase (0.3); review and comment on responses to
                            interrogatory (0.3); review and revise letter concerning
                            mediation privilege issues (0.2).

17 July 2021                Review D. Ownby documents (1.8); conduct deposition         M Andolina           2.80            3,640.00
                            prep session (via Zoom) (1.0).

17 July 2021                Correspond with W&C team re: RSA/negotiations               B Warner             0.20                194.00
                            timeline (0.1); correspond with L. Baccash re: RSA
                            objections and reply (0.1).

17 July 2021                Prepare privilege review workstream (0.7); calls with S.    M Jaoude             1.30            1,222.00
                            Hershey re: privilege review workflow (0.3); call with T.
                            Chen re: same (0.3).

17 July 2021                Revise R&Os to Propounding Insurers interrogatories         J Thomas             3.30            3,036.00
                            (0.8); document review of D. Ownby and S. Sorrel
                            emails (2.5).

17 July 2021                Review client documents for privilege in response to        A Waterfield         2.00            1,130.00
                            request for production.

17 July 2021                Email communications/calls with case team re:               T Chen               3.00                990.00
                            keywords/domains searches (1.6); confirm search
                            criteria and provide instructions to team to run searches
                            (1.2); modify document view (0.2).

18 July 2021                Analysis of judgment reduction strategy (0.4); response     G Kurtz              0.90            1,552.50
                            to email re: same (0.4); emails concerning response to
                            petition re: mediation material (0.1).

18 July 2021                D. Ownby deposition prep session.                           M Andolina           6.00            7,800.00

18 July 2021                Call with S. Hershey re: depositions.                       C Walker             0.20                203.00

18 July 2021                Correspond with M. Linder and L. Baccash re: RSA            B Warner             0.40                388.00
                            reply strategy (0.1); review and analyze declarations re:
                            RSA reply strategy (0.3).

18 July 2021                Review documents in response to requests from parties       M Jaoude             0.50                470.00
                            for privilege.

18 July 2021                Telephone call with L. Baccash re: judgment reduction       J Thomas             1.50            1,380.00
                            assignment (0.2); review materials for judgment
                            reduction (0.4); draft direct examination of B. Whittman
                            (0.9).

19 July 2021                Preparation for D. Ownby deposition (2.1); defend same      M Andolina           7.50            9,750.00
                            (5.1); correspond with client re: same (0.3).

19 July 2021                Correspondence re: designations of deposition               Andrew Hammond       3.10            3,983.50
                            transcript, review of protective order, and call with R.
                            Tiedemann, and revise draft of letter re: same (0.7);
                            email with S. Hershey re: Ownby deposition (0.5); edit
                            and revise Whittman direct examination (1.4); review of
                            Whitman transcript for confidentiality designation (0.5).



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19 July 2021                Discussions with A. Hammond re: discovery (0.4);            R Tiedemann        4.10            4,592.00
                            review B. Whitman deposition transcript (1.9); review
                            protective order and designations (0.8); analyze insurer
                            objection issues (1.0).

19 July 2021                Attend deposition of D. Ownby.                              L Baccash          1.50            1,575.00

19 July 2021                Attend D. Ownby deposition (in part) (1.5); emails with     M Linder           2.00            2,100.00
                            J. Lauria and M. Andolina re: same (0.3); emails with S.
                            Hershey re: same (0.2).

19 July 2021                Draft deposition outline.                                   C Walker           3.90            3,958.50

19 July 2021                Analyze Whittman supplemental RSA declaration re:           B Warner           2.90            2,813.00
                            proposed changes (0.2); call with L. Baccash re: RSA
                            reply tasks (0.3); research for litigation team re:
                            deposition outline precedent (0.3); research and
                            analyze pleadings re: testimony research for J. Lauria
                            on RSA reply (0.3); factual diligence and research re:
                            precedent materials for J. Lauria (0.3); draft and revise
                            supplemental Whittman RSA declaration (1.5).

19 July 2021                Draft B. Whittman direct examination (2.0); review and      J Thomas           8.60            7,912.00
                            incorporate A. Hammond draft re: same (0.4); research
                            re: judgment reduction (2.0); telephone call with I. Popa
                            and A. Nasser re: judgment reduction (0.4); telephone
                            call with M. Linder and L. Baccash re: same (0.3);
                            analysis of mass tort cases re: judgment reduction
                            provisions (2.0); draft and review chart re: same (1.5);
                            telephone call with I. Popa re: research on same (0.3);
                            email correspondence with team re: document review
                            (A. Waterfield, R. Demoulin, M. Jaoude, etc.) of BSA
                            board member emails (0.5); review of documents of
                            BSA board members (1.2).

19 July 2021                Conduct legal research re: Judgment Reduction (5.5);        Adam Nasser        5.80            4,234.00
                            attend call with J. Thomas to discuss (0.3).

19 July 2021                Conduct legal research re: judgment reduction laws.         I Popa             4.80            3,504.00

19 July 2021                Emails with R. Boone re: precedent chapter 11 case          D Rivero           2.90            1,841.50
                            and restricted property issue (0.1); legal research re:
                            same (2.1); draft analysis to R. Boone and L. Baccash
                            re: same (0.7).

19 July 2021                Review client documents for privilege in response to        A Waterfield       2.00            1,130.00
                            request for production.

19 July 2021                Correspond with case team re: keyword search results        T Chen             1.20                396.00
                            (0.2); create production searches (0.5); prepare
                            document images and perform quality control checks
                            (0.5).

19 July 2021                Monitor various bankruptcy and adversary cases for K.       D Hirshorn         0.90                297.00
                            Burgess (0.5); update case calendar of those cases
                            (0.3) e-mail docket update and calendar to K. Burgess
                            re: same (0.1).




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20 July 2021                Conference with team concerning discovery issues and            G Kurtz              0.60            1,035.00
                            upcoming hearing.

20 July 2021                Email communications with BSA team and insurers re:             M Andolina           4.30            5,590.00
                            requested designations (1.0); review and revise
                            discovery responses and response letter and follow-up
                            emails re: same (1.1); review material re: A & M
                            presentation and privilege issues and follow-up emails
                            re: same (1.0); emails and phone conferences with
                            client re: board materials (0.7); review materials and
                            emails re: Kinney deposition (0.5).

20 July 2021                Prepare direct outline for B. Whittman (3.2); review of         Andrew Hammond       5.70            7,324.50
                            Whitman deposition transcript and deposition exhibits,
                            and motion to support entry into RSA (0.9); review and
                            comment on Whittman Declaration and correspondence
                            re: same (0.8); review of discovery correspondence
                            (0.8).

20 July 2021                Call with S. Hershey, A. Hammond, M. Andolina, J.               L Baccash            0.90                945.00
                            Lauria, and M. Linder re: litigation strategy related to
                            RSA hearing (0.7); call with S. Hershey re: RSA
                            litigation issues (0.2).

20 July 2021                Emails with E. Rosenberg re: estimation matters (0.1);          M Linder             0.90                945.00
                            telephone calls with J. Lauria and L. Baccash re:
                            preliminary injunction matters (0.2); telephone call with
                            J. Lauria, M. Andolina, G. Kurtz, A. Hammond, L.
                            Baccash, S. Hershey, and B. Warner re: litigation
                            strategy and related matters (0.6).

20 July 2021                Research case law re: privilege.                                C Walker             1.80            1,827.00

20 July 2021                Revise timeline re: RSA diagram (0.3); draft and revise         B Warner             7.80            7,566.00
                            supplemental Whittman declaration in support of RSA
                            motion reply (3.1); take notes on call with J. Lauria, M.
                            Andolina, G. Kurtz, A. Hammond, M. Linder, L. Baccash
                            re: litigation strategy re: RSA reply/discovery and
                            litigation issues (0.6); videoconference with Coalition,
                            Ad Hoc Committee of Local Councils (Wachtell), Gilbert
                            (Coalition), YCST (FCR) and W&C team and A. Azer re:
                            RSA and plan issues (1.3); review and revise RSA
                            demonstrative for W&C team (0.2); review and
                            comment on Omni declaration draft re: third party
                            motion response (0.1); call with L. Baccash re: RSA
                            reply tasks (0.2); analyze proposed Insurer deposition
                            transcripts re: reply strategy (0.3); revise Whittman
                            supplemental declaration in support of RSA reply re:
                            comments from L. Baccash and further review (1.7).

20 July 2021                Review documents and redact for production.                     M Jaoude             0.20                188.00

20 July 2021                Draft S. Sorrels declaration (0.7); review B. Whittman          J Thomas             9.10            8,372.00
                            deposition transcript and exhibits for trial prep (2.5); edit
                            draft B. Whittman direct based on same (1.5); review of
                            mass tort judgment reduction chart (2.0); review and
                            analysis of dockets re: additional mass tort cases (1.0);
                            analysis of funds re: to budget offset analysis (0.9);
                            legal research re: state v. federal law judgment
                            reduction, review of same (0.5).



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20 July 2021                Conduct legal research re: Bankruptcy Judgment               Adam Nasser          5.90            4,307.00
                            Reduction.

20 July 2021                Conduct legal research re: judgment reduction laws in        I Popa               5.40            3,942.00
                            Texas and DC.

21 July 2021                Attend court hearing.                                        G Kurtz              2.50            4,312.50

21 July 2021                Review objections to RSA Motion (2.1); follow-up             M Andolina           4.00            5,200.00
                            emails with BSA team re: response strategy (0.6);
                            review and revise discovery letter (0.4); follow-up
                            emails and phone conferences re: discovery issues re:
                            same (0.9).

21 July 2021                Attend court conference re: discovery issues (0.9);          Andrew Hammond       3.30            4,240.50
                            preparation for same re: discovery issues (1.6); edit and
                            revise Whittman direct outline (0.8).

21 July 2021                Review and revise notice of entry of fifth order             M Linder             0.40                420.00
                            extending termination date of preliminary injunction
                            (0.3): emails with M. Andolina and E. Rosenberg re:
                            same (0.1).

21 July 2021                Call with L. Baccash re: RSA motion briefing question        B Warner             4.00            3,880.00
                            from J. Lauria (0.1); research re: RSA motion standards
                            and legal precedent re: hearing and reply preparation
                            (1.2); revise Whittman declaration re: motion to approve
                            RSA (0.4); draft email re: changes to W&C team and B.
                            Whittman (0.2); call with L. Baccash re: RSA reply
                            strategy (0.1); research and draft response to B.
                            Whittman on declaration and revised proposed order
                            comments (0.8); review and revise Whittman
                            declaration in support of RSA and fees section (0.5);
                            analyze revised proposed order re: questions from
                            W&C team/A&M (0.2); review and comment on plaintiff
                            brief re: RSA motion (0.5).

21 July 2021                Review potential exhibits for B. Whittman trial prep         J Thomas            10.90           10,028.00
                            (2.5); revise direct questioning outline based on review
                            of documents (1.1); create direct into chart (1.3); review
                            deposition transcript for answers to direct questions
                            (2.0); Analysis re: budget offset (1.2); review draft B.
                            Whittman supplemental declaration ISO RSA Reply and
                            Review B. Whittman deposition re: same (2.3); review
                            of client National Executive Committee, National
                            Executive Board, and Bankruptcy Task Force chart
                            analysis (0.5).

21 July 2021                Call with BSA re: national search obligations (0.2);         C Tuffey             0.50                317.50
                            emails with Bates White and B. Warner re: same (0.2);
                            review Preliminary Injunction stipulation re: same (0.1).

21 July 2021                Monitor document review batch progress (0.3);                T Chen               0.50                165.00
                            communication with case team re: next production
                            (0.2).

22 July 2021                Conferences with A. Hammond concerning discovery             G Kurtz              7.60           13,110.00
                            dispute with insurers (0.2); review and revise
                            communications with the insurers concerning discovery



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                            dispute (0.5); conference with team concerning
                            approach with respect to the expected objections (0.5);
                            review numerous objections filed to the RSA (4.9);
                            conferences with A. Hammond concerning entire
                            fairness, business judgment issues (0.2); review
                            research concerning entire fairness issues (1.1); review
                            emails with J. Reiss concerning entire fairness issues
                            (0.2).

22 July 2021                Prepare for Kinney deposition and emails and phone           M Andolina           4.70            6,110.00
                            conferences with S. Hershey re: same (2.2); emails and
                            phone conferences with insurers and BSA team re:
                            discovery issues and motion to compel (1.8); follow-up
                            emails and phone conferences re: meet-and-confer
                            (0.7).

22 July 2021                Review of discovery correspondence and responses             Andrew Hammond       7.40            9,509.00
                            (1.1); review objections to RSA motion, outlining
                            responses to arguments (3.9); calls with L. Baccash, R.
                            Tiedemann, and J. Thomas re: same (0.6); review of
                            Whittman declaration (0.6); review research re: entire
                            fairness allegations (1.2).

22 July 2021                Discussions with A. Hammond and J. Thomas re: RSA            R Tiedemann          2.20            2,464.00
                            approval (0.4); legal research re: director independence
                            and duty of care (1.8).

22 July 2021                Call with G. Kurtz, A. Hammond, M. Andolina, S.              L Baccash            0.30                315.00
                            Hershey, B. Warner, and M. Linder re: litigation
                            strategy.

22 July 2021                Telephone call with M. Andolina re: Insurer deposition       M Linder             0.20                210.00
                            topics.

22 July 2021                Review and comment on plaintiff brief re: RSA motion         B Warner            11.60           11,252.00
                            (0.3); call with L. Baccash re: omnibus RSA reply (0.1);
                            call with A. O'Neill, M. Linder, L. Baccash and K. Ferrier
                            re: Coalition RSA brief (0.4); provide comments to
                            Coalition RSA reply brief and send to K. Ferrier (0.2);
                            team strategy call with J. Lauria (partial), M. Andolina,
                            G. Kurtz, M. Linder, L. Baccash, and S. Hershey (0.5);
                            team strategy call with W&C team re: response to RSA
                            motion objections (0.3); draft and email team re: RSA
                            objection summaries document/tasks (0.2); research
                            and draft section of RSA reply (1.0); multiple calls with
                            L. Baccash re: RSA reply tasks/strategy (0.3); analyze
                            RSA objections and draft summary of same (3.2);
                            research case law and precedent re: reply (2.9); revise
                            RSA proposed order (0.4); revise supplemental
                            Whittman declaration re: RSA reply (1.3); analyze
                            Insurer fee RSA objection and RSA reply precedent re:
                            same (0.5).

22 July 2021                Compare draft B. Whittman supplemental declaration           J Thomas            10.60            9,752.00
                            ISO RSA Reply with deposition transcript (1.5);
                            telephone call with team re: BSA RSA Reply to
                            objections (0.3); draft summary of Roman Catholic and
                            Methodist RSA objection (2.0); review case law
                            referenced in same (0.5); review objections chart (0.5);
                            document review of D. Desai emails (2.0); review



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                            Hollander report re: entire fairness argument (0.5);
                            review cases referenced in same (0.8); analyze insurer
                            objections re: entire fairness argument (1.5); telephone
                            calls with A. Hammond re: entire fairness rider (1.0);
                            review deposition quotes chart (0.5).

22 July 2021                Conduct legal research re: conflict of interest in non-       I Popa               3.50            2,555.00
                            profit organization.

22 July 2021                Review Bates Whites materials re: BSA search                  C Tuffey             1.20                762.00
                            obligations under Fifth Stipulation (0.2); call with Bates
                            White re: same (0.5); draft email update to B. Warner
                            re: same (0.1); calls with BSA re: same (0.3); emails
                            with Bates White re: same (0.1).

22 July 2021                Review    client   documents     for   privilege   and        A Waterfield         2.70            1,525.50
                            responsiveness in response to request for production.

22 July 2021                Correspond with outside counsel re: production data           T Chen               2.20                726.00
                            (0.2); new data transfer, validate, and stage for
                            processing (0.5); data processing, monitor processing,
                            run deduplication, and export deduped documents
                            (1.0); import data into review platform, provide case
                            team dupes document log, and prepare for review (0.5).

22 July 2021                Run/create searches (0.2); prepare document batches           K Leung              0.50                165.00
                            (0.3).

23 July 2021                Continue reviewing objections to RSA (4.1); conference        G Kurtz             11.90           20,527.50
                            with team concerning response to objections and
                            witnesses (0.8); conference with A. Hammond
                            concerning reply to objections (0.4); conference with J.
                            Green concerning research in support of reply re: entire
                            fairness (0.6); further conferences with team concerning
                            outline for reply re: entire fairness (0.3); participate in
                            meet and confer with insurer counsel (0.3); conference
                            with team concerning approach to resolution of
                            discovery issues (0.9); conference with A. Hammond
                            further outlining reply brief re: entire fairness and
                            business judgment (0.6); continue drafting reply brief
                            and further support of RSA (3.9).

23 July 2021                Review insurer motion to compel (0.9); follow-up emails       M Andolina           7.00            9,100.00
                            with BSA team re: same (0.6); prepare for and take
                            Kinney deposition (4.0); follow-up emails with BSA team
                            re: open discovery issues and strategy (1.5).

23 July 2021                Review Objections to RSA Motion (2.3); outline                Andrew Hammond      10.30           13,235.50
                            response to fiduciary duty section and review case law
                            re: same (4.3); prepare for and attend meet and confer
                            discovery call, and call with S. Hershey re: same (0.8);
                            privilege review of BSA minutes (1.2); attention to call
                            and email with J. Green re: additional research (1.7).

23 July 2021                Discuss motion practice with A. Hammond; review RSA           R Tiedemann         13.70           15,344.00
                            approval motion (1.5); review objections of Insurer (0.7);
                            review Certain Insurer's objections (0.8); analyze and
                            outline legal reply to objections (10.7).




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23 July 2021                Call with J. Lauria, G. Kurtz, A. Hammond, L. Baccash,        M Linder          2.40            2,520.00
                            B. Warner, E. Martin, and A. Azer re: witnesses and
                            evidentiary issues (0.8); follow-up call with J. Lauria re:
                            same (0.3); review board materials (0.3); emails with
                            litigation team re: same (0.2); attend insurer meet and
                            confer re: discovery issues (0.4); emails with insurer
                            counsel and W&C litigation team re: same (0.4).

23 July 2021                Draft RSA reply outlines and chart for J. Lauria (1.0);       B Warner         10.00            9,700.00
                            multiple calls with L. Baccash re: RSA reply and
                            strategy (0.5); call with W&C team re: RSA strategy re:
                            witnesses and evidence (0.8); correspond with client
                            and mediators re: RSA filings (0.3); review and
                            comment on RSA reply outline (0.3); call with W&C
                            RSA omnibus reply team re: outline, tasks and strategy
                            (0.4); correspond with S. Hershey re: deposition
                            research request (0.1); analyze additional RSA
                            objections and revise summary of objections re: same
                            (0.5); email multiple members of W&C team re: case
                            law and analysis and research re: RSA reply sections
                            (0.3); analyze objections and revise reply outline and
                            chart re: same (1.0); correspond with W&C team re:
                            reply inserts and research re: omnibus RSA reply (0.5);
                            factual research re: Desai declaration (0.8); review and
                            comment on draft of Desai declaration from L. Baccash
                            (0.5); research and draft business judgment section of
                            omnibus RSA reply (2.4); call with Coalition, FCR, TCC
                            counsel and W&C team re: RSA reply (0.6).

23 July 2021                Review and follow-up on legal research re: entire             J Thomas          8.80            8,096.00
                            fairness (4.0); review of unprivileged documents (1.0);
                            telephone call with K. Andes re: same (0.2); telephone
                            call with L. Baccash re: entire fairness reply section
                            (0.2); telephone call with A. Hammond, R. Tiedemann,
                            J. Green re: entire fairness (0.4); email correspondence
                            with L. Baccash re: Desai declaration (0.2); review
                            comments to Desai declaration and incorporate (1.0);
                            review case law sent by J. Green (0.4); draft business
                            judgment standard reply section (1.4).

23 July 2021                Conduct legal research for response to insurers'              Adam Nasser       2.70            1,971.00
                            objection.

23 July 2021                Conduct legal research re: conflict of interest in non-       I Popa            3.30            2,409.00
                            profit organization.

23 July 2021                Monitor document review batch progress (0.2); prepare         T Chen            7.00            2,310.00
                            document images and perform quality control checks
                            (0.3); calls/communication with attorney re: production
                            clawback documents, and respond to reviewers’
                            questions to update image redaction, and provide case
                            team clawback production specification and explain
                            work-flow (3.5); format search syntax, run/create/revise
                            keyword searches, and prepare search results
                            summary and reports (2.5); create document review
                            batches (0.5).

24 July 2021                Continue drafting reply brief.                                G Kurtz           5.90           10,177.50

24 July 2021                Review discovery materials re: additional production          M Andolina        3.90            5,070.00



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                            and emails with BSA team re: same (1.5); review and
                            revise DD materials and phone conferences and emails
                            re: same (1.0); emails with insurers re: discovery
                            update and follow-up with BSA team re: same (0.7);
                            review and revise Whitman materials (0.7).

24 July 2021                Draft and revise reply in support of motion for RSA,          Andrew Hammond      11.50           14,777.50
                            including edit and revise Whittman and Desai
                            declarations (5.2); calls with J. Thomas re: same (1.2);
                            call with G. Kurtz re: same (0.8); call with R. Tiedemann
                            re: same (1.1); review minutes of National Executive
                            Committee, National Executive Board and Bankruptcy
                            Task Force and A&M presentations (3.2).

24 July 2021                Outline arguments in reply to objections to approving         R Tiedemann          8.80            9,856.00
                            RSA agreement motion.

24 July 2021                Telephone calls with S. Hershey re: discovery                 M Linder             0.60                630.00
                            responses and redaction of certain materials (0.3);
                            review and analyze same (0.3).

24 July 2021                Review and code documents for responsiveness and              T Cull               4.70            4,653.00
                            privilege (2.1); research discovery motions and prepare
                            notes on the same (2.6).

24 July 2021                Correspond with W&C team re: omnibus RSA reply                B Warner            12.40           12,028.00
                            tasks (0.3); call with K. Burgess re: fees section of reply
                            (0.2); draft business judgment section of omnibus RSA
                            reply (4.8); research case law and response and revise
                            omnibus RSA reply re: comments from various parties
                            including W&C litigation, Haynes & Boone, local
                            counsel (7.1).

24 July 2021                Review documents for privilege and make relevant              M Jaoude             3.10            2,914.00
                            redactions.

24 July 2021                Analysis of meeting minutes for draft detailed chart and      J Thomas             8.80            8,096.00
                            for authorizations (1.0); telephone call with A.
                            Hammond re: entire fairness section (0.1); draft and
                            revise D. Desai declaration per comments (2.5); legal
                            research re: connections (0.4); review legal research re:
                            same and follow up (0.8); review insurer objections
                            (Insurer and Certain Insurers) re: arguments of debtors
                            being uninformed (1.0); email correspondence with
                            team re: redacted minutes, incorporated further edits
                            (1.0); review of board meeting minutes (0.5); email
                            correspondence with Client re: presentations and
                            minutes (0.2); review of information sent by Client (0.5);
                            review case law for entire fairness section (0.8); convert
                            draft of entire fairness section into outline (0.5).

24 July 2021                FTP data and user account management (0.5); monitor           T Chen               2.00                660.00
                            document review batch progress (0.5); prepare
                            document images and perform quality control checks
                            (0.5); provide team with new data processing and
                            prepare document batches (0.5).

25 July 2021                Review and comment on Desai declaration (0.5);                G Kurtz             10.40           17,940.00
                            conference with A. Hammond re: same (0.5); review



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                            and revise reply brief in support of RSA, excluding the
                            entire fairness section (3.1); review and revise entire
                            fairness section, including the standing section (3.9);
                            conference with J. Green concerning the standing
                            argument (0.2); review and revise opposition to motion
                            to compel (2.2).

25 July 2021                Review and revise materials in support of RSA motion,        M Andolina           8.50           11,050.00
                            including attention to D. Desai declaration and reply
                            brief (6.2); emails and phone conferences with BSA
                            team, D. Desai, and client re: same (2.3).

25 July 2021                Edit and revise reply motion, and draft and review case      Andrew Hammond      13.80           17,733.00
                            law re: fairness section (9.5); edit and revise Desai
                            Declaration (1.5); calls with G. Kurtz re: briefing (0.8);
                            call re: discovery with M. Andolina and G. Kurtz, (0.9);
                            review board minutes and correspondence re: same
                            (1.1).

25 July 2021                Draft reply brief in support of motion to approve RSA.       R Tiedemann         12.60           14,112.00

25 July 2021                Telephone call with M. Andolina, G. Kurtz, A.                M Linder             1.20            1,260.00
                            Hammond, L. Baccash, S. Hershey, J. Thomas, and D.
                            Abbott re: discovery and witness issues.

25 July 2021                Prepare notes on research into discovery issues and          T Cull               2.70            2,673.00
                            send to S. Hershey (0.8); review and code documents
                            for responsiveness and privilege (1.9).

25 July 2021                Research and revise omnibus RSA reply re: comments           B Warner            11.70           11,349.00
                            from various parties including W&C team members,
                            local counsel and independent review (10.0); call with
                            K. Burgess re: omnibus RSA reply formatting and
                            structure issues (0.1); multiple calls with L. Baccash re:
                            omnibus RSA reply revisions and drafting (1.0); call with
                            L. Baccash and R. Boone re: omnibus RSA reply
                            drafting tasks (0.6).

25 July 2021                Redact documents and presentations for privilege             M Jaoude             4.10            3,854.00
                            review (3.1); organize and commence production of
                            documents (1.0).

25 July 2021                Attend deposition preparation for D. Desai with M.           J Thomas             9.60            8,832.00
                            Andolina and J. Lauria (2.5); review notes re: same for
                            declaration (0.5); draft and revise D. Desai declaration
                            per comments and minutes information, assemble
                            exhibits (2.3); review and finalize redactions (1.5);
                            analysis of minutes to draft chart detailed meeting
                            minutes (1.5); revise entire fairness section (1.3).

25 July 2021                Document review discovery management and provide             T Chen               3.00                990.00
                            team instructions/work-flow details (1.0); production
                            communication and correspond with case team (0.5);
                            perform production data QC (1.5).

25 July 2021                Correspondence with J. Thomas re: Relativity searches        K Leung              3.60            1,188.00
                            (0.1); create Relativity searches for J. Thomas (0.4);
                            correspondence with M. Jaoude re: discovery request
                            (0.2); prepare documents for discovery re: Adversary



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                            Proceedings      and     Bankruptcy    Litigation  (2.1);
                            correspondence with R. Demoulin re: Relativity PDF
                            Export (0.2); create Relativity searches and export PDF
                            from Relativity for R. Demoulin (0.6).

26 July 2021                Continue revising reply in further support of RSA (4.7);      G Kurtz              9.90           17,077.50
                            continue revising opposition to motion to compel (2.1);
                            review and revise letter to Judge Silverstein concerning
                            the moving insurers letter to the court concerning a
                            purported typographical error, which instead contained
                            material misstatements (0.7); conference with A.
                            Hammond concerning the entire fairness section of the
                            brief point 4 (0.5); conference with R. Tiedemann
                            concerning entire fairness section (0.1); continue
                            preparing direct examination outline for D. Ownby (1.8).

26 July 2021                Review and revise replies to objections and follow-up         M Andolina           4.00            5,200.00
                            emails and phone conferences with BSA team re: filing
                            (1.5); review and revise D. Desai materials and phone
                            conferences and emails with BSA team and clients re:
                            same (2.5).

26 July 2021                Emails re: discovery follow-up.                               A O'Neill            0.10                130.00

26 July 2021                Edit and revise Reply brief in support of RSA (4.1);          Andrew Hammond      10.10           12,978.50
                            review research re: same (1.3); calls re: same (0.8);
                            review of Whitman Declaration and Devang deposition
                            (1.3); review and prepare for client testimony, review
                            deposition transcript and outline direct, call with R.
                            Tiedemann and S. Murray re: same (2.6).

26 July 2021                Revise omnibus Reply brief (6.9); prepare for witness         R Tiedemann         13.90           15,568.00
                            depositions (7.0).

26 July 2021                Review proposed email to lift-stay movant (0.1); emails       M Linder             0.80                840.00
                            with E. Rosenberg re: same (0.1); review and consider
                            objection to insurers' motion to compel and motion to
                            shorten notice of same (0.6).

26 July 2021                Review deposition transcripts and exhibits for witness        T Cull               3.80            3,762.00
                            preparation (3.1); prepare notes on the same (0.7).

26 July 2021                Correspond with W&C team re: RSA declaration and              B Warner             9.60            9,312.00
                            reply changes (0.3); email W&C team re: update to
                            timeline/chart for RSA (0.1); call with A. Azer, M. Linder,
                            L. Baccash, R. Boone, and K. Ferrier re: insurance
                            sections of omnibus reply (0.1); multiple calls with L.
                            Baccash re: RSA reply/declarations/revised order filing
                            (0.3); revise and incorporate comments from various
                            parties including W&C team members, local counsel
                            and independent review re: finalization of omnibus RSA
                            reply, declarations and exhibits for filing (8.8).

26 July 2021                Review documents and code for production.                     M Jaoude             1.00                940.00

26 July 2021                Draft entire fairness section of RSA reply (1.0); review      J Thomas            10.80            9,936.00
                            relevant documents and case law re: same (2.1); revise
                            D. Desai declaration, assemble, redact, and finalize
                            exhibits (2.0); review meeting minutes re: main topics



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                            (1.5); review of D. Desai journal for relevant information,
                            summary re: same (1.5); D. Ownby trial preparation:
                            assemble and review relevant documents (1.7); insert
                            information for direct outline (1.0).

26 July 2021                Review      client   documents       for   privilege  and     A Waterfield         9.00            5,085.00
                            responsiveness in response to request for production
                            (5.7); apply revisions to privilege redactions re: meeting
                            notes (3.3).

26 July 2021                Document review discovery management and provide              T Chen               2.00                660.00
                            team instructions/work-flow details re: document
                            imaging and production specifications.

26 July 2021                Correspondence with J. Thomas re: PDF Redaction               K Leung              2.00                660.00
                            (0.1); review documents in connection with discovery
                            request re: Adversary Proceedings and Bankruptcy
                            Litigation (0.1); correspondence with J. Thomas re:
                            production images (0.2); correspondence with M.
                            Jaoude re: discovery request (0.2); prepare documents
                            for discovery QC re: Adversary Proceedings and
                            Bankruptcy Litigation (1.4).

26 July 2021                Monitor various bankruptcy and adversary cases for K.         D Hirshorn           1.00                330.00
                            Burgess (0.3); update case calendar of those cases
                            (0.1); e-mail docket update and calendar to K. Burgess
                            re: same (0.6).

27 July 2021                Review motion to compel (0.5); prepare for argument           G Kurtz             11.30           19,492.50
                            on various discovery motions and motions in Limine
                            (2.9); conference with S. Hershey concerning
                            information needed for discovery motions (0.2);
                            conference with team concerning the upcoming hearing
                            re: the discovery motions and motions in Limine (0.4);
                            participate in hearing on discovery (0.8); conference
                            with team following the hearing to determine next steps
                            on discovery in obtaining an extension of the RSA (0.5);
                            conference with J. Lori concerning next steps and
                            ongoing discovery (0.4); participate in and preparation
                            of D. Ownby for trial (3.7); conference with team
                            concerning efforts made to extend the RSA and
                            disclosure to the court (0.2); continue drafting direct
                            examination of D. Ownby (1.5); conference with R.
                            Tiedemann re: same (0.2).

27 July 2021                Preparation session with D. Desai (1.1); follow-up            M Andolina           5.00            6,500.00
                            emails and phone conferences with BSA team and
                            client re: same (3.9).

27 July 2021                Prepare direct examination for client (4.1); call with        Andrew Hammond       7.10            9,123.50
                            client, G. Kurtz, R. Tiedemann re: trial preparation (1.1);
                            attend hearing re: discovery issues and preparations for
                            same (1.3); outline Whitman direct examination (0.6).

27 July 2021                Prepare for D. Ownby deposition.                              R Tiedemann          9.80           10,976.00

27 July 2021                Call with J. Lauria, S. Hershey, M. Andolina, G. Kurtz,       L Baccash            0.90                945.00
                            and others re: discovery related issues (0.5); call with J.
                            Lauria, S. Hershey, M. Linder, and G. Kurtz re: same



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DATE                        DESCRIPTION                                                  TIMEKEEPER        HOURS                   USD

                            (0.2); review correspondence re: discovery issues (0.2).

27 July 2021                Telephone calls with W&C restructuring and litigation        M Linder             1.30            1,365.00
                            teams, D. Abbott, A. Remming, and P. Topper re:
                            discovery issues and status conference on same.

27 July 2021                Review deposition testimony, declaration, and filings        T Cull               6.40            6,336.00
                            (2.2); draft direct examination outline and cross
                            examination outline (3.4); email S. Hershey on the
                            same (0.8).

27 July 2021                Correspond with W&C team re: RSA hearing                     B Warner             1.80            1,746.00
                            preparation (0.3); follow-up correspondence with W&C
                            team on same (0.3); correspond with Morris Nichols re:
                            hearing preparation (0.1); correspond with W&C team
                            and B. Whittman re: RSA documents and hearing (0.2);
                            call with W&C team re: RSA amendment
                            issues/discovery disputes hearing (0.4); call with Ad
                            Hoc Committee of Local Councils/Wachtell re: RSA
                            amendment issues (0.3); call with RSA parties re: RSA
                            amendment issues (0.2).

27 July 2021                Review and       produce    documents      with   revised    M Jaoude             1.50            1,410.00
                            redactions.

27 July 2021                Review relevant documents (1.0); insert information for      J Thomas             5.30            4,876.00
                            direct outline (2.1); telephone calls with R. Tiedemann
                            re: same (0.6); review of same (0.3); review of
                            documents on Boardvantage (0.3); telephone call with
                            S. Hershey re: hearing update (0.2).

27 July 2021                Document review discovery management and provide             T Chen               2.00                660.00
                            team instructions/work-flow details (1.0); perform
                            production data QC (1.0).

27 July 2021                Correspondence with M. Jaoude re: discovery request          K Leung              2.30                759.00
                            (0.3); prepare documents for discovery re: Adversary
                            Proceedings and Bankruptcy Litigation (2.0).

28 July 2021                Call with client and W&C team re: case strategy and          G Kurtz              8.50           14,662.50
                            discovery (0.9); participate in call with team concerning
                            discovery and schedule and RSA extension (0.7);
                            revisions to opposition to motion to strike testimony
                            (4.9); conversations with S. Hershey re: opposition to
                            motion to strike (0.2); call with team concerning how to
                            proceed at July 29 hearing (0.2); continue drafting direct
                            examination of D. Ownby (0.4); participate in call with B.
                            Whitman, A. Hammond, and S. Hershey going over
                            A&M presentations for privilege (1.0); draft email
                            outlining privilege approach (0.2).

28 July 2021                D. Desai deposition preparation session (1.2); follow-up     M Andolina           1.80            2,340.00
                            emails re: same (0.6).

28 July 2021                Review A&M materials for mediation privilege                 Andrew Hammond       5.80            7,453.00
                            redactions and call with S. Hershey, G. Kurtz, and B.
                            Whitman re: same (1.7); call with S. Hershey, G. Kurtz,
                            and M. Andolina re: objection to Insurer motion to strike
                            and next steps, and review email correspondence with



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                            S. Hershey and M. Andolina re: same (1.1); review
                            materials to prepare direct outline for client (1.2); review
                            correspondence re: RSA amendments (0.7); respond to
                            correspondence from Konrad Krebs re: mediation (0.6);
                            attend conference call with G. Kurtz, J. Lauria, and M.
                            Andolina re: objection to Insurer Motion (0.5).

28 July 2021                Review Ownby transcript (0.7); review objection papers         R Tiedemann        1.20            1,344.00
                            (0.5).

28 July 2021                Prepare and participate in call with G. Kurtz, A.              L Baccash          0.70                735.00
                            Hammond, S. Hershey, M. Linder, M. Andolina, B.
                            Warner, and others re: litigation status (0.5); call with G.
                            Kurtz, A. Hammond, S. Hershey, M. Linder, M.
                            Andolina, B. Warner, and others re: hearing
                            preparations (0.2).

28 July 2021                Telephone call with W&C litigation team, L. Baccash, B.        M Linder           2.30            2,415.00
                            Warner, and MNAT team re: litigation strategy and next
                            steps (0.8); review Guam UCC filing re: lift-stay (0.7);
                            telephone calls with L. Baccash and E. Rosenberg re:
                            same (0.3); emails with P. Anderson re: Barber matter
                            and application of preliminary injunction (0.2); review
                            and analyze objection to Insurer motion to strike (0.3).

28 July 2021                Correspond with litigation team re: RSA filing timing          B Warner           1.90            1,843.00
                            (0.1); call with W&C team and MNAT re: motion to
                            strike and RSA strategy (0.8); W&C and Ad Hoc
                            Committee of Local Councils common interest update
                            call re: new developments on RSA (0.3); call with L.
                            Baccash re: disclosure statement and RSA litigation
                            next steps (0.1); revise and circulate RSA timeline info
                            to J. Lauria re: hearing preparation (0.2); draft
                            analysis/summary of TDP/Trust objections for Bates
                            White team (0.4).

28 July 2021                Call with team re: discovery and coding procedures             M Jaoude           2.50            2,350.00
                            (0.5); manage production and batching of documents
                            (1.5); review and redact documents for production (0.5).

28 July 2021                Conduct legal research for response to insurers'               Adam Nasser        0.30                219.00
                            objection.

28 July 2021                Review documents re: bankruptcy task force.                    I Popa             3.10            2,263.00

28 July 2021                Review    client     documents      for    privilege   and     A Waterfield       3.00            1,695.00
                            responsiveness.

28 July 2021                Document review discovery management and provide               T Chen             1.00                330.00
                            team instructions/work-flow details.

28 July 2021                Correspondence with M. Jaoude re: discovery request            K Leung            3.00                990.00
                            (0.3); prepare documents for discovery re: Adversary
                            Proceedings     and     Bankruptcy     Litigation  (1.2);
                            correspondence with M. Jaoude re: Relativity user
                            account management (0.1); relativity user account
                            management (0.6); correspondence with J. Thomas re:
                            new data to upload to Relativity (0.2); process and load
                            new data into Relativity for J. Thomas (0.6).



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29 July 2021                Prepare for discovery-related RSA matters hearing             G Kurtz              7.40           12,765.00
                            (0.7); conference with D. Abbott concerning approach at
                            the hearing (0.1); participate in the hearing (1.8); revise
                            opposition brief to motion to strike (0.8); emails with S.
                            Hershey concerning motion to strike (0.1); continue
                            reviewing documents for redaction issues (1.3);
                            participate in call with team concerning redactions to
                            A&M materials (0.8); review and revise email
                            suggesting schedule, and response to insurers per
                            reply to email (0.4); begin outlining submission in
                            support of hearing testimony (1.4).

29 July 2021                Emails and phone conferences with BSA team re:                M Andolina           3.50            4,550.00
                            updated production issues and follow-up emails re:
                            discovery with parties (2.0); review and revise discovery
                            and witness production letter and follow-up emails re:
                            same (1.5).

29 July 2021                Review redactions to Desai journal (0.5); outline direct      Andrew Hammond       5.80            7,453.00
                            testimony for client and B. Whittman (1.3); prepare for
                            and attend discovery call with S. Hershey, client, G.
                            Kurtz, and M. Andolina re: redactions (0.9); attend
                            conference call with J. Thomas, M. Jaoude, and S.
                            Hershey re: production and redaction process (0.9);
                            review and redact correspondence with board and call
                            with J. Thomas re: same (1.3); call with S. Hershey re:
                            A&M redactions (0.4); email and response to production
                            of model concerning feasibility analysis (0.5).

29 July 2021                Analyze insurer objections (0.7); review direct outlines      R Tiedemann          1.70            1,904.00
                            (1.0).

29 July 2021                Correspondence with E. Rosenberg re: Guam issues              L Baccash            1.70            1,785.00
                            (0.2); review pleadings related to same (0.5); research
                            re: automatic stay issues related to same (0.5); review
                            various correspondence from G. Kurtz, S. Hershey, M.
                            Andolina, and others re: litigation and discovery matters
                            (0.5).

29 July 2021                Telephone call with W&C litigation team, L. Baccash,          M Linder             0.70                735.00
                            and D. Abbott re: discovery matters.

29 July 2021                Review documents and revise redactions for production         M Jaoude             3.60            3,384.00
                            (1.2); manage and QC production (1.8); call with S.
                            Hershey re: production specs (0.6).

29 July 2021                Review documents re: bankruptcy task force.                   I Popa               3.30            2,409.00

29 July 2021                Review    client    documents      re:    privilege   and     A Waterfield         9.00            5,085.00
                            responsiveness.

29 July 2021                Document review discovery management and provide              T Chen               1.00                330.00
                            team instructions/work-flow details.

29 July 2021                Correspondence with J. Thomas re: Relativity searches         K Leung              3.80            1,254.00
                            (0.1); call with J. Thomas re: Relativity searches (0.7);
                            create Relativity searches for J. Thomas (1.7);
                            correspondence with M. Jaoude re: Relativity coding
                            layout (0.1); create new Relativity layout for M. Jaoude



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                            (0.2); add new users to W&C FTP at the direction of S.
                            Hershey (0.2); correspondence with M. Jaoude re: new
                            data to upload to Relativity (0.2); process and load new
                            data into Relativity for M. Jaoude (0.6).

29 July 2021                E-mails with B. Warner re: upcoming hearing in                D Hirshorn           0.30                 99.00
                            monitored bankruptcy.

30 July 2021                Conference with team concerning privileged redactions         G Kurtz              7.10           12,247.50
                            and document productions (0.5); participate in call with
                            insurers and mediators concerning updates and
                            discovery disputes (1.3); conference A. Hammond
                            concerning redactions on final productions (0.3);
                            conference with team concerning further productions
                            and the mediator's approach with the insurers (0.4);
                            conference with M. Andolina concerning preparation for
                            call with insurers (0.3); conference with M. Andolina, A.
                            Hammond and S. Hershey concerning privileged
                            decisions on challenge instructions at the depositions;
                            review the depositions to assess the challenges to
                            privileged instructions (2.2); begin outlining argument to
                            support the introduction of evidence relating to the
                            board deliberations of the business judgment of the
                            debtors (1.7); conference with A. Hammond concerning
                            privileged redaction issues (0.4).

30 July 2021                Review board minutes, correspondence, notes and               M Andolina           5.00            6,500.00
                            other documents and emails with BSA team re:
                            supplemental production.

30 July 2021                Conference calls with G. Kurtz and S. Hershey re:             Andrew Hammond       6.60            8,481.00
                            outstanding discovery requests re: instructions not to
                            answer at deposition (0.9); review transcripts and
                            prepare letter responding to same, including emails with
                            S. Hershey (3.2); prepare for and attend insurer meet,
                            and confer call with insurers/mediation (1.9); call with G.
                            Kurtz and J. Green re: research concerning mediation
                            privilege (0.6).

30 July 2021                Call with S. Hershey, M. Andolina, G. Kurtz, and others       L Baccash            1.00            1,050.00
                            re: discovery issues (0.5); review research related to
                            possible supplemental reply to RSA (0.5).

30 July 2021                Telephone calls with W&C litigation team, J. Lauria, L.       M Linder             0.80                840.00
                            Baccash, E. Martin, A. Azer, and D. Abbott re:
                            discovery issues.

30 July 2021                Call with W&C team re: litigation requests and RSA and        B Warner             0.50                485.00
                            other case updates.

30 July 2021                Review documents for production and run conflict              M Jaoude             4.20            3,948.00
                            checks (0.6); manage and QC production (1.6); calls
                            with S. Hershey re: production specs (0.6); call with S.
                            Hershey and J. Thomas re: Production (0.8); prepare
                            production (0.6).

30 July 2021                Conduct legal research for response to insurers'              Adam Nasser          2.60            1,898.00
                            objection.




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30 July 2021                Review documents re: bankruptcy task force (4.1);            I Popa               4.50            3,285.00
                            communicate with tech team re: new portal features
                            (0.4).

30 July 2021                Document review discovery management and provide             T Chen               3.00                990.00
                            team instructions/work-flow details (1.0); create
                            production searches, run coding conflict checks (1.5);
                            prepare document images and perform image quality
                            checks (0.5).

30 July 2021                Correspondence with M. Jaoude re: discovery request          K Leung              1.40                462.00
                            (0.5); prepare documents for discovery re: Adversary
                            Proceedings       and     Bankruptcy    Litigation (0.5);
                            correspondence with J. Thomas re: removing
                            documents in Relativity (0.2); remove documents from
                            Relativity at the direction of J. Thomas (0.2).

31 July 2021                Review various redaction issues (1.1); respond to            G Kurtz              1.90            3,277.50
                            emails re: same (0.4); email outlining further position of
                            privileged material (0.4).

31 July 2021                Review minutes and other materials for production and        M Andolina           3.00            3,900.00
                            follow-up emails and phone conference with litigation
                            team re: same.

31 July 2021                Call with S. Hershey re: production of additional            Andrew Hammond       4.50            5,782.50
                            materials (0.8); review documents for production (1.4);
                            edit and revise discovery correspondence (1.8); call
                            with G. Kurtz (0.5).

31 July 2021                Review and comment on proposed redactions to                 M Linder             0.80                840.00
                            supplemental production (0.5); emails with W&C
                            litigation team and D. Abbott re: same (0.3).

31 July 2021                Review documents for privilege review and isolate            M Jaoude             5.10            4,794.00
                            logged documents (2.1); oversee conflicts and
                            production of documents (3.0).

31 July 2021                Document review discovery management and provide             T Chen               4.50            1,485.00
                            team instructions/work-flow details (2.5); create
                            production searches, run coding conflict checks (1.0);
                            perform production quality control checks (1.0).

31 July 2021                Correspondence with M. Jaoude, J. Thomas, and S.             K Leung              6.10            2,013.00
                            Hershey re: discovery request (1.2); prepare documents
                            for discovery re: Adversary Proceedings and
                            Bankruptcy Litigation (3.1); call with T. Chen re:
                            discovery request (1.8).

SUBTOTAL: Adversary Proceedings and Bankruptcy Litigation                                                 1,230.00         1,276,986.50


Asset Dispositions
14 July 2021                Review email from C. Binggeli re: Scouting University        M Linder             0.30                315.00
                            sale (0.2); respond to same (0.1).

SUBTOTAL: Asset Dispositions                                                                                  0.30                315.00




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Automatic Stay
1 July 2021                 Prepare status report in J.F.H. action (0.3); email        E Rosenberg       0.50                532.50
                            correspondence with M. Linder and M. Andolina re:
                            same (0.1); email correspondence with A. Kutz and A.
                            Azer re: same (0.1).

1 July 2021                 Confer with E. Rosenberg re: updating Schedules to         A Bowron          0.10                 73.00
                            Consent Order.

2 July 2021                 Email correspondence with A. Bowron re: confirming         E Rosenberg       0.10                106.50
                            service of preliminary injunction extension stipulation.

2 July 2021                 Confer with E. Rosenberg re: review of updated             A Bowron          0.60                438.00
                            Schedules to Consent Order (0.3); review of additional
                            materials to confirm inclusion in updated Amended
                            Schedules (0.3).

6 July 2021                 Email correspondence with M. Lowry and S. Manning          E Rosenberg       0.10                106.50
                            re: Williams action.

7 July 2021                 Review minute entry from court in J.F.H. matter setting    E Rosenberg       0.20                213.00
                            status    report deadline     (0.1);    review    email
                            correspondence with D. Stillwell and A. Kutz re: Puccio
                            action (0.1).

8 July 2021                 Email correspondence with S. Manning and M. Lowry          E Rosenberg       1.10            1,171.50
                            re: Williams matter (0.4); email correspondence with M.
                            Andolina and M. Linder re: same (0.2); email
                            correspondence with plaintiff's and school district's
                            counsel arranging call to discuss bankruptcy case
                            developments in Williams matter (0.2); provide update
                            re: objection deadline for preliminary injunction
                            stipulation to C. Tuffey and P. Spencer (0.1); review
                            email correspondence with D. Stillwell and A. Kutz re:
                            appellate brief in Puccio matter (0.1); email
                            correspondence with A. Bowron re: next update of
                            preliminary injunction consent order schedules (0.1).

8 July 2021                 Confer with E. Rosenberg re: updating Schedules to         A Bowron          0.20                146.00
                            Consent Order.

9 July 2021                 Review docket updates in abuse litigations (0.4); review   E Rosenberg       0.90                958.50
                            appellant's brief in Puccio matter (0.3); analyze
                            preliminary injunction adversary docket re: updates
                            (0.1); email correspondence with P. Spencer and C.
                            Tuffey re: same (0.1).

12 July 2021                Review email correspondence with M. Linder, D.             E Rosenberg       0.40                426.00
                            Abbott, P. Topper, and M. Leyh re: certification of
                            counsel for preliminary injunction extension stipulation
                            (0.2); email correspondence with C. Tuffey re: preparing
                            notice of entry of fifth stipulation (0.2).

14 July 2021                Review and analyze case status and proposed course         E Rosenberg       2.60            2,769.00
                            of action in Schuhmann matter (1.3); email
                            correspondence with A. Rosenblatt re: notice of new
                            abuse actions from Archdiocese of New York (0.2);
                            initial review and analysis of actions (0.4); review



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                            scheduling order in Puccio action (0.1); prepare for call
                            in Williams action (0.2); attend call in Williams action
                            with S. Manning, M. Lowry, plaintiff's counsel, and
                            counsel for school district (0.4).

14 July 2021                Email correspondence with K. Murray, S. Manning, and         E Rosenberg       1.40            1,491.00
                            A. Bowron re: amended schedules (0.1); email
                            correspondence with K. Murray, S. Manning, and A.
                            Bowron re: new action for schedule 1 (0.1); review and
                            analyze motion for relief from stay and terms of consent
                            order (0.7); email correspondence with M. Linder re:
                            same (0.2); calls with plaintiff's counsel re: stay relief
                            motion (0.3).

14 July 2021                Compare complaints raised by external counsel against        A Bowron          1.90            1,387.00
                            previously filed Amended Schedules (0.6); summarize
                            status of complaints for E. Rosenberg (0.3); confer with
                            E. Rosenberg re: updating Schedules to Consent Order
                            (1.0).

15 July 2021                Further review and analysis of abuse actions involving       E Rosenberg       0.50                532.50
                            Archdiocese of New York (0.3); email correspondence
                            with A. Bowron re: same (0.2).

15 July 2021                Compare complaints raised by external counsel against        A Bowron          2.00            1,460.00
                            previously filed Amended Schedules (1.2); summarize
                            status of complaints for E. Rosenberg (0.2); confer with
                            E. Rosenberg re: updating Schedules to Consent Order
                            (0.6).

16 July 2021                Prepare for call with A. Rosenblatt re: actions against      E Rosenberg       2.00            2,130.00
                            Archdiocese of New York (0.9); attend same (0.3);
                            email correspondence with M. Lowry and S. Manning
                            re: stipulation resolving motion to strike in Williams
                            matter (0.1); review updates in Schuhmann action (0.4);
                            call with M. Anderson re: same (0.3).

16 July 2021                Confer with E. Rosenberg re: updating Schedules to           A Bowron          0.70                511.00
                            Consent Order (0.3); call with E. Rosenberg and A.
                            Rosenblatt re: additional complaints (0.4).

19 July 2021                Review and analyze additional action against                 E Rosenberg       2.80            2,982.00
                            Archdiocese of New York (0.4); review and revise
                            stipulation   in    Williams    matter   (1.8);   email
                            correspondence re: same with S. Manning and M.
                            Lowry (0.2); email correspondence re: same with M.
                            Linder and M. Andolina (0.1); review email
                            correspondence with M. Linder and P. Topper re: entry
                            of order on preliminary injunction extension stipulation
                            (0.1); check docket in Schuhmann action (0.2).

19 July 2021                Confer with E. Rosenberg re: updating Schedules to           A Bowron          0.50                365.00
                            Consent Order.

20 July 2021                Email correspondence with S. Veghte re: motion to            E Rosenberg       3.10            3,301.50
                            modify stay (0.2); further review and analysis of actions
                            against Archdiocese of New York (2.5); email
                            correspondence with A. Rosenblatt re: same (0.2);
                            email correspondence with S. Manning, K. Murray, and



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                            A. Bowron re: updating preliminary injunction consent
                            order schedules (0.2).

20 July 2021                Confer with E. Rosenberg re: updating Schedules to           A Bowron          0.40                292.00
                            Consent Order.

21 July 2021                Revise stipulation in Williams matter (0.5); email           E Rosenberg       1.40            1,491.00
                            correspondence with M. Linder and M. Andolina re:
                            same (0.1); email correspondence with A. Rosenblatt
                            re: additional action versus Archdiocese of New York
                            (0.1); update list of same (0.2); call with A. Rosenblatt
                            and J. Filiberti re: same (0.5).

21 July 2021                Update notice of entry re: fifth stipulation (1.9); email    E Rosenberg       3.00            3,195.00
                            correspondence with M. Linder and M. Andolina re:
                            same (0.2); email correspondence with S. Manning re:
                            same (0.2); email correspondence with S. Manning and
                            K. Murray re: stay relief motion (0.4); email
                            correspondence with S. Manning re: additional actions
                            for updated consent order schedules (0.3).

21 July 2021                Confer with E. Rosenberg re: updating Schedules to           A Bowron          0.50                365.00
                            Consent Order.

22 July 2021                Email correspondence with S. Manning re: stay relief         E Rosenberg       1.90            2,023.50
                            motion and Archdiocese of New York actions (0.2);
                            review email correspondence from S. Manning re:
                            Georgia statutory developments (0.1); further revisions
                            to Williams stipulation (0.4); email correspondence with
                            M. Linder and M. Andolina re: same (0.3); email
                            correspondence with M. Lowry and S. Manning re:
                            same (0.3); email correspondence with A. Vieira and M.
                            Alessi re: same (0.1); call with A. Vieira re: same (0.5).

22 July 2021                Confer with E. Rosenberg re: updating Schedules to           A Bowron          0.30                219.00
                            Consent Order.

23 July 2021                Email correspondence with S. Manning re: updating            E Rosenberg       0.20                213.00
                            preliminary injunction consent order schedules.

23 July 2021                Confer with E. Rosenberg re: updating Schedules to           A Bowron          0.50                365.00
                            Consent Order.

25 July 2021                Review email correspondence with M. Linder, M.               E Rosenberg       1.20            1,278.00
                            Andolina, and S. Manning re: counterclaims in J.D. v.
                            American Legion and Patriots Path Council (0.2);
                            review status of Schuhmann case (0.1); review and
                            analyze arguments re: stay relief motion (0.2); review
                            and analyze show cause order in Kelsey case (0.5);
                            email correspondence with S. Manning and M. Kenny
                            re: same (0.1); email correspondence with M. Linder
                            and M. Andolina re: same (0.1).

26 July 2021                Further revise stipulation in Williams action (0.5); email   E Rosenberg       1.50            1,597.50
                            correspondence with S. Manning re: same (0.3); email
                            correspondence with A. Vieira and M. Alessi re: same
                            (0.3); call with A. Hill re: same (0.1); email
                            correspondence with A. Hill and S. Manning re: same
                            (0.1); confirm filing of stipulation in Williams matter



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DATE                        DESCRIPTION                                                 TIMEKEEPER     HOURS                   USD

                            (0.2).

26 July 2021                Further investigate and analyze arguments re: Bobeck,       E Rosenberg       2.40            2,556.00
                            Driscoll, and Rein motion to modify the automatic stay
                            (1.7); call with S. Manning re: same (0.2); email
                            correspondence with P. Topper re: same (0.1); calls
                            with M. Kenny re: same (0.2); email correspondence
                            with M. Linder re: same (0.1); email correspondence
                            with S. Veghte re: same (0.1).

26 July 2021                Confer with E. Rosenberg, S. Manning, and K. Murray         A Bowron          0.40                292.00
                            re: updating Schedules to Consent Order.

27 July 2021                Review email correspondence with S. Manning re: Pfau        E Rosenberg       0.50                532.50
                            Cochran (0.1); review order granting extension of time
                            to file reply brief in Puccio (0.1); email correspondence
                            with S. Veghte re: withdrawal of lift stay motion (0.1);
                            email correspondence with P. Topper re: same (0.1);
                            email correspondence with A. Bowron re: updating
                            preliminary injunction consent order schedules (0.1).

27 July 2021                Confer with E. Rosenberg, S. Manning, and K. Murray         A Bowron          6.10            4,453.00
                            re: updating Schedules to Consent Order (0.5); review
                            changes to updated schedules (5.6).

28 July 2021                Review and analyze Archdiocese of Guam UCC                  E Rosenberg       5.30            5,644.50
                            standing motion (2.7); prepare summary for M. Linder
                            re: same (0.2); calls with M. Linder and L. Baccash re:
                            same (0.4); call with B. Batzel re: standing motion in
                            Archdiocese of Guam bankruptcy (0.3); call with R.
                            Boone re: same (0.5); call with S. Ludovici re: research
                            issues for same (0.9); email correspondence with B.
                            Batzel, K. Schultz, and S. Ludovici re: same (0.3).

28 July 2021                Review Guam stay motion (0.2); call with E Rosenberg        R Boone           0.60                627.00
                            re: Guam stay issue (0.4).

28 July 2021                Review research re: automatic stay (0.3); email to B.       S Ludovici        1.60            1,624.00
                            Batzel and K. Schultz re: AOA automatic stay research
                            (0.3); call with E. Rosenberg re: automatic stay
                            research (1.0).

28 July 2021                Confer with E. Rosenberg re: updating Schedules to          A Bowron          0.20                146.00
                            Consent Order.

28 July 2021                Review filings re: Archdiocese of Agaña (AOA) Guam          K Schultz         0.60                438.00
                            bankruptcy automatic stay issue.

29 July 2021                Review/analyze issues raised by standing motion in          E Rosenberg       2.40            2,556.00
                            Archdiocese of Guam bankruptcy (1.8); email
                            correspondence with B. Batzel, K. Schultz, and S.
                            Ludovici re: same (0.3); email correspondence with L.
                            Baccash re: same (0.1); email correspondence with A.
                            Rosenblatt re: actions against Archdiocese of New York
                            (0.2).

29 July 2021                Review research material re: AOA UCC motion (0.5);          S Ludovici        0.80                812.00
                            consolidate same into memo (0.2); email to B. Batzel



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                            and K. Schultz re: expanded research question (0.1).

29 July 2021                Research re: AOA UCC automatic stay issues (6.7);           K Schultz         7.60            5,548.00
                            draft email memos to E. Rosenberg and S. Ludovici re:
                            same (0.9).

30 July 2021                Email correspondence with S. Manning and M. Linder          E Rosenberg       2.30            2,449.50
                            re: Bobeck, Driscoll, and Rein matters (0.1); Guam
                            research call with S. Ludovici, B. Batzel, and K. Schultz
                            (0.4); call with K. Schultz re: supplemental research
                            (0.2); email correspondence with K. Schultz, B. Batzel,
                            and S. Ludovici re: same (0.2); review and analyze
                            research findings re: Archdiocese of Guam standing
                            motion (1.4).

30 July 2021                Email correspondence with A. Rosenblatt (0.1); call with    E Rosenberg       0.90                958.50
                            A. Rosenblatt re: Archdiocese of New York proof of
                            claim (0.2); email correspondence with F. Elsasser re:
                            Archdiocese of Guam bankruptcy (0.2); call with F.
                            Elsasser re: same (0.3); call with S. Manning re:
                            Bobeck, Driscoll, and Rein matters (0.1).

30 July 2021                Call with E. Rosenberg, B. Batzel, and K. Schultz re:       S Ludovici        0.80                812.00
                            Guam research (0.6); email to C. Tuffey, C. Do, and D.
                            Rivero re: filing in Guam (0.1); email to C. Do, C.
                            Tuffey, and D. Rivero assigning research re: Guam
                            bankruptcy (0.1).

30 July 2021                Confer with E. Rosenberg re: updating Schedules to          A Bowron          3.80            2,774.00
                            Consent Order (0.2); review changes to Amended
                            Schedules to the Consent Order (3.6).

30 July 2021                Call with E. Rosenberg, S. Ludovici, and B. Batzel re:      K Schultz         6.00            4,380.00
                            AOA UCC research (0.7); research and draft email
                            memos re: AOA UCC automatic stay issues (5.1); call
                            with E. Rosenberg re: same (0.2).

31 July 2021                Calls with P. Civille re: AOA UCC derivative standing       E Rosenberg       0.80                852.00
                            motion (0.5); email correspondence with P. Civille re:
                            same (0.1); email correspondence with A. Bowron re:
                            preliminary injunction consent order schedules (0.1);
                            email correspondence from F. Scwhindler re: request
                            for copies of filings (0.1).

SUBTOTAL: Automatic Stay                                                                                 75.70           69,594.50


Bar Date, Noticing and Claims Reconciliation Issues
1 July 2021                 Correspond with Catholic Mutual counsel re: abuse           B Warner          0.20                194.00
                            claims data questions.

1 July 2021                 Return claimant call re: case status inquiry.               C Tuffey          0.10                 63.50

2 July 2021                 Call with counsel to Catholic Mutual re: abuse claims       B Warner          0.40                388.00
                            (0.3); correspond with counsel to Catholic Mutual re:
                            abuse claims data questions (0.1).




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6 July 2021                 Correspond with Omni team, J. Celentino, and L.             B Warner         0.30                291.00
                            Baccash re: noticing questions.

8 July 2021                 Call with M. Linder and C. Walker re: non-abuse claims.     S Hershey        0.50                532.50

8 July 2021                 Call with M. Linder re: Catholic Mutual and other claims    B Warner         0.30                291.00
                            issues (0.2); correspond with C. Tuffey and K. Shipp
                            and advisor re: ShareFile access issues (0.1).

12 July 2021                Emails with G. Cicero and B. Warner re: certain indirect    M Linder         0.30                315.00
                            claims (0.1); telephone call with B. Warner re: potential
                            claim objections (0.2)..

12 July 2021                Correspond with Omni re: noticing request from TCC.         B Warner         0.10                 97.00

12 July 2021                Return claimant calls re: case status inquiries.            C Tuffey         0.50                317.50

13 July 2021                Emails with L. Baccash and B. Warner re: claims             M Linder         0.10                105.00
                            diligence.

13 July 2021                Correspond with counsel to TCJC re: claims information      B Warner         0.60                582.00
                            (0.1); videoconference with Bates White team, M.
                            Andolina, and C. Tuffey re: local council projects and
                            chartered organization data tasks and status (0.5).

14 July 2021                Call with D. Rifkin re: settlements (0.5); review and       C Walker         1.00            1,015.00
                            analyze settlement agreements (0.3); review and
                            analyze 9019 motions (0.2).

16 July 2021                Call with M. Linder re: non-abuse claim.                    S Hershey        0.70                745.50

16 July 2021                Multiple emails with Bates White and T. Axelrod re: law     B Warner         0.30                291.00
                            firm information requests.

17 July 2021                Review and revise letter to counsel re: non-abuse claim     S Hershey        0.90                958.50
                            discovery.

19 July 2021                Videoconference with J. Lauria, A. O'Neill, L. Baccash,     M Linder         0.40                420.00
                            M. Murray, and E. Farrell re: abuse claims analysis.

19 July 2021                Correspond with Bates White team re: Episcopal claims       B Warner         1.00                970.00
                            identification for chartered organizations work stream
                            and analysis (0.2); correspond with Bates White and
                            client re: Episcopal Church claims analysis (0.3);
                            analyze questions for Bates White re: Tranche 6 claims
                            analysis work (0.3); correspond with Coalition re: abuse
                            claims analysis factual question (0.1); correspond with
                            Bates White re: same (0.1).

20 July 2021                Review and comment on draft Nownes declaration.             M Linder         0.20                210.00

20 July 2021                Correspond with Bates White and client re: identification   B Warner         0.40                388.00
                            of Episcopal claims (0.3); correspond with M. Linder
                            and P. Topper re: unredacted letter client request (0.1).

20 July 2021                Research re: insurance POCs.                                C Tuffey         0.20                127.00



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21 July 2021                Analyze claims information and correspond with G.             B Warner         0.40                388.00
                            Gigante and E. McKeighan re: indirect abuse claims
                            analysis (0.2); call with L. Baccash re: indirect abuse
                            claims (0.1); correspond with E. McKeighan re: indirect
                            abuse claims review (0.1).

22 July 2021                Review and respond to questions from A&M on                   B Warner         0.90                873.00
                            scope/content of indirect abuse claims review (0.2);
                            follow-up correspondence with A&M team re: indirect
                            abuse claims review and analysis (0.2); call with E.
                            McKeighan, L. Baccash, and G. Gigante re: indirect
                            abuse claims review (0.5).

23 July 2021                Review withdrawal notice re: Ponil Ranch claim (0.1);         M Linder         0.20                210.00
                            emails with G. LeChevalier, E. Grim, and R. Hoyt re:
                            same (0.1).

23 July 2021                Correspond with Bates White and P. Topper re:                 B Warner         0.20                194.00
                            claimant research.

26 July 2021                Return claimant calls re: case status.                        C Tuffey         0.50                317.50

27 July 2021                Emails with Coalition and M. Linder re: abuse claims          B Warner         0.20                194.00
                            data.

28 July 2021                Draft email to TCJC counsel re: proof of claim                B Warner         2.40            2,328.00
                            information (0.4); analyze Bates White claims
                            spreadsheets re: Round 3 of roster review under
                            preliminary injunction stipulation (0.3); respond to
                            solicitation question from M. Murray (0.1); draft email for
                            internal review re: round 3 roster review notification to
                            TCC (0.3); videoconference with Bates White and W&C
                            team re: chartered organizations and claims updates
                            (0.5); correspond with TCC re: roster issues (0.1);
                            review draft email from Bates White re: Tranche 6 data
                            and respond on same (0.1); review spreadsheet and
                            correspond with M. Linder, L. Baccash, and A&M team
                            re: indirect abuse claims analysis/review (0.2);
                            correspond with M. Linder and L. Baccash re: abuse
                            claims requests/issues (0.1); analyze indirect claims
                            spreadsheet from A&M (0.1); correspond with PSZJ re:
                            roster and abuse claims data issues (0.2).

29 July 2021                Call with B. Warner and M. Linder re: indirect claim          L Baccash        1.50            1,575.00
                            issues (0.5); review data re: same in preparation for
                            objections and related plan treatment issues (1.0).

29 July 2021                Review and analyze claims re: contingent/indirect             B Warner         1.40            1,358.00
                            abuse claims review and objection analysis (0.3); call
                            with M. Linder and L. Baccash re: indirect abuse claims
                            tasks (0.8); correspond with PSZJ and Bates White re:
                            roster protocol claims list issues (0.1); correspond with
                            A&M team re: indirect abuse claims/claims analysis
                            follow-up (0.2).

30 July 2021                Video call with J. Lauria, M. Linder, D. Evans, and           L Baccash        0.60                630.00
                            others re: claims issues.

30 July 2021                Videoconference with Bates White team, J. Lauria (in          M Linder         0.60                630.00



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                            part), L. Baccash, B. Warner, and A. Azer re: claims
                            analysis.

30 July 2021                Attend Bates White call re: chartered organizations and    B Warner         1.00                970.00
                            other claims analysis tasks (0.4); research re:
                            outstanding chartered organization and claims
                            questions (0.3); correspond with Bates White on same
                            (0.3).

30 July 2021                Review B. Warner inquiry re: unredacted abuse letters      C Tuffey         0.40                254.00
                            and confer with D. Hirshorn re: same (0.1); review
                            database and n-drive for same (0.3).

SUBTOTAL: Bar Date, Noticing and Claims Reconciliation Issues                                          18.80           18,223.00


Case Administration
2 July 2021                 Update pleadings file (0.2); update case calendar (0.1).   D Hirshorn       0.30                 99.00

6 July 2021                 Update pleadings file (0.6); update case calendar (0.4).   D Hirshorn       1.00                330.00

7 July 2021                 Download unsealed letters (0.5); update pleadings file     D Hirshorn       0.80                264.00
                            (0.3).

8 July 2021                 Update pleadings       file   (0.2);   update   Datasite   D Hirshorn       0.40                132.00
                            permissions (0.2).

9 July 2021                 Update pleadings file (0.3); update case calendar (0.1);   D Hirshorn       0.50                165.00
                            email case calendar to W&C team (0.1).

11 July 2021                Emails with W&C team re: meetings and case                 B Warner         0.30                291.00
                            scheduling/timeline (0.2); correspond with M. Linder on
                            same (0.1).

12 July 2021                Update pleadings file (0.3); update case calendar (0.3);   D Hirshorn       1.00                330.00
                            update Datasite permissions (0.2); update PO
                            acknowledgments        file    (0.1);   update      PO
                            acknowledgments chart (0.1).

13 July 2021                Correspond with FCR professionals and W&C internal         B Warner         0.40                388.00
                            team re: data room/claims access (0.2); correspond
                            with chartered organization counsel/W&C team re: data
                            room (0.1); correspond with D. Hirshorn re: new case
                            dates/deadlines (0.1).

13 July 2021                Call with M. Andolina, B. Warner, and Bates White re:      C Tuffey         0.60                381.00
                            roster redaction progress and other case updates.

13 July 2021                Review and respond to e-mails with B. Warner and C.        D Hirshorn       0.50                165.00
                            Tuffey re: PO acknowledgments (0.1); update case
                            calendar (0.3); review and respond to e-mail from B.
                            Warner re: upcoming deposition dates and RSA
                            deadlines (0.1).

14 July 2021                Email case calendar.                                       D Hirshorn       0.10                 33.00




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16 July 2021                Update pleadings file (0.3); update case calendar (0.1).        D Hirshorn               0.40                132.00

19 July 2021                Review and comment on draft agenda for July 21                  B Warner                 0.30                291.00
                            omnibus hearing.

19 July 2021                Update pleadings file (0.2); update case calendar (0.1).        D Hirshorn               0.30                 99.00

20 July 2021                Monitor main and adversary docket activity (0.1);               D Hirshorn               0.30                 99.00
                            update pleadings file (0.2).

21 July 2021                Update pleadings file (0.7); update case calendar (0.5).        D Hirshorn               1.20                396.00

22 July 2021                Update Datasite permissions (0.1); update pleadings             D Hirshorn               0.50                165.00
                            file (0.2); update PO acknowledgments file (0.1); update
                            PO acknowledgments tracker (0.1).

23 July 2021                Update Datasite permissions (0.1); update PO                    D Hirshorn               1.00                330.00
                            acknowledgments file; update PO tracker (0.1); update
                            pleadings file (0.6); update case calendar (0.1);
                            circulate case calendar to J. Lauria, M. Andolina, L.
                            Baccash, B. Guzina, A. Hammond, A. O'Neil, S.
                            Hershey, and R. Tiedemann (0.1).

26 July 2021                Update pleadings file (0.3); review and respond to e-           D Hirshorn               0.50                165.00
                            mail from C. Binggeli re: new documents uploaded to
                            Datasite (0.2).

27 July 2021                Update Datasite permissions (0.1); update                PO     D Hirshorn               0.30                 99.00
                            acknowledgments     file     (0.1); update               PO
                            acknowledgments tracker (0.1).

29 July 2021                Update pleadings file (1.3); review and respond to e-           D Hirshorn               1.70                561.00
                            mail from D. Joachim re: Datasite (0.1); e-mails with B.
                            Linder and B. Warner re: Datasite invoices (0.2); e-
                            mails with R. Stobbie re: Datasite invoices (0.1).

30 July 2021                Review and analyze draft MOR filing (0.2); correspond           B Warner                 0.50                485.00
                            with C. Tuffey and Morris Nichols re: unredacted abuse
                            letters for client request (0.3).

SUBTOTAL: Case Administration                                                                                       12.90            5,400.00


Chapter 11 Plan Matters
1 July 2021                 Attend team call re: finalizing RSA and term sheet.             J Lauria (Boelter)       0.50                675.00

1 July 2021                 Phone conferences and emails             with D. Molton         M Andolina               4.00            5,200.00
                            (Coalition) and TCC counsel re:          RSA and Trust
                            Agreement (2.5); emails and phone        conferences with
                            BSA and Ad Hoc Committee of Local        Councils team re:
                            updates and strategy (1.5).

1 July 2021                 Review final RSA filing documents (0.5); make final             A O'Neill                1.50            1,950.00
                            edits to filing versions of plan exhibits (0.3); emails to M.
                            Linder and B. Warner re: same (0.1); draft email to
                            insurers on same (0.2); review emails re: deal and next



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                            steps, consider same (0.4).

1 July 2021                 Review changes to term sheet (0.2); emails re: same         A O'Neill         2.60            3,380.00
                            (0.1); multiple emails re: filing documents and insurer
                            litigation issues (0.2); review/comment on portions of
                            Disclosure Statement (2.1).

1 July 2021                 Extensive drafting and revisions to fourth amended plan     M Linder         15.40           16,170.00
                            (8.8); review and comment on disclosure statement,
                            solicitation procedures order and scheduling order (4.2);
                            review and revise term sheet and RSA (0.8); telephone
                            calls and emails with client, W&C team, B. Whittman,
                            Wachtell team, and Coalition, TCC, and FCR counsel
                            re: plan, disclosure statement and related filings (1.6).

1 July 2021                 Email correspondence with B. Warner and M. Jaoude           E Rosenberg       2.90            3,088.50
                            re: confirmation scheduling (0.2); review and analyze
                            revised timeline (0.4); prepare updated confirmation
                            discovery and pretrial deadlines (1.8); email
                            correspondence with B. Warner, L. Baccash, M.
                            Andolina, M. Linder, and J. Lauria re: same (0.3); email
                            correspondence with M. Jaoude re: revised proposed
                            confirmation scheduling order (0.2).

1 July 2021                 Review and finalize TDP for filing (0.3); correspond with   B Warner          3.50            3,395.00
                            D. Rivero re: signatures for RSA (0.1); call with W&C
                            team and Ad Hoc Committee of Local Councils
                            (Wachtell) re: RSA negotiations (0.5); review and revise
                            RSA approval motion, declarations in support, and
                            motion to shorten re: deal and timing updates (1.9); call
                            with Ad Hoc Committee of Local Councils (Wachtell)
                            and W&C team re: RSA terms (0.3); call with M. Linder
                            re: final revisions to RSA motion (0.1); review and
                            revise insert re: fourth amended plan (0.3).

1 July 2021                 Research bankruptcy hearing transcript for D. Rivero.       D Hirshorn        0.30                99.00

2 July 2021                 Multiple emails with Brown Rudnick, M. Linder and S.        A O'Neill         2.80            3,640.00
                            Hershey re: Trust Agreement filing issues (0.4);
                            footnote to caveat review (0.3); analyze strategic issues
                            re: same (0.3); emails with A. Hammond and team re:
                            TDP litigation issues (0.2); review additional changes to
                            Plan, consider same (0.5); emails with M. Linder and A.
                            Azer re: specific language about trust issues (0.2);
                            review draft Plan from M. Linder and changes thereto
                            (0.7); email M. Linder re: same (0.2).

2 July 2021                 Review plan modifications.                                  L Baccash         1.20            1,260.00

2 July 2021                 Extensive drafting, revisions, and review of fourth         M Linder         12.50           13,125.00
                            amended plan (7.5); review revised TDP and (0.7);
                            review revised trust agreement from plaintiff
                            representatives (0.4); review and analyze J. Lauria
                            comments to same (1.0); telephone calls and emails
                            with W&C team re: same (1.7); emails and telephone
                            calls with Coalition, TCC and FCR counsel re: same
                            (0.7); emails with P. Topper re: filings (0.5).

2 July 2021                 Prepare revised proposed confirmation scheduling            E Rosenberg       1.00            1,065.00



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                            order (0.8); email correspondence with M. Jaoude re:
                            same (0.2).

2 July 2021                 Pull case law cited in the motion to approve RSA for R.    D Hirshorn       0.50                165.00
                            Boone (0.4); e-mail R. Boone, L. Baccash and B.
                            Warner re: same (0.1).

3 July 2021                 Review discovery requests from insurers (1.0); phone       M Andolina       2.50            3,250.00
                            conference with litigation team re: deposition and
                            discovery requests and follow-up emails re: same (0.9);
                            email update to client re: RSA Motion and disclosure
                            statement motion and 7/6 hearing (0.6).

3 July 2021                 Consider materials for A. Hammond and send case law        A O'Neill        2.60            3,380.00
                            and other materials for preparation (0.3); call with A.
                            Hammond re: Trust Agreement (0.7); prepare for call
                            with Andy Hammond on TDP litigation issues (0.5);
                            review Trust Agreement, analysis re: same, and send
                            memo to M. Linder and S. Hershey re: same (0.8);
                            emails with S. Hershey re: Trust Agreement (0.1);
                            consider approach on timing and duration (0.2).

3 July 2021                 Further review of trust agreement draft (0.6); emails      M Linder         0.90                945.00
                            with A. O'Neill and S. Hershey re: same (0.2); emails
                            with S. Beville re: plan and disclosure statement drafts
                            (0.1).

3 July 2021                 Review and analyze federal case law re: privileged         D Rifkin         4.20            3,507.00
                            communications and materials.

4 July 2021                 Draft emails to insurer group re: RSA Motion               M Andolina       1.10            1,430.00
                            depositions (0.6); coordinate with BSA team re: same
                            (0.5).

5 July 2021                 Review response re: hearing date issues (0.3); consider    A O'Neill        0.70                910.00
                            TDP prep (0.2); emails re: litigation issues (0.2).

5 July 2021                 Telephone call with M. Andolina re: strategy for           M Linder         0.50                525.00
                            upcoming week.

6 July 2021                 Follow-up emails re: RSA and discovery (0.2); follow-up    A O'Neill        3.10            4,030.00
                            with T. Sandler re: analogous case plan and documents
                            and consider issues re: same (0.4); review changes to
                            RSA order (0.1); review memo and materials re: non-
                            settled insurance issues from T. Sandler and consider
                            strategy (1.2); emails with T. Sandler re: non-settled
                            insurance issues in plans (0.2); call re: non-settled
                            insurance issues (0.5); emails with A. Azer and A.
                            Hammond re: call and TDP (0.1); review emails re: next
                            steps/litigation issues, analysis re: same (0.4).

6 July 2021                 Call with M. Andolina, M. Linder, S. Hershey, G. Kurtz     L Baccash        3.00            3,150.00
                            and A. Hammond re: insurer litigation issues and
                            related matters (0.8); multiple calls with M. Linder re:
                            strategy for status conference and preparations related
                            thereto (2.0); call with B. Warner re: same (0.2).

6 July 2021                 Telephone call with M. Andolina, L. Baccash and W&C        M Linder         4.60            4,830.00



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                            litigation team re: status and next steps (1.0); telephone
                            calls with L. Baccash re: same (1.7); telephone call with
                            R. Brady re: same (0.3); telephone call with B.
                            Whittman in preparation for status conference (0.3);
                            videoconference with RSA parties re: same (0.6);
                            telephone call with J. Celentino re: RSA motion and
                            status conference (0.3); telephone calls with M.
                            Andolina re: same (0.4).

6 July 2021                 Call with White & Case, Pachulski, and Brown Rudnick         E Rosenberg       0.80                852.00
                            teams re: scheduling conference (0.7); review email
                            correspondence from M. Linder re: confirmation
                            schedule (0.1).

6 July 2021                 Emails with L. Baccash re: RSA motion (0.2); emails          R Boone          12.70           13,271.50
                            with D. Rivero re: RSA reply (0.3); review emails and
                            correspondence re: RSA motion (1.1); emails with K.
                            Burgess re: RSA reply (0.2); emails with K. Ferrier, T.
                            Sandler, and L. Baccash re: RSA reply (0.3); emails
                            with C. Tuffey re: RSA motion research (0.3); review
                            and revise summary of RSA arguments (1.4); research
                            re: RSA issues (3.3); revise research summary (0.4);
                            emails with K. Burgess re: further RSA related research
                            (0.2); review and revise research summary (0.2); emails
                            with C. Tuffey re: research (0.2); draft analysis and
                            arguments re: RSA reply (4.6).

6 July 2021                 Call with L. Baccash re: RSA motion standards and            B Warner          0.20                194.00
                            research.

6 July 2021                 Research re: TDPs and insurance treatment (2.6);             K Ferrier         4.10            3,423.50
                            review and comment on TDPs re: same (1.3);
                            correspond with W&C team re: same (0.2).

6 July 2021                 Research re: RSA issue (4.2); research re: (3.1);            L Mezei           8.50            6,205.00
                            research re: precedent case docket (1.2).

6 July 2021                 Call with R. Boone re: legal research for Restructuring      D Rivero          3.50            2,222.50
                            Support Agreement issue (0.1); legal research re: case
                            law on settlement agreements (0.8); legal research re:
                            court orders approving Restructuring Support
                            Agreements (2.1); draft analysis to R. Boone and K.
                            Burgess re: same (0.5).

7 July 2021                 Consider approach on TDP issues and RSA approval,            A O'Neill         1.20            1,560.00
                            cross-over of same (0.4); follow-up messages with M.
                            Linder about hearing and next steps (0.2); review
                            issues for status, consider allocation of Disclosure
                            Statement hearing issues (0.6).

7 July 2021                 Multiple calls with M. Linder re: plan and status            L Baccash         3.10            3,255.00
                            conference (0.7); call with A. Hammond re: plan
                            research issues (0.5); correspondence re: same with C.
                            Tuffey and R. Boone (0.1); multiple calls with M. Linder
                            re: status conference preparation (0.5); participate in
                            zoom hearing preparation with M. Linder (1.2);
                            correspondence with D. Abbott re: notice issues (0.1).

7 July 2021                 Correspondence with A. Hammond re: scheduling (0.1);         L Baccash         3.40            3,570.00



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                            review research related to RSA finding (0.6);
                            correspondence with M. Andolina, G. Kurtz, A.
                            Hammond, and M. Linder re: same (0.1); call with G.
                            Kurtz, M. Andolina, M. Linder, and others re: status
                            conference (0.6); call with S. Hershey re: same (0.1);
                            multiple calls with B. Warner re: timeline, status
                            conference and research issues related to RSA (0.5);
                            review     research        related     to   disclosure
                            statement/plan/privilege issues (1.4).

7 July 2021                 Email correspondence with M. Andolina and M. Linder          E Rosenberg       0.20                213.00
                            re: confirmation scheduling and related issues (0.1);
                            email correspondence with M. Jaoude re: same (0.1).

7 July 2021                 Emails with K. Ferrier and L. Baccash re: RSA issues         R Boone           5.90            6,165.50
                            (0.3); emails with K. Burgess re: RSA related research
                            (0.2); emails with K. Mezei re: RSA research (0.4);
                            research RSA related issue (1.4); draft analysis and
                            arguments re: RSA reply (3.6).

7 July 2021                 Research re: TDP distribution mechanisms (1.2);              K Ferrier         1.70            1,419.50
                            comment on TDPs re: same (0.5).

7 July 2021                 Legal research re: RSA issue (4.7); research re:             L Mezei           6.90            5,037.00
                            precedent chapter 11 case (2.2).

7 July 2021                 Review numerous correspondence with insurers re:             D Rivero          6.80            4,318.00
                            RSA and plan revisions (0.9); review and analyze
                            insurers' arguments re: plan matters and RSA (1.8);
                            draft analysis re: same to R. Boone, L. Baccash, B.
                            Warner, K. Burgess, and K. Ferrier (1.7); legal research
                            re: declaratory actions and contested matters (1.8);
                            draft analysis re: same for R. Boone (0.6).

8 July 2021                 Review motions re: same and other recent docket              A O'Neill         2.30            2,990.00
                            entries (1.2); review multiple emails re: litigation and
                            various responses to insurers, consider plan
                            confirmation issues (1.1).

8 July 2021                 Call with M. Linder, M. Andolina, M. Whittman and B.         L Baccash         2.10            2,205.00
                            Warner re: case strategy issues (0.6); multiple calls with
                            M. Linder re: same (0.5); review and revise timeline and
                            correspondence related thereto to J. Lauria and M.
                            Linder (0.3); review transcript re: status conference
                            (0.2); call with R. Boone, K. Ferrier, and D. Rivero re:
                            RSA reply (0.5).

8 July 2021                 Multiple calls with R. Boone re: research related to plan    L Baccash         5.00            5,250.00
                            issues (0.5); review research related to RSA (2.8); draft
                            outline re: RSA reply (1.2); call with M. Linder, R.
                            Boone, and B. Warner re: RSA reply (0.4); call with B.
                            Warner re: same (0.1).

8 July 2021                 Telephone call with W&C team re: RSA reply (0.5);            M Linder          3.40            3,570.00
                            videoconference with D. Molton, E. Goodman, R.
                            Mason, J. Celentino, M. Atkinson, A. Andrews, M.
                            Andolina, and B. Whittman re: chartered organization
                            issues (1.3); telephone calls with M. Andolina, L.
                            Baccash and B. Warner re: various strategic issues



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                            (0.7); telephone call with M. Andolina (in part), L.
                            Baccash, B. Whittman, and C. Binggeli re: same (0.7);
                            follow-up call with L. Baccash re: same (0.2).

8 July 2021                 Review and revise responses and objections per                S Hershey        10.10           10,756.50
                            comments from G. Kurtz and M. Andolina (3.1); review
                            and finalize responses for service (1.2); revise letter re:
                            mediation privilege per comments from G. Kurtz and M.
                            Andolina (2.4); calls with M. Andolina, A. Azer and G.
                            Kurtz re: responses and objections (1.1); call with
                            Client, M. Andolina and M. Linder re: discovery
                            questions (0.4); prepare document production (1.2);
                            correspond With M. Andolina and G. Kurtz re: discovery
                            schedule (0.7).

8 July 2021                 Review and analyze terms of plan and RSA in                   E Rosenberg       2.10            2,236.50
                            connection with inquiry from S. Manning (0.9); prepare
                            summary re: same (0.7); call with R. Boone re: same
                            (0.3); email correspondence with S. Manning re: same
                            (0.2).

8 July 2021                 Emails with K. Ferrier and L. Baccash re: RSA issues          R Boone           7.50            7,837.50
                            (0.3); emails with K. Burgess re: RSA related research
                            (0.2); emails with K. Mezei re: RSA research (0.4);
                            research RSA related issue (0.9); emails with D. Rivero,
                            K. Ferrier, and L. Baccash (0.4); review documents
                            related to RSA issues (0.9); call with L. Baccash and B.
                            Warner (0.4); draft and revise issues outline (0.4); call
                            with D. Rivero, L. Baccash, and K. Ferrier (0.3); emails
                            with K. Burgess, G. Solomon, and E. Herrara (0.2); call
                            with K. Burgess, G. Solomon, and E. Herrara re: RSA
                            research (0.4); draft analysis and arguments re: RSA
                            reply (2.7).

8 July 2021                 Legal research re: approval/enforcement of settlement         K Burgess         7.40            5,402.00
                            agreement (2.4); multiple calls with R. Boone re: same
                            (0.8); conference call with R. Boone, E. Herrera, and G.
                            Solomon re: same (0.5); various correspondence with
                            R. Boone, E. Herrera, and G. Solomon re: same (0.5);
                            legal research re: approval of creditor fees for RSA
                            reply (2.6); call with B. Warner re: same (0.2);
                            correspondence with B. Warner re: same (0.4).

8 July 2021                 Description: follow-up research re: RSA issue.                L Mezei           6.70            4,891.00

8 July 2021                 Review and analyze re: insurer settlement agreement           D Rivero          4.40            2,794.00
                            (0.9); draft analysis re: certain provisions to L. Baccash,
                            R. Boone, and K. Ferrier (0.5); emails with R. Boone re:
                            same (0.6); legal research re: adversary proceedings
                            issue (1.4); email re: contested matters and adversary
                            proceedings to L. Baccash, R. Boone, and K. Ferrier
                            (0.6); email L. Baccash re: RSA exhibits (0.4).

9 July 2021                 Consider RSA approach with regards to TDP related             A O'Neill         1.70            2,210.00
                            findings (0.5); review T. Sandler memo on analogous
                            case insurance and plan issues, further consider same
                            (0.7);    review      precedent    case      insurance
                            settlement/motion to approve and consider approach
                            (0.5).




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9 July 2021                 Review and revise RSA response outline (0.2); call with      L Baccash         4.70            4,935.00
                            M. Salzberg and M. Linder re: plan issues related to
                            chartered orgs (0.5); multiple calls with M. Linder re:
                            plan issues (0.5); review research re: plan issues form
                            D. Rivero (0.3); review research re: RSA related issues
                            (2.2); review and revise outline re: response to potential
                            objections (0.5); review research related to 1129 factors
                            in connection with confirmation issues (0.5).

9 July 2021                 Review and revise plan terms in response to comments         M Linder          1.20            1,260.00
                            from UCC (0.3); emails with K. Quinn and M. Wasson
                            re: same (0.1); telephone call with M. Salzberg and L.
                            Baccash re: Episcopal participation in mediation and
                            related questions (0.5); follow-up call with L. Baccash
                            re: chartered organization issues (0.3).

9 July 2021                 Draft discovery requests (2.7); draft email to G. Kurtz      S Hershey        10.10           10,756.50
                            and M. Andolina summarizing same (1.2); draft emails
                            to insurers re: schedule and mediation privilege (2.3);
                            call with insurers re: schedule (0.6); call with G. Kurtz
                            and M. Andolina re: schedule (0.4); call re: discovery
                            requests with A. Azer, G. Kurtz and M. Andolina (1.2);
                            review documents for production (1.7).

9 July 2021                 Review revised confirmation timeline (0.1); email            E Rosenberg       0.90                958.50
                            correspondence with L. Baccash re: same (0.1);
                            prepare new discovery and pretrial dates/deadlines
                            (0.7);.

9 July 2021                 Emails with L. Baccash re: RSA issues (0.4); research        R Boone           6.80            7,106.00
                            RSA related issue (2.3); draft RSA reply rider (4.1).

9 July 2021                 Legal research re: recent filings in precedent cases,        K Burgess         1.60            1,168.00
                            review and analyze filings, draft summaries re: same,
                            and circulate to J. Lauria, M. Linder, L. Baccash, R.
                            Boone, and team.

9 July 2021                 Email to L. Baccash re: mediation order, bar date order,     D Rivero          2.20            1,397.00
                            and protective order (0.3); email to L. Baccash re: plan
                            requirements and bad faith objections (0.4); legal
                            research re: precedent mass torts case and insurers'
                            arguments (1.1); draft analysis to L. Baccash re: same
                            (0.4).

10 July 2021                Review minutes and board presentations for production        S Hershey         3.30            3,514.50
                            (1.7); review and revise discovery requests (1.6).

10 July 2021                Research re: chartered organizations.                        L Mezei           3.70            2,701.00

11 July 2021                Emails re: trust agreement (0.2); consider open issues       A O'Neill         1.00            1,300.00
                            re: same and consider potential RSA related revisions
                            to plan documents (0.8).

11 July 2021                Review timeline issues related to confirmation (0.2);        L Baccash         1.00            1,050.00
                            review RSA issues and correspondence with J. Lauria
                            re: same (0.4); call with M. Linder re: same (0.4).

11 July 2021                Telephone call with L. Baccash re: RSA motion and            M Linder          0.90                945.00



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                            stipulation staying restricted assets adversary (0.4);
                            research re: RSA motion (0.5).

11 July 2021                Call with M. Andolina and M. Linder re: discovery (0.6);      S Hershey        5.90            6,283.50
                            email to A. Azer and M. Ernest re: discovery requests
                            (0.4); email to B. Warner re: same (0.1); correspond
                            with M. Jaoude re: production (0.3); draft letter re: board
                            materials (1.4); correspond With M. Linder and M.
                            Andolina re: same (0.9); review and redact board
                            minutes and presentations (1.2); review documents for
                            production (0.4); revise categorical privilege log (0.3);
                            draft outline for depositions (0.3).

12 July 2021                Attention to RSA issues and connection to TDP and             A O'Neill        0.90            1,170.00
                            related materials (0.5); emails re: trust agreement (0.1);
                            review draft of same (0.3).

12 July 2021                Multiple calls with M. Linder re: strategy (0.2); call with   L Baccash        3.20            3,360.00
                            B. Warner re: same (0.2); call with B. Warner re:
                            chartering organizations (0.2); review proofs of claim
                            related to same (0.3); call with R. Boone re: RSA issues
                            (0.2); call with M. Wasson, R. Ringer, M. Linder, and B.
                            Warner re: plan comments (0.3); review research re:
                            plan issues (1.8).

12 July 2021                Videoconference with Client, M. Andolina, L. Baccash,         M Linder         2.00            2,100.00
                            B. Warner, A. Azer, R. Mason and W. Sugden re:
                            chartered organization considerations and approach
                            (1.0); telephone call with E. Goodman re: certain plan
                            provisions (0.1); telephone calls with L. Baccash re:
                            same (0.4); telephone call with J. Celentino re: same
                            (0.2); telephone call with L. Baccash, B. Warner, K.
                            Ferrier, and M. Wasson re: plan comments (0.3).

12 July 2021                Call with Client and M. Andolina re: discovery issues         S Hershey       10.10           10,756.50
                            (0.3); review discovery requests (0.6); review board
                            minutes and presentations and make redactions (3.4);
                            correspond with M. Linder and M. Andolina re: same
                            (0.7); prepare document production (0.9); draft letter re:
                            production of materials (1.1); prepare categorical
                            privilege log (0.8); correspond with M. Jaoude and M.
                            Andolina re: same (0.4); corr. with M. Madron and E.
                            Martin re: preparation for depositions (0.4); review
                            interrogatories on BSA (0.4); prepare deposition outline
                            for witnesses (1.1).

12 July 2021                Emails with L. Baccash re: RSA issues (0.2); emails           R Boone          8.90            9,300.50
                            with K. Burgess, G. Solomon, and E. Herrara (0.2);
                            review research summaries (0.6); research RSA related
                            issue (1.7); draft RSA reply rider (6.2).

12 July 2021                Correspond with Latham re: RSA documents question             B Warner         0.40                388.00
                            (0.1); call with M. Wasson, M. Linder, L. Baccash and
                            K. Ferrier re: UCC plan comments (0.3).

12 July 2021                Draft RSA reply section re: approval of creditor fees         K Burgess        4.70            3,431.00
                            (4.5); correspondence with B. Warner re: same (0.2).

12 July 2021                Draft rider for RSA Objection Reply re: mediation (1.9);      D Rivero         2.20            1,397.00



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                            draft email to K. Ferrier re: same (0.3).

13 July 2021                Follow-up analysis re: plan claims issues and voting            A O'Neill        2.30            2,990.00
                            issues (0.7); meet with B. Warner re: plan claims issues
                            and voting issues (0.2); review and analysis of outline
                            for plan claims issues and voting issues (0.5); consider
                            open issues related to plan documents and indirect
                            claims (0.6); call with L. Baccash re: RSA issues and
                            strategy (0.3).

13 July 2021                Multiple calls with B. Warner re: RSA issues (0.7);             L Baccash        3.30            3,465.00
                            multiple calls with M. Linder re: plan and strategy (1.0);
                            call with K. Ferrier re: research related to plan/TDPs
                            (0.4); multiple calls with D. Kim re: research related to
                            plan (0.2); review TDP related to possible objections
                            (0.7); call with A. O’Neill re: TDP issues (0.3).

13 July 2021                Telephone call with C. Nelson re: restricted asset              M Linder         1.60            1,680.00
                            issues in connection with plan confirmation (0.2); confer
                            with B. Whittman re: same (0.3); emails with C. Binggeli
                            re: same (0.2); emails with L. Baccash, D. Kim, and J.
                            Thomas re: same (0.3); review and analyze client file
                            re: same (0.4); email to RSA parties re: revised plan
                            and disclosure statement documents (0.2).

13 July 2021                Review, consider and respond to B. Whittman email re:           M Linder         3.00            3,150.00
                            certain strategic matters and next steps re: same (0.8);
                            emails with M. Andolina and J. Celentino re: indirect
                            claim issues (0.2); telephone call with L. Baccash re:
                            same (0.3); telephone call with J. Lauria and L.
                            Baccash re: recent developments and strategy (0.8);
                            telephone calls with L. Baccash re: various matters,
                            pending deliverables and next steps (0.9).

13 July 2021                Meet with M. Andolina, E. Martin, Client, and R. Mosby          S Hershey        7.80            8,307.00
                            to prepare R. Mosby for deposition.

13 July 2021                Emails with D. Rivero RSA issue (0.7); emails with L.           R Boone          9.80           10,241.00
                            Baccash and K. Ferrier re: Insurer issues (0.5);
                            research RSA related issue (1.3); draft RSA reply rider
                            (7.3).

13 July 2021                Review and revise RSA draft reply (1.1); draft mediation        K Ferrier        4.20            3,507.00
                            rider (0.6); research re: indirect claims distribution (0.5);
                            draft rider re: same (0.7); research re: cramdown issues
                            (0.9); correspond with W&C team re: same (0.4).

13 July 2021                Revise RSA reply section re: approval of creditor fees          K Burgess        7.80            5,694.00
                            (3.3); legal research re: same (4.0); correspondence
                            with B. Warner re: same (0.5).

13 July 2021                Research re: TDP (3.8); team call re: same (0.4); legal         L Mezei          7.40            5,402.00
                            research re: same (3.2).

13 July 2021                Legal research re: RSA as patently unconfirmable (1.1);         D Kim            4.30            2,730.50
                            legal research re: restricted assets (3.2).

13 July 2021                Call with K. Ferrier re: RSA research issue (0.2); legal        D Rivero         6.80            4,318.00



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DATE                        DESCRIPTION                                                    TIMEKEEPER     HOURS                   USD

                            research re: contested matters under the Bankruptcy
                            Code (1.8); draft analysis re: same (1.6); email K.
                            Ferrier re: same (0.2); legal research for R. Boone re:
                            settlement agreement (1.1); draft analysis re: same
                            (0.3); email R. Boone re: same (0.1); correspondence
                            with R. Boone re: court hearing transcripts (0.1); review
                            and analyze prior bankruptcy court hearing transcript re:
                            settlements (0.8); draft analysis to R. Boone re: same
                            (0.6).

14 July 2021                Review memo re: Babcock & Wilcox and case law re:              A O'Neill         2.50            3,250.00
                            same (1.0); analysis of insurance neutrality issues and
                            related TDP issues for RSA and disclosure statement
                            hearing (1.3); review confirmation timeline and consider
                            same (0.2).

14 July 2021                Call with C. Bingeli, D. Kim, and J. Thomas re: plan           L Baccash         6.00            6,300.00
                            issues (0.4); review research related to RSA (0.8);
                            review and revise RSA order (0.2); call with B. Warner
                            on RSA order (0.1); call with J. Lauria, K. Ferrier, B.
                            Warner, and L. Mezei re: plan research issues (0.2);
                            multiple correspondence with R. Boone, K. Ferrier, and
                            B. Warner re: plan issues (0.3); review research re: plan
                            issues (3.4); call with J. Lauria re: plan issues (0.2);
                            multiple calls with K. Ferrier re: plan issues (0.4).

14 July 2021                Review email from E. Goodman re: term sheet (0.2);             M Linder          0.80                840.00
                            discuss same with M. Andolina (0.2); telephone call with
                            L. Baccash re: recent developments, pending
                            deliverables and next steps (0.4).

14 July 2021                Meet with R. Mosby and M. Andolina re: preparation for         S Hershey        16.50           17,572.50
                            deposition (9.8); prepare for B. Whittman deposition
                            (0.4); draft letter re: discovery dispute (4.2); prepare for
                            Mosby deposition (0.8); research re: privilege for
                            retained professionals (1.3).

14 July 2021                Call with L. Baccash (0.3); emails with D. Rivero and K.       R Boone           6.80            7,106.00
                            Ferrier (0.2); review initial deposition summary and
                            notes (0.7); draft and revise RSA reply rider (5.6).

14 July 2021                Draft RSA amendment.                                           B Warner          1.20            1,164.00

14 July 2021                Review insurer's letter (0.4); review case cited in letter     Sean Murray       4.20            3,864.00
                            for objections (0.5); pull and review cases underlying
                            decision (0.6); draft summary of case to C. Walker, S.
                            Hershey, and D. Rifkin (0.6); review other cases cited in
                            letter for context around objections (1.1); conduct
                            research into case law around speaking objections
                            (0.8); draft findings to S. Hershey (0.2).

14 July 2021                Review and revise RSA rider re: mediation (1.1);               K Ferrier         8.30            6,930.50
                            Review and revise RSA rider re: indirect claims (2.1);
                            Review and revise RSA rider re: settlement issues
                            (0.7); Review and revise RSA rider re: privilege (1.8);
                            Review and revise RSA rider re: distributions (1.5);
                            Research re: RSA objection precedent (0.2); draft
                            memo re: same (0.9).




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14 July 2021                Revise RSA reply section re: approval of creditor fees        K Burgess        7.20            5,256.00
                            (3.2); legal research re: same (2.0); correspondence
                            with B. Warner re: same (0.4); prepare binder for J.
                            Laura re: RSA motion and related documents (1.3);
                            correspondence with L. Baccash and R. Boone re:
                            same (0.3).

14 July 2021                Research re: TDP and precedent chapter 11 case (3.2);         L Mezei          6.40            4,672.00
                            team call re: same (0.3); call with K. Ferrier re: same
                            (0.8); research re: witness list (2.1).

14 July 2021                Legal research re: "patently unconfirmable" argument          D Kim            6.20            3,937.00
                            raised during RSA approval (1.5); call with L. Baccash,
                            J. Thomas, C. Binggeli, and R. Walsh re: restricted
                            assets (0.5); legal research re: restricted assets (4.2).

14 July 2021                Correspondence with R. Boone re: debtor's fiduciary           D Rivero         6.10            3,873.50
                            duties (0.2); legal research re: same (1.6); draft analysis
                            to R. Boone re: same (0.7); legal research for K. Ferrier
                            re: discovery and mediation issue (1.7); analyze case
                            law re: same (0.8); draft part of research analysis re:
                            same (1.1).

14 July 2021                Coordinate with Research Services to pull legal               D Hirshorn       0.40                132.00
                            authority cited in RSA Motion for R. Boone and K.
                            Burgess (0.1); review previous binders for WL cases
                            cited in RSA motion (0.2); e-mail cases to K. Burgess
                            and R. Boone (0.1).

15 July 2021                Call with J. Lauria re: indirect claims (0.1); follow-up      A O'Neill        1.80            2,340.00
                            emails with Ad Hoc Committee of Local Councils re:
                            same and next steps (0.2); emails re: term sheet and
                            review issues re: same and related emails (0.2); review
                            Whittman transcript (1.0); review TCC memo on FAQs
                            and related emails (0.3).

15 July 2021                Review indemnity issues and analyze same (0.5);               A O'Neill        2.00            2,600.00
                            multiple follow-up emails re: indirect approach (0.4);
                            emails re: indirect claims and next steps, consider same
                            (0.5); emails re: discovery issues and next steps re:
                            same and review materials from same (0.3); emails with
                            plaintiffs re: plan documents and consider changes to
                            disclosure statement (0.3).

15 July 2021                Call with D. Kim re: plan research issues related to          L Baccash        2.20            2,310.00
                            funds (0.2); review research related to indirect claims
                            and releases from C. Tuffey (1.0); review TDP issues
                            related to indirect claims (0.3); correspondence with A.
                            O’Neill and K. Ferrier re: same (0.1); review revised
                            Whittman declaration (0.3); review indirect proofs of
                            claim in connection with plan related issues (0.3).

15 July 2021                Prepare for call with debt finance team re: plan              M Linder         0.90                945.00
                            supplement documents (0.2); telephone call with W&C
                            debt finance and capital markets teams and B.
                            Whittman re: same (0.7).

15 July 2021                Prepare for and attend Mosby declaration (9.1); draft         S Hershey       11.10           11,821.50
                            letter re: follow-up discovery (0.6); draft letter response



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                            to insurer (1.4).

15 July 2021                Call with L. Baccash (0.4); draft and revise RSA reply         R Boone          6.10            6,374.50
                            rider (3.9); emails with D. Rivero re: RSA related
                            research (0.4); emails with K. Ferrier and L. Baccash
                            (0.2); review and revise RSA rider from K. Ferrier (1.1);
                            emails with L. Baccash (0.1).

15 July 2021                Call with L. Baccash, K. Ferrier and L. Mezei re: indirect     B Warner         0.20                194.00
                            abuse claims/Babcock research.

15 July 2021                Research re: indirect claims (1.1); comment on TDPs            K Ferrier        7.90            6,596.50
                            re: same (0.4); draft riders re: mediation, declaratory
                            judgment, and distributions (2.3); research re: same
                            (1.5); draft chart of precedent TDP issues (2.6).

15 July 2021                Revise RSA reply section re: approval of creditor fees         K Burgess        6.70            4,891.00
                            (1.8); legal research re: same (2.0); correspondence
                            with B. Warner re: same (0.4); review and revise RSA
                            reply section re: repudiation of agreement (0.6);
                            correspondence with R. Boone re: same (0.3); prepare
                            binder for J. Lauria re: RSA motion and related
                            documents (1.2); correspondence with R. Boone and D.
                            Hirshorn re: same (0.4).

15 July 2021                Team call re: TDP and the disclosure statement (0.3);          L Mezei          4.50            3,285.00
                            follow-up research re: TDP and RSA issue (4.2).

15 July 2021                Legal research re: restricted assets.                          D Kim            2.10            1,333.50

15 July 2021                Call with K. Ferrier re: mediation research issue (0.1);       D Rivero         4.70            2,984.50
                            legal research re: waiver of privilege (1.0); draft analysis
                            to K. Ferrier re: research findings (1.3); call with L.
                            Baccash and W&C team re: RSA research and riders
                            (0.3); correspondence with R. Boone re: court hearing
                            transcripts and the plan (0.1); research re: same (1.3);
                            draft analysis to R. Boone re: same (0.6).

15 July 2021                Legal research re: third party releases.                       C Tuffey         0.60                381.00

15 July 2021                Prepare indexes for RSA motion documents binder and            D Hirshorn       1.00                330.00
                            case law binder (0.9); e-mails with C. Canellas re: same
                            (0.1).

16 July 2021                Emails with Bates White re: certain sections and               A O'Neill        4.60            5,980.00
                            consider certain descriptions, call with Bates White re:
                            same (0.4); review/comment on Plan FAQ, summary re:
                            same and send revised draft to team (1.6); continue to
                            review deposition transcripts (1.1); emails re: Trust
                            Agreement (0.1); follow-up review of RSA/TDP re:
                            same (0.2); call with M. Linder, K. Ferrier and L.
                            Baccash re: approach and revisions to documents (0.4);
                            prepare for call with team re: indirects, review K. Ferrier
                            research memo on same and next steps (0.8).

16 July 2021                Call with M. Linder, K. Ferrier, and A. O’Neill re: TDP        L Baccash        7.50            7,875.00
                            issues (0.5); call with G. Cicero, D. Molton, M. Linder,
                            and B. Warner re: RSA issues (0.5); call with M. Linder



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DATE                        DESCRIPTION                                                   TIMEKEEPER    HOURS                  USD

                            re: RSA issues (0.5); review declaration from S.
                            Hershey re: Ownby (0.2); review and revise RSA order
                            (0.3); correspondence with J. Lauria re: same (0.1); call
                            with M. Salzburg, K. Anker, and M. Linder re: chartered
                            organization issues (0.3); review sections of reply brief
                            in preparation for RSA objections (2.0); review
                            deposition transcripts in preparation for reply to RSA
                            objections (0.9); review research re: potential RSA
                            objections (2.2).

16 July 2021                Telephone call with L. Baccash re: status of pending          M Linder         2.00            2,100.00
                            deliverables and next steps (0.6); emails with M.
                            Andolina re: joint litigation interest agreement (0.1);
                            telephone call with J. Lauria re: recent developments,
                            strategy and next steps (0.3); call with A. O'Neill, L.
                            Baccash, and K. Ferrier re: TDP and indirect claims
                            (0.5); telephone call with Brown Rudnick team re: RSA
                            issues (0.5).

16 July 2021                Email to J. Russell re: Delaware trust (0.1); call with A.    M Linder         3.00            3,150.00
                            Azer, M. Stoner, C. Green, and B. Warner re: plan
                            comments (0.5); telephone call with J. Lauria, L.
                            Baccash, and K. Ferrier re: plan precedent (0.4); review
                            and revise Coalition draft of RSA approval order (1.4);
                            consult precedent re: same (0.4); emails with L.
                            Baccash re: same (0.2).

16 July 2021                Correspond With M. Jaoude, T. Chen, and D. Ownby              S Hershey        3.60            3,834.00
                            re: document review (1.2); review documents (0.7);
                            draft declaration (0.8); draft responses to interrogatories
                            (0.9).

16 July 2021                Call with L. Baccash (0.3); emails with D. Rivero re:         R Boone          2.10            2,194.50
                            RSA related research (0.4); draft and revise RSA reply
                            (0.8); emails with L. Baccash (0.6).

16 July 2021                Correspond with K. Gluck re: confirmation timeline            B Warner         1.70            1,649.00
                            (0.1); call with L. Baccash and R. Boone re: Plan FAQs
                            from TCC/Coalition/FCR (0.7); review and comment on
                            plan FAQs (0.9).

16 July 2021                Research re: RSA and indemnification matters (2.1);           K Ferrier        5.00            4,175.00
                            draft summary re: same (0.4); research re: TDP
                            precedent (1.1); revise TDP re: same (0.3); research re:
                            distribution trust precedent (1.1).

16 July 2021                Draft settlement agreement re: non-abuse claims.              D Rifkin         1.20            1,002.00

16 July 2021                Revise RSA reply section re: approval of creditor fees        K Burgess        8.70            6,351.00
                            (3.0); correspondence with B. Warner re: same (0.2);
                            legal research re: fee reimbursement precedent cases
                            (5.2); correspondence with B. Warner re: same (0.3).

16 July 2021                Call re: TDP (0.4); legal research re: RSA issue and          L Mezei          9.70            7,081.00
                            TDP (4.1); research precedent re: expedited treatment
                            (2.1); research re: precedent of findings of facts (3.1).

16 July 2021                Legal research re: restricted assets.                         D Kim            4.30            2,730.50




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16 July 2021                Call with R. Boone re: RSA Reply and next steps (0.1);        D Rivero         7.90            5,016.50
                            analyze B. Whittman’s deposition in its entirety for RSA
                            Reply (1.7); draft analysis and summary re: B.
                            Whittman’s    deposition and insurer settlement
                            agreement (5.7); correspondence with K. Burgess re:
                            depositions (0.1); email R. Boone re: research findings
                            and analysis on B. Whitman’s deposition for the RSA
                            Reply (0.3).

17 July 2021                Review mark-up of indirect section of TDP (0.2); review       A O'Neill        1.20            1,560.00
                            updated K. Ferrier analysis re: indirect claims and
                            Imerys (0.3); analysis re: same and review transcripts
                            re: same (0.3); review email memos from Bates White
                            re: summary and analyze same (0.3), emails re: same
                            (0.1).

17 July 2021                Emails re: voting requirements and TDP, review memo           A O'Neill        1.30            1,690.00
                            re: third party releases (0.5); multiple emails with L.
                            Baccash re: same (0.4); review further B. Whittman
                            comments (0.1); emails re: same (0.1), consider
                            changes and revise/comments re: summary and send
                            revisions to group (0.2).

17 July 2021                Correspond With M. Jaoude re: document review (0.6);          S Hershey        3.60            3,834.00
                            review documents for review (0.9); draft letter re:
                            discovery dispute (0.7); draft responses to Propounding
                            Insurers' interrogatories (1.4).

17 July 2021                Research re: TDP precedent (1.8); revise TDP (0.5);           K Ferrier        2.70            2,254.50
                            correspond with W&C team re: same (0.4).

17 July 2021                Legal research re: settlement contract (3.2); research        D Kim            7.40            4,699.00
                            and analyze case law re: conditions subsequent (4.2).

17 July 2021                Analyze and review re: part of the transcript of the          D Rivero         3.10            1,968.50
                            client's deposition (1.8); draft analysis re: same for the
                            RSA Reply to R. Boone (1.3).

18 July 2021                Various emails with team members re: TDP revisions            A O'Neill        1.00            1,300.00
                            and Plan revisions (0.4); review documents re: same
                            (0.6).

18 July 2021                Multiple calls with M. Linder re: plan issues (0.7); call     L Baccash        3.30            3,465.00
                            with J. Thomas re: same (0.1); review and revise RSA
                            inserts for reply to objections (2.5).

18 July 2021                Telephone call with L. Baccash re: pending deliverables       M Linder         6.60            6,930.00
                            and next steps (0.7); telephone call with Client (in part),
                            J. Zirkman, J. Lauria, M. Andolina, B. Whittman, L.
                            Baccash, R. Mason, and J. Celentino re: chartered
                            organization issues (1.4); judgment reduction research
                            (0.5); review and analyze RSA parties' plan revisions
                            (1.1); revise plan (2.4); email to R. Mason and J.
                            Celentino re: same (0.5).

18 July 2021                Meeting with D. Ownby, Client, M. Andolina and E.             S Hershey        5.10            5,431.50
                            Martin re: preparation for deposition (3.4); research re:
                            privilege (0.6); correspond with M. Andolina re:
                            preparation points (0.4); correspond with M. Andolina



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                            re: responses to discovery (0.4); attend meet and
                            confer with insurer (0.2); summarize same (0.1).

18 July 2021                Review initial deposition summary (0.6); emails with D.        R Boone          1.10            1,149.50
                            Rivero (0.2); call with L. Baccash (0.3).

18 July 2021                Summarize precedent chapter 11 case issue.                     L Mezei          5.30            3,869.00

19 July 2021                Emails with J. Lauria and K. Ferrier re: TDP changes           A O'Neill        2.60            3,380.00
                            (0.1); analysis re: same (0.2); multiple emails re:
                            summary of Plan (0.3); review and comment re: same
                            (0.2); consider release issues and cram down issues
                            (0.2); continue to review deposition transcripts for
                            confirmation and Disclosure Statement, document
                            issues (0.6); review materials sent to Ad Hoc
                            Committee of Local Councils for further Plan/TDP
                            revisions (0.5); emails re: same (0.2); consider issues
                            re: same (0.3).

19 July 2021                Review updated drafts of documents and chartered               A O'Neill        3.00            3,900.00
                            organization documents (1.0); emails re: next steps with
                            same (0.3); review follow-up emails re: same (0.2); call
                            with Bates White, M. Linder, and J. Lauria re: chartered
                            organization claims and data (0.4); call with J. Lauria re:
                            chartered organization issues and next steps (0.2);
                            further analysis re: plan summary, proposed changes to
                            same (0.3); review additional revisions to chartered
                            organization summaries and consider TDP issues (0.3);
                            follow-up with Bates White and A. Azer re: chartered
                            organization issues (0.3).

19 July 2021                Call with B. Warner re: RSA research and reply (0.3);          L Baccash        4.50            4,725.00
                            call with R. Boone re: same (0.3); call with K. Ferrier re:
                            same (0.2); review research email memo from D. Kim
                            re: RSA issues (0.4); call with D. Kim re: same (0.2);
                            call with J. Ryan, R. Mason, E. Rice, J. Lauria, and M.
                            Linder re: chartered organization issues (0.7); call with
                            M. Linder and J. Russell re: DE statutory trust issues
                            (0.3); call with J. Thomas and M. Linder re: plan
                            research related to possible provisions for chartered
                            orgs (0.3); call with K. Gluck, B. Dharia, J. Michels, and
                            M. Linder re: BSA financial docs (0.3); call with K.
                            Ferrier and J. Lauria re: trust distribution procedures
                            (0.5); multiple calls with M. Linder re: plan related
                            strategy issues (0.8); call with J. Lauria re: plan related
                            issues (0.2).

19 July 2021                Telephone call with J. Russell re: DST agreement and           M Linder         3.40            3,570.00
                            mechanics (0.4); telephone call with L. Baccash, R.
                            Boone, A. Azer, and K. Quinn re: plan comments (0.2);
                            revise Coalition plan draft (1.6); emails with J. Lauria re:
                            same (0.2); telephone call with J. Lauria re: same (0.1);
                            review revisions to plan summary and FAQ (0.3);
                            telephone calls with L. Baccash re: plan issues and
                            related research (0.6).

19 July 2021                Telephone call with J. Lauria, L. Baccash, R. Mason, E.        M Linder         2.30            2,415.00
                            Rice, and J. Ryan re: Methodist participation issues
                            (0.8); telephone call with L. Baccash and J. Thomas re:
                            research issues (0.4); telephone call with W&C and



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                            NRF finance teams re: debt documents (0.4); follow-up
                            call with K. Gluck re: status and next steps (0.4); review
                            K. Gluck plan comments (0.2); emails with B. Whittman
                            re: same (0.1).

19 July 2021                Videoconference with J. Lauria, B. Whittman, and A.          M Linder         1.90            1,995.00
                            Azer re: strategic considerations (0.5); review and
                            comment on J. Lauria outline of revised chartered
                            organization treatment (0.5); telephone call with K.
                            Gluck re: plan issues and recent developments (0.3);
                            review research results re: certain plan provisions (0.2);
                            review current plan provision (0.2); emails with J. Lauria
                            re: same (0.2).

19 July 2021                Prepare for D. Ownby deposition (1.5); attend same           S Hershey        9.50           10,117.50
                            (8.0).

19 July 2021                Emails with D. Kim and L. Baccash (0.4); review              R Boone          6.00            6,270.00
                            research analysis re: RSA issue (0.6); emails with D.
                            Rivero re: RSA related research (0.2); call with L.
                            Baccash (0.6); revise research summary (0.7); call with
                            D. Kim (0.2); emails with L. Baccash (0.5); revise RSA
                            reply rider (2.8).

19 July 2021                Analyze analogous case pleadings re: BSA plan issues.        B Warner         0.20                194.00

19 July 2021                Research re: precedent TDPs (5.7); draft research            K Ferrier        9.60            8,016.00
                            summary and chart of same (2.6); revise RSA rider re:
                            distribution objections (0.3); telephone conference with
                            W&C team re: TDP (0.4); revise TDP re: same (0.6).

19 July 2021                Research re: TDP issue.                                      L Mezei          4.20            3,066.00

19 July 2021                Legal research re: Insurer settlement issues.                D Kim            3.70            2,349.50

19 July 2021                Analyze and review re: part of the transcript of the         D Rivero         5.00            3,175.00
                            client's deposition (2.6); draft analysis re: same for the
                            RSA Reply to R. Boone (0.9); call with G. Solomon re:
                            analysis on the client's deposition (0.2); email G.
                            Delgado re: B. Whitman’s deposition for the RSA Reply
                            (0.2); emails with B. Warner re: legal research for
                            chapter 11 precedent case for J. Lauria (0.1); legal
                            research re: chapter 11 precedent case for J. Lauria
                            (0.9); draft analysis to B. Warner and L. Baccash re:
                            same (0.1).

20 July 2021                Emails and phone conferences re: Chartered                   M Andolina       0.80            1,040.00
                            Organization plan treatment issues and follow-up
                            emails with BSA team re: same.

20 July 2021                Emails re: Plan summary and plan discovery issues            A O'Neill        2.00            2,600.00
                            (0.2); review K. Ferrier chart of TDP/Plan indirect claim
                            approaches and analyze same (0.6); emails re:
                            summary/FAQs (0.1); review and comment on same
                            (0.3); follow-up analysis of RSA issues/approach (0.2);
                            review revised chartered organization summary,
                            consider open items and release mechanics (0.2);
                            multiple follow-up emails with team re: indirect
                            treatment and next steps for same (0.4).



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20 July 2021                Call with L. Baccash, K. Ferrier, J. Lauria re: indirects      A O'Neill        2.20            2,860.00
                            and approach (0.4); emails with J. Lauria and team re:
                            indirect claims (0.3); review articles on treatment of
                            same (0.4); consider options (0.3); review revised
                            chartered organization summary re: same, and
                            comment and analysis re: same (0.3); review summary
                            of Chartered Organization options and negotiations
                            from M. Linder and consider issues in documents,
                            jurisdiction and tort system options (0.3); emails re:
                            chartered organization release and plan issues (0.2).

20 July 2021                Call with mediators re: same (0.2); multiple calls with K.     L Baccash        8.00            8,400.00
                            Ferrier re: TDP issues (1.0); call with J. Lauria re: same
                            (0.1); review potential TDP changes and precedent
                            (1.0); call with M. Linder re: same (0.3); call with A. Azer
                            re: same (0.1); call with A. O’Neill re: same (0.2); review
                            and revise insert re: Insurer (2.0); call with R. Boone re:
                            same (0.1); multiple calls with M. Linder re: plan related
                            issues (0.8); review and revise declarations in
                            connection with RSA (0.7); review research related to
                            potential RSA objections (1.5).

20 July 2021                Review research materials re: indirect claim treatment         M Linder         3.60            3,780.00
                            (0.4); review research re: judgment reduction (0.2);
                            emails with J. Lauria re: certain plan provisions (0.2);
                            telephone calls with L. Baccash re: judgment reduction
                            (0.5); telephone call with J. Lauria, A. O'Neill, L.
                            Baccash, K. Ferrier, and A. Azer re: TDP (0.5); review
                            and comment on revised chartered organization
                            proposal (0.4); emails with J. Lauria and A. O'Neill re:
                            same (0.1); videoconference with J. Lauria, L. Baccash,
                            B. Warner, A. Azer, B. Whittman, C. Binggeli, R.
                            Mason, J. Celentino, R. Brady, E. Harron, D. Molton, E.
                            Goodman, K. Quinn, and E. Grim re: various strategic
                            matters (1.3).

20 July 2021                Call with M. Andolina, J. Lauria, and G. Kurtz re:             S Hershey        7.60            8,094.00
                            discovery questions (0.6); draft response to Insurer
                            letter re: discovery dispute (2.3); draft discovery
                            responses (0.9); review and revise talking points for
                            hearing (1.2); review transcripts for confidentiality (0.9);
                            review research re: privileged materials (0.6); draft chart
                            re: board meetings (0.4); review and serve letter to
                            insurer (0.4); correspond with parties re: Kinney
                            deposition (0.3).

20 July 2021                Emails with L. Baccash (0.2); emails with D. Rivero            R Boone          4.60            4,807.00
                            (0.3); call with L. Baccash (0.3); revise deposition
                            summary related to RSA reply (0.7); revise research
                            summary (0.7); call with D. Kim (0.2); emails with L.
                            Baccash (0.5); revise RSA reply draft (1.7).

20 July 2021                Call with L. Baccash re: Plan FAQ and RSA reply tasks.         B Warner         0.10                97.00

20 July 2021                Correspond with L. Mezei and C. Tuffey re: precedent           K Ferrier       10.60            8,851.00
                            TDP (0.7); research re: same (3.1); review consolidated
                            research re: same (0.5); draft summary re: same (2.8);
                            revise TDP re: same (0.4); revise RSA objection riders
                            re: same (1.7); correspond with W&C team re: same
                            (0.8); telephone conference with L. Baccash re: TDP
                            changes (0.6).



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20 July 2021                Revise RSA reply section re: approval of creditor fees        K Burgess        3.80            2,774.00
                            (3.6); correspondence with B. Warner re: same (0.2).

20 July 2021                Research re: Plans and TDP (2.3); call re: same (0.4);        L Mezei          8.50            6,205.00
                            legal research re: same (3.4); call re: same with K.
                            Ferrier and C. Tuffey (0.7); legal research re: same for
                            K. Ferrier (1.7).

20 July 2021                Legal research re: follow up research on contract issues      D Kim            0.50                317.50
                            re: Insurer Settlement.

20 July 2021                Call with R. Boone re: analysis of client's deposition        D Rivero         8.40            5,334.00
                            (0.2); review B. Whitman’s deposition (0.9); revise
                            analysis of B. Whitman’s deposition (1.3); review re: D.
                            Ownby’ s deposition in part (1.8); draft analysis re:
                            same (0.9); emails with L. Baccash re: same (0.2);
                            emails with L. Baccash re: precedent chapter 11 case
                            insurance issue (0.1); legal research re: same (0.9);
                            draft analysis to L. Baccash re: same (0.7); email D.
                            Hirshorn re: depositions (0.1); review and revise re: D.
                            Hirshorn's work product re: deposition quotes (1.1);
                            email L. Baccash, R. Boone, B. Warner, and K. Burgess
                            re: deposition quotes for RSA Reply (0.2).

20 July 2021                Assist D. Rivero with pulling deposition quotes for           D Hirshorn       1.70                561.00
                            upcoming filing.

21 July 2021                Multiple emails with S. Hershey, M. Linder and Coalition      A O'Neill        2.60            3,380.00
                            re: trust agreement and other documents (0.2); consider
                            approach for same (0.1); call with Haynes Boone and J.
                            Lauria about Coalition brief (0.7); Zoom re: Plan issues
                            with Coalition, M. Linder, B. Warner, and S. Hersey
                            (0.7); emails re: Trust Agreement (0.1); review and
                            comment on same (0.3); review RSA reply outline (0.2);
                            review claims chart and follow-up and analyze options
                            (0.3).

21 July 2021                Follow-up call with A. Azer re: indemnity claims and          A O'Neill        2.70            3,510.00
                            same (0.2); meet with B. Warner re: RSA reply
                            approach and strategy (0.2); further consideration of
                            indirect issues (0.1); send email to group and reply to A.
                            Azer on comments (0.2); review Coalition draft brief in
                            support of RSA and analysis re: same (1.3); review
                            various additional comments to FAQ and summary and
                            comment re: same, emails re: same (0.3); review TCC
                            email re: Plan and suggested changes to same (0.2);
                            review revised indirect claims treatment and analysis re:
                            same (0.2).

21 July 2021                Call with M. Linder re: preparation for hearing (0.3); call   L Baccash        4.90            5,145.00
                            with T. Axelrod, E. Goodman, D. Molton, M. Linder, and
                            others re: plan related issues (1.5); call with M. Linder,
                            R. Mason, J. Lauria, and others re: chartered
                            organizations issues (0.5); call with J. Ryan, J. Lauria,
                            M. Linder, R. Mason, and others re: same (0.5); call
                            with A. Azer, A. O’Neill, M. Linder, and others re: reply
                            from proponent (0.5); call with K. Ferrier re: same (0.3);
                            multiple calls with M. Linder re: plan and related issues
                            (0.4); review and revise B. Whittman declaration in
                            connection with RSA (0.5); multiple calls with B. Warner



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                            re: fee section of brief (0.4).

21 July 2021                Telephone call with L. Baccash re: RSA matters (0.3);        M Linder          2.50            2,625.00
                            telephone call with S. Hershey re: same (0.1);
                            telephone call with non-abuse plaintiff counsel re:
                            deadline extension (0.1); emails with counsel re: same
                            (0.1); call with J. Lauria, M. Andolina, L. Baccash, R.
                            Mason, E. Rice, and J. Ryan re: strategic issues (1.0);
                            telephone call with A. O'Neill, L. Baccash, S. Hershey,
                            B. Warner, E. Goodman, and T. Axelrod re: plan and
                            trust agreement (0.7); emails with R. Mason re:
                            disclosure statement and plan summary (0.2).

21 July 2021                Call with Coalition re: plan documents (1.1); revise and     S Hershey         3.30            3,514.50
                            serve R&Os to interrogatories (0.8); review proposed
                            redactions to objections (0.7); revise redactions to
                            documents (0.7).

21 July 2021                Email correspondence with M. Andolina re common              E Rosenberg       0.10                106.50
                            interest agreement.

21 July 2021                Revise RSA reply rider.                                      R Boone           0.80                836.00

21 July 2021                Analyze case law re: insurance neutrality/plan issues        B Warner          1.60            1,552.00
                            re: research question (0.3); call with E. Goodman, T.
                            Axelrod, A. O'Neill, L. Baccash re: plan and trust
                            agreement changes (0.8); factual research and
                            correspondence with P. Topper and J. Lucas re: issues
                            being raised in third party claimant motion argument at
                            hearing (0.5).

21 July 2021                Review and comment indirect abuse claims (0.6);              K Ferrier         5.20            4,342.00
                            correspond with L. Baccash re: indirect abuse claims
                            (0.4); review and revise TDP (0.4); research re: TDP
                            issues (2.2); telephone conference with W&C team re:
                            TDP and indirect abuse claims (0.6); telephone
                            conference re: coalition reply (0.6); review same (0.4).

21 July 2021                Research re: TDP issue.                                      L Mezei           6.30            4,599.00

21 July 2021                Analyze deposition transcript re: insurance issue (1.4);     D Rivero          3.10            1,968.50
                            draft analysis to R. Boone re: same (0.9); review draft of
                            joinder in support of the RSA motion (0.8).

21 July 2021                Call with K. Ferrier re: RSA research (0.2).                 C Tuffey          0.20                127.00

22 July 2021                Multiple emails re: objections to RSA, begin review of       A O'Neill         6.30            8,190.00
                            certain objections and consider issues re: same (1.8);
                            multiple emails re: summary/FAQs, and review
                            comments to same and consider final issues re: same
                            (0.3); emails with S. Hershey re: Trust Agreement and
                            review/comment on same (0.2); review analysis of
                            Haynes Boone confirmation trial memo and review
                            certain cases re: same (2.4); review summary from K.
                            Ferrier on open RSA categories and comment on same
                            (0.2); emails on same (0.1); call with L. Baccash, K.
                            Ferrier, M. Linder, and B. Warner re: same and
                            preparation for objections, next steps (0.4); review TCC
                            revisions to Coalition joinder to RSA motion and



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                            consider issues related to confirmation/TDP (0.9).

22 July 2021                Review and comment on brief related to RSA (0.5);            L Baccash         7.10            7,455.00
                            review research re: same (0.5); call with A. O’Neill, M.
                            Linder, K. Ferrier, and B. Warner re: RSA brief (0.4);
                            call with M. Linder, S. Hershey, K. Ferrier, B. Warner,
                            and others re: reply strategy to RSA objections (0.3);
                            video call with A. Azer, E. Grim, and M. Linder re:
                            nonabuse claim issues related to plan (0.6); call with K.
                            Ferrier re: RSA issues (0.7); call with J. Lauria re: same
                            (0.1); multiple calls with M. Linder re: same (0.2); call
                            with B. Warner re: same (0.6); review and analyze
                            objections to RSA (3.2).

22 July 2021                Telephone calls with L. Baccash re: pending                  M Linder          9.60           10,080.00
                            deliverables and next steps (0.8); telephone calls with
                            W&C team re: reply to RSA objections (0.7); review and
                            analyze plan comments from TCC, Coalition, UCC and
                            JPM (2.5); revisions and annotations to plan in
                            response to same (5.4); email to RSA parties re: same
                            (0.2).

22 July 2021                Review and comment on revised abuse victim plan              M Linder          3.10            3,255.00
                            summary and FAQ (0.3); emails with D. Grassgreen re:
                            same (0.1); telephone call with A. O'Neill, L. Baccash,
                            B. Warner, and K. Ferrier re: RSA parties' joinder brief
                            (0.3); review and analyze RSA objections (1.6); emails
                            with J. Lauria, J. Reiss, G. Kurtz, A. Hammond, M.
                            Andolina, L. Baccash, and other W&C team members
                            re: same (0.8).

22 July 2021                Call with M. Andolina, G. Kurtz and A. Hammond re:           S Hershey         6.90            7,348.50
                            discovery disputes (0.6); draft and revise letter in
                            response to deficiency letter (2.9); draft email in
                            response to potential motion to compel (1.7);
                            correspond with M. Andolina re: deposition preparation
                            (0.7); correspond with M. Goldberg and A. Rolain re:
                            same (0.6); gather documents from D. Desai for review
                            (0.4).

22 July 2021                Emails with L. Baccash (0.2); call with L. Baccash (0.5);    R Boone          10.30           10,763.50
                            call with L. Baccash, M. Linder, B. Warner, K. Ferrier, K.
                            Burgess, and others re: RSA objections (0.2); review
                            RSA objections and draft summaries of same (5.5);
                            emails with B. Warner (0.4); research re: RSA
                            objections (2.8); emails with L. Baccash and B. Warner
                            (0.7).

22 July 2021                Call with L. Baccash, S. Hershey and team re: RSA            C Walker          4.00            4,060.00
                            objections (0.2); draft summary of RSA objections (1.7);
                            review and analyze RSA objections (2.1).

22 July 2021                Call with team to discuss incoming objections to RSA         Sean Murray       3.20            2,944.00
                            (0.3); review and summarize objections (2.9).

22 July 2021                Review RSA joinder re: reply (0.5); review case law re:      K Ferrier        10.80            9,018.00
                            same (0.9); draft comments re: same (0.6); review
                            subordination research (0.6); review case law re: same
                            (0.8); correspond with L. Mezei and L. Baccash re:
                            same (0.6); review RSA objections (3.4); draft summary



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                            re: same (1.3); review objection case law (2.1).

22 July 2021                Legal research re: lien avoidance defenses (4.6);              K Burgess       12.40            9,052.00
                            multiple calls with R. Boone re: same (0.8);
                            correspondence with R. Boone and L. Baccash re:
                            same (0.3); review and summarize objections to RSA
                            (5.0); correspondence with R. Boone, L. Baccash, and
                            B. Warner re: same (0.6); conference call with L.
                            Baccash, R. Boone, B. Warner. M. Linder, and team re:
                            same (0.3); coordinate binder preparation for J. Lauria
                            re: same (0.8).

22 July 2021                Continued research re: TDP issue.                              L Mezei          2.40            1,752.00

22 July 2021                Emails with M. Linder re: precedent chapter 11 case            D Rivero         9.30            5,905.50
                            (0.3); legal research re: same (1.3); draft analysis re:
                            same (0.3); call with L. Baccash and RSA Reply team
                            re: next steps (0.2); draft email re: RSA depositions
                            (0.2); review RSA objections filed (2.1); email with B.
                            Warner re: RSA objections (0.1); revise analysis re:
                            RSA depositions (1.0); email RSA Reply team re: same
                            (0.2); draft analysis to RSA Reply team re: U.S.
                            Trustee's objection (1.6); email L. Baccash re:
                            objections filed (0.1); email A. O'Neill re: same (0.1);
                            draft analysis to L. Baccash re: insurers' objection (0.4);
                            email S. Murray re: certain RSA objection (0.1); draft
                            analysis re: same (1.1); email B. Warner re: RSA
                            objections filed (0.2).

22 July 2021                Summarize objection to RSA motion (1.3); legal                 C Tuffey         2.90            1,841.50
                            research re: good faith re: RSA motion (1.6).

23 July 2021                Emails re: term sheet issues and consider same (0.2);          A O'Neill        5.30            6,890.00
                            review allocation of work assignments and consider
                            drafting reply (0.5); review objections to the RSA and
                            related summaries and analyses, consider same and
                            response to various arguments (4.0); emails with team
                            re: same (0.3); review plan revisions sent to Coalition
                            (0.3).

23 July 2021                Research and review of case law in connection with             J Green          8.40            9,408.00
                            reply in support of RSA motion (7.6); draft summaries
                            (0.8).

23 July 2021                Call with D. Rivero, R. Boone, and A. Azer re: RSA             L Baccash       14.90           15,645.00
                            reply (0.3); review and analyze objections to RSA (3.4);
                            draft sections of RSA reply (4.5); draft declaration for D.
                            Desai (2.0); review and revise chart related to same
                            (1.0); review research related to same (2.0); prepare
                            and participate in video conference with M. Linder, J.
                            Lauria, E. Goodman, J. Stang, and others re: RSA
                            objections (1.0); multiple calls with M. Linder, B.
                            Warner, K. Ferrier, and R. Boone re: same (0.7).

23 July 2021                Telephone call with L. Baccash re: reply brief (0.2);          M Linder         1.50            1,575.00
                            telephone calls with J. Lauria re: same (0.2); review and
                            analyze revised draft Whittman declaration in support of
                            reply (0.3); draft response to D. Molton email re: same
                            (0.3); review and comment on allocation of drafting
                            responsibilities for reply briefs (0.2); telephone call with



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                            J. Lauria re: same (0.1); telephone calls with L.
                            Baccash re: same (0.2).

23 July 2021                Review summary of objections (0.2); review and                 M Linder          2.60            2,730.00
                            comment on outline of reply (0.3); emails with RSA
                            parties re: allocation of reply responsibilities (0.2);
                            telephone call with RSA parties re: same (0.6); review
                            and revise draft Desai declaration (1.0); emails with J.
                            Lauria and L. Baccash re: same (0.3).

23 July 2021                Review and analyze judgment reduction precedent and            M Linder          6.40            6,720.00
                            case law (3.2); draft corresponding plan provision (2.3);
                            telephone call with J. Lucas re: liquidation analysis
                            (0.1); review and analyze case law re: liquidation
                            analysis issues (0.5); emails with L. Baccash and K.
                            Burgess re: same (0.3).

23 July 2021                Prepare for and attend J. Kinney deposition (6.1);             S Hershey        12.70           13,525.50
                            prepare for meet and confer (0.9); attend meet and
                            confer (0.3); call with team re: same (0.8); draft and
                            revise email response (0.8); draft email re: declaration
                            (0.2); review board presentations (0.7); draft objection
                            to motion to compel (2.9).

23 July 2021                Emails with L. Baccash, M. Linder, and B. Warner (0.2);        R Boone          13.50           14,107.50
                            revise reply outline (0.6); emails with D. Rivero (0.2);
                            call with D. Rivero (0.1); call with L. Baccash (0.5); draft
                            and revise issues list (0.4); call with L. Baccash, B.
                            Warner, and M. Linder (0.4); call with L. Baccash, M.
                            Linder, B. Warner, K. Ferrier, K. Burgess, and others re:
                            RSA objections (0.5); emails with K. Burgess (0.4);
                            emails with S. Murray (0.2); call with S. Murray (0.1);
                            call with L. Baccash (0.1); review objection errata
                            sheets (0.2); call with L. Baccash, K. Burgess, D.
                            Rivero, and others re: RSA objections (0.3); research
                            re: RSA objections (2.8); emails with D. Kim (0.2); call
                            with D. Kim (0.1); draft and revise RSA reply (6.2).

23 July 2021                Call with L. Baccash, B. Warner and team re: reply to          C Walker          5.70            5,785.50
                            RSA objections (0.3); review and analyze RSA
                            objections (1.2); research case law re: reply to RSA
                            objections (1.8); draft reply to RSA objections (2.4).

23 July 2021                Call with team to discuss additional tasks for responses       Sean Murray       6.10            5,612.00
                            to RSA objections (0.4); correspond with R. Boone re:
                            reviewing Insurer cited authority for procedural
                            argument (0.2); review and research background of
                            case law re: same (4.2); draft arguments in response to
                            RSA objections distinguishing Insurer's cited case law
                            (1.2); draft same to R. Boone (0.1).

23 July 2021                Review and revise RSA reply rider re: good faith (0.7);        K Ferrier         7.40            6,179.00
                            review and revise RSA rider re: sales (1.0); Review and
                            revise RSA rider re: indirect claims (3.1); review and
                            revise RSA rider re: distribution (0.5); review and revise
                            RSA rider re: jurisdiction (0.5); correspond with W&C
                            team re: same (1.6).

23 July 2021                Research and draft sections of RSA reply to objections         K Burgess        13.60            9,928.00
                            (10.3); various correspondence with L. Baccash, R.



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                            Boone, and B. Warner re: same (0.6); calls with R.
                            Boone re: same (0.5); legal research re: avoidance of
                            federal   agency    liens    and    defenses    (2.0);
                            correspondence with M. Linder re: same (0.2).

23 July 2021                Draft rider to RSA reply (2.0); research re: insurance       L Mezei          5.30            3,869.00
                            related issues for RSA (3.3).

23 July 2021                Draft rider re: "related to" jurisdiction for RSA Reply.     D Kim            4.80            3,048.00

23 July 2021                Emails with B. Warner re: declarations to the RSA            D Rivero        15.00            9,525.00
                            Motion (0.2); review certain insurer's RSA objection
                            (0.9); draft analysis to B. Warner re: same (0.7);
                            correspond with R. Boone re: RSA Reply exhibit (0.2);
                            email G. Delgado re: same (0.1); call with G. Delgado
                            re: same (0.2); review chartered organization's RSA
                            objection (0.9); draft analysis to B. Warner re: same
                            (0.4); email A. Azer re: RSA objection (0.2); legal
                            research re: TDP issues (1.3); draft analysis for RSA
                            Reply re: same (0.7); legal research re: TDP valuations
                            (1.6); draft analysis for RSA Reply re: same (0.9); legal
                            research re: settlement trustee (1.5); draft analysis for
                            RSA Reply re: same (1.2); legal research re: future
                            claims fund (1.2); draft analysis for RSA Reply re: same
                            (0.8); emails with G. Delgado re: revised RSA Reply
                            exhibit (0.1); revise RSA Reply exhibit (1.9).

23 July 2021                Call with K. Ferrier and L. Mezei re: RSA reply research     C Tuffey         6.90            4,381.50
                            and drafting (0.5); legal research re: good faith reply
                            and draft rider re: same (6.4).

23 July 2021                Coordinate with research services re: pulling cases          D Hirshorn       8.40            2,772.00
                            cited in objection to RSA motions (0.3); prepare
                            electronic binder of case law cited in objections to the
                            RSA motion (5.3); pull cases cited in joinder and brief in
                            support of RSA motion (1.2); prepare electronic binder
                            of cases in support (1.2); coordinate with C. Canellas
                            re: printing (0.4).

24 July 2021                Begin review of preliminary draft (0.6); consider issues     A O'Neill        2.20            2,860.00
                            in objections/analysis re: same (1.1); emails with R.
                            Boone re: reply and related issues (0.2); review
                            judgment reduction provision, consider same and TDP
                            issues (0.3).

24 July 2021                Research and review of case law in connection with           J Green          5.60            6,272.00
                            reply in support of RSA motion.

24 July 2021                Review and revise RSA reply, declarations (9.5); review      L Baccash       15.00           15,750.00
                            case law related thereto and research RSA objection
                            issues (5.5).

24 July 2021                Telephone call with L. Baccash, K. Ferrier, and A. Azer      M Linder         5.80            6,090.00
                            re: Knight objection (0.5); draft judgment reduction and
                            related plan provisions (1.7); telephone calls with L.
                            Baccash re: RSA reply (0.9); draft and revise Insurer
                            portion of same (2.0); review and comment on draft
                            Desai and Whittman declarations (0.7).




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24 July 2021                Draft objection to motion to compel (8.4); call with A.       S Hershey        10.50           11,182.50
                            Hammond and B. Martin re: redactions (0.9); implement
                            redactions (1.2).

24 July 2021                Emails with D. Kim and L. Mezei re: RSA (0.3); emails         R Boone          14.90           15,570.50
                            with L. Baccash and B. Warner re: RSA (0.6); call with
                            L. Baccash re: RSA (0.5); research re: RSA objections
                            (3.4); draft and revise RSA reply (9.1); call with L.
                            Baccash re: RSA (0.4); emails with L. Baccash, B.
                            Warner, and M. Linder re: RSA (0.6).

24 July 2021                Research and review case law re: RSA objections (4.6);        C Walker          6.90            7,003.50
                            revise arguments re: RSA objections (2.3).

24 July 2021                Correspond with S. Hershey and R. Telemi re:                  Sean Murray       2.00            1,840.00
                            response to Insurers' motion to compel (0.4); review
                            materials to be cited as exhibits to the response (0.7);
                            draft Declaration referencing exhibits (0.8); draft same
                            to S. Hershey and R. Telemi (0.1).

24 July 2021                Review and revise RSA rider re: good faith (1.4);             K Ferrier         8.60            7,181.00
                            Review and revise RSA rider re: sales (1.5); Review
                            and revise RSA rider re: indirect claims (2.6); Review
                            and revise RSA rider re: distribution (0.8); Review and
                            revise RSA rider re: jurisdiction (1.2); correspond with
                            W&C team re: same (1.1).

24 July 2021                Draft and revise sections of RSA reply to objections          K Burgess        10.10            7,373.00
                            (9.2); various correspondence with L. Baccash, R.
                            Boone, and B. Warner re: same (0.5); multiple calls with
                            B. Warner re: same (0.4).

24 July 2021                Research for RSA reply (2.0); analyze and revise RSA          L Mezei           6.20            4,526.00
                            reply (4.2).

24 July 2021                Legal research re: precedent mass tort cases and RSA          D Kim             7.00            4,445.00
                            agreements (3.8); legal research re: settlement
                            agreement (3.2).

24 July 2021                Revise and draft RSA Reply exhibit (6.4). emails with L.      D Rivero         10.50            6,667.50
                            Baccash re: revisions to exhibit (0.2); email L. Baccash
                            re: insurers' objection (0.2); emails with R. Boone re:
                            RSA Reply research (0.1); legal research re: contested
                            matters for RSA Reply (1.7); draft analysis to R. Boone
                            re: same (0.9); review rider to RSA Reply re: trust
                            distribution procedures (1.0).

24 July 2021                Call with L. Mezei and K. Ferrier re: review of RSA reply     C Tuffey          5.60            3,556.00
                            (0.5); review and revise RSA reply and research same
                            (5.1).

25 July 2021                Review draft reply (1.0); review Desai declaration (0.2);     A O'Neill         3.20            4,160.00
                            review coalition brief re: fee issues (0.3); emails with R.
                            Boone re: next steps for document and consider same
                            (0.2); numerous emails re: expedited review provision
                            and respond to same, analysis on approach (0.7);
                            review comments to same and replies and consider
                            issues on same (0.8).




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25 July 2021                Research and review of case law in connection with           J Green          10.80           12,096.00
                            reply in support of RSA motion (7.6); draft rider to reply
                            (1.5); review and edit riders to reply (1.7).

25 July 2021                Call with A. Azer, R. Boone, and others re: RSA (0.3);       L Baccash        13.40           14,070.00
                            review and revise RSA reply (9.3); call with M. Linder to
                            review reply to RSA (3.8).

25 July 2021                Telephone conferences with L. Baccash to review and          M Linder          5.20            5,460.00
                            revise omnibus reply to RSA objections (4.2); review
                            and comment on letter to chartered organizations re:
                            plan issues and mediation (0.8); emails with Client re:
                            same (0.2).

25 July 2021                Draft objection to motion to compel (11.8); call with M.     S Hershey        14.80           15,762.00
                            Andolina, G. Kurtz and A. Hammond re: case status
                            (0.4); correspond re: objection with G. Kurtz (0.2); draft
                            production letter (0.4); review documents for production
                            (1.3); attend Desai deposition preparation (0.4);
                            correspond with J. Thomas and M. Andolina re:
                            documents for same (0.3).

25 July 2021                Draft/revise common interest agreement.                      E Rosenberg       0.50                532.50

25 July 2021                Call with K. Burgess re: RSA reply (0.5); call with A.       R Boone          15.10           15,779.50
                            Azer, C. Green, L. Baccash, and others re: RSA reply
                            (0.6); call with L. Baccash and B. Warner re: RSA reply
                            (0.7); emails with L. Baccash, B. Warner, and M. Linder
                            re: RSA reply (0.3); call with L. Baccash re: RSA reply
                            (0.4); draft and revise RSA reply (12.6).

25 July 2021                Draft summary of board meeting minutes (2.4); redact         C Walker          4.20            4,263.00
                            meeting minutes (0.9); edit response to RSA objections
                            (0.9).

25 July 2021                Correspond with J. Thomas re: reviewing BSA National         Sean Murray       7.90            7,268.00
                            Executive Board, National Executive Committee, and
                            Bankruptcy Task Force board minutes and providing
                            summary chart (0.3); review Bankruptcy Task Force &
                            National Executive Committee board minutes and
                            summarize in chart (6.9); implement summaries from L.
                            Mezei and C. Walker (0.6); draft to J. Thomas (0.1).

25 July 2021                Review and revise RSA rider re: distributions (1.1);         K Ferrier         4.10            3,423.50
                            review case law re: same (2.1); correspond with A.
                            O'Neal and L. Baccash re: same (0.5); correspond with
                            T. Sandler re: same (0.4).

25 July 2021                Review and revise RSA reply to objections (7.2);             K Burgess         7.70            5,621.00
                            various correspondence with R. Boone, B. Warner, D.
                            Rivero, and C. Tuffey re: same (0.5).

25 July 2021                Analyze and revise re: RSA reply (3.7); summarize            L Mezei           7.10            5,183.00
                            board meetings re: RSA reply (3.4).

25 July 2021                Review reply to Insurer's objection and revise.              D Kim             5.50            3,492.50

25 July 2021                Revise and review RSA Reply (5.2); correspond with C.        D Rivero          7.90            5,016.50



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                            Tuffey and K. Burgess re: revisions to RSA Reply (0.1);
                            correspond with R. Boone re: insurance issue for RSA
                            Reply (0.1); legal research re: same (2.3); draft analysis
                            re: same to R. Boone and L. Baccash (0.2).

25 July 2021                Review and revise RSA reply re: substantive and form          C Tuffey         6.90            4,381.50
                            cite checking, defined terms, and proof-reading.

26 July 2021                Emails re: RSA revisions/next steps (0.1); review             A O'Neill        5.00            6,500.00
                            coalition reply brief, and analysis re: same (1.0); emails
                            with team re: same (0.2); review RSA changes (0.2);
                            review certain objections re: RSA (0.3); emails with
                            team about comments and follow-up with additional
                            analysis and direction (0.5); review and comment on
                            RSA reply, review documents and cases re: same (1.6);
                            review updated version of reply (1.1).

26 July 2021                Emails re: chartered organizations data/approach (0.1);       A O'Neill        2.00            2,600.00
                            consider same from Bates White (0.1); compare
                            provisions of Coalition joinder and brief (0.2); consider
                            confirmation approach (0.2); review updated draft of
                            reply from B. Warner and provide further comments
                            (0.9); emails re: trust agreement and next steps (0.1);
                            review same (0.1); review and comment on additional
                            sections of RSA reply (0.3).

26 July 2021                Research and review of case law in connection with            J Green          5.40            6,048.00
                            reply in support of RSA motion (4.2); review and edit
                            riders to reply (1.2).

26 July 2021                Review brief related to RSA from proponents (1.0);            L Baccash        7.50            7,875.00
                            review and revise RSA brief (4.5); review and revise
                            chart related to same (1.0); review and revise motion
                            related to page limit (0.2); multiple calls with B. Warner
                            re: same (0.3); multiple calls with M. Linder re: same
                            (0.3); multiple calls with R. Boone re: same (0.2).

26 July 2021                Telephone call with J. Lauria, L. Baccash, B. Warner, R.      M Linder         6.50            6,825.00
                            Mason and Catholic Mutual counsel re: mediation, plan
                            issues and next steps (1.3); telephone call with J.
                            Lauria re: recent developments and next steps (0.1);
                            telephone calls with L. Baccash re: RSA reply filings
                            (0.4); extensive email communications with W&C
                            restructuring and litigation teams, Haynes Boone team,
                            MNAT team and B. Whittman re: same (1.3); telephone
                            calls with M. Andolina re: same (0.2); review, revise and
                            finalize reply brief, Desai and Whittman declarations
                            and related filings (2.5); review and revise trust
                            agreement for filing (0.5); emails with RSA parties re:
                            same (0.2).

26 July 2021                Draft and revise letter to Court (2.7); revise and finalize   S Hershey       10.90           11,608.50
                            objection to motion to compel (4.1); correspond with A.
                            Hammond and M. Andolina re: preparation for RSA
                            hearing (0.9); correspond with M. Jaoude and J.
                            Thomas re: document review (0.2); draft email re:
                            discovery dispute (1.4); draft R&O to request for
                            production (0.4); review Insurer motion to strike (0.2);
                            review notebook (0.3); draft objection to motion to strike
                            (0.7).



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26 July 2021                Call with L. Baccash re: RSA reply (0.3); emails with L.      R Boone           7.60            7,942.00
                            Baccash and B. Warner re: same (0.3); emails with K.
                            Burgess re: same (0.3); emails with L. Baccash re:
                            same (0.2); emails with A O’Neill, L. Baccash, T.
                            Sandler, and K. Ferrier re: same (0.7); call with K.
                            Burgess (0.1); draft and revise chart to RSA Reply
                            (1.3); draft and revise RSA reply (4.4).

26 July 2021                Review and analyze reply brief.                               C Walker          0.80                812.00

26 July 2021                Correspond with A. Hammond re: witness prep for D.            Sean Murray       1.90            1,748.00
                            Ownby (0.1); correspond with R. Tiedemann re: same
                            (0.4); review D. Ownby direct outline and deposition
                            transcript re: same (1.4).

26 July 2021                Review distribution objections (0.6); correspond with A.      K Ferrier         0.90                751.50
                            O'Neill re: same (0.3).

26 July 2021                Review RSA reply and prepare                exhibits (5.7);   K Burgess         8.20            5,986.00
                            correspondence with R. Boone and D.        Rivero re: same
                            (0.4); review depositions in relation to   RSA reply cites
                            (0.8); correspondence with R. Boone        re: same (0.3);
                            coordinate and prepare binder for J.       Lauria re: RSA
                            reply filings (1.0).

26 July 2021                Revise and analyze section re: RSA reply.                     L Mezei           3.40            2,482.00

26 July 2021                Summarize cases cited in RSA Reply.                           D Kim             4.70            2,984.50

26 July 2021                Revise and review exhibit to the RSA Reply (5.8);             D Rivero          7.70            4,889.50
                            correspond with K. Burgess re: RSA Reply exhibit (0.1);
                            emails with L. Baccash, R. Boone, and B. Warner re:
                            same (0.2); revise RSA Reply (0.3); email B. Warner re:
                            RSA Reply changes (0.1); revise RSA exhibit based on
                            B. Warner's comments (0.8); review re: RSA objection
                            joinders filed (0.2); revise exhibit to RSA Reply re: same
                            (0.2).

26 July 2021                Review and revise RSA reply.                                  C Tuffey          1.40                889.00

26 July 2021                Coordinate with Research Services to pull legal               D Hirshorn        0.30                 99.00
                            authority from Debtors' RSA Reply and Omnibus
                            Objection to Motion to Compel.

27 July 2021                Review proposed RSA amendment and emails re:                  A O'Neill         1.90            2,470.00
                            same, consider next steps (0.3); call with Ad Hoc
                            Committee of Local Councils re: next steps (0.6);
                            consider strategic options re: RSA (0.2); attend call with
                            RSA parties re: RSA extension (0.2); call re: same with
                            Ad Hoc Committee of Local Councils, J. Lauria, M.
                            Linder, and A. Azer (0.4); multiple emails re: RSA
                            amendment and treatment (0.2).

27 July 2021                Review emails re: chartered organization issues and           A O'Neill         2.90            3,770.00
                            consider same (0.2); emails re: discovery and
                            emergency hearing (0.1); review materials re: same
                            (0.2); review filed pleadings for RSA hearing (2.1);
                            emails re: Bates White meetings (0.1); prepare for



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                            chartered organization meeting, consider same (0.2).

27 July 2021                Research and review of case law in support of RSA              J Green           5.20            5,824.00
                            motion (2.8); draft outline of argument for hearing re:
                            RSA motion (2.4).

27 July 2021                Multiple calls with M. Linder re: RSA issues (0.6);            L Baccash         4.30            4,515.00
                            multiple calls with B. Warner re: same (0.4); call with E.
                            Goodman, D. Molton, J. Stang, M. Linder, J. Lauria, and
                            others re: strategy (0.2); correspondence with J. Lauria
                            re: RSA (0.1); correspondence with R. Boone, B.
                            Warner, D. Rivero, and others re: preparations for
                            hearing on RSA (0.2); outline arguments for same for
                            hearing prep for J. Lauria (2.8).

27 July 2021                Telephone calls with J. Lauria re: RSA hearing issues          M Linder          2.40            2,520.00
                            (0.3); telephone calls with L. Baccash re: same (0.4);
                            videoconference with J. Lauria, M. Andolina, L.
                            Baccash, A. Azer, and RSA party representatives re:
                            strategic issues and RSA terms (0.3); telephone call
                            with A. Azer re: same (0.2); follow-up call with A. Azer
                            and J. Celentino re: same (0.5); review and revise draft
                            amendment to RSA (0.6); emails with Ad Hoc
                            Committee counsel re: same (0.1).

27 July 2021                Correspond with M. Andolina, G. Kurtz and J. Lauria re:        S Hershey         9.20            9,798.00
                            preparation for hearing (1.4); review documents for
                            production (3.6); draft objection to motion to strike (2.2);
                            draft email to team re: next steps (1.2); prepare
                            information for hearing (0.8).

27 July 2021                Draft summary of case law related to RSA objections            C Walker          5.20            5,278.00
                            (5.1); confer with S. Murray re: same (0.1).

27 July 2021                Post-hearing call with W&C team re: next steps (0.5);          B Warner          2.30            2,231.00
                            call with Ad Hoc Committee of Local Councils, W&C
                            team, Haynes & Boone and Morris Nichols re: strategy
                            and next steps (0.8); draft updated timeline for W&C
                            team (0.4); research re: plan/RSA question for J. Lauria
                            (0.2); call with L. Baccash re: disclosure statement and
                            confirmation hearing timeline changes (0.3); review
                            RSA amendment re: Ad Hoc Committee of Local
                            Councils discussions (0.1).

27 July 2021                Review D. Ownby deposition transcript (2.4);                   Sean Murray       6.70            6,164.00
                            correspond with R. Tiedemann re: D. Ownby witness
                            preparation (0.2); correspond with J. Thomas re: same
                            (0.3); draft issues list re: same (0.8); supplement D.
                            Ownby direct outline (0.7); review and provide case
                            summaries for cases cited in RSA objection response
                            (2.3).

27 July 2021                Summarize all cited cases re: business judgment (2.5);         K Ferrier         2.90            2,421.50
                            correspond with L. Baccash re: same (0.4).

27 July 2021                Review and summarize RSA cited cases for hearing               K Burgess         8.00            5,840.00
                            preparation (7.6); correspondence with L. Baccash, B.
                            Warner, and D. Rivero re: same (0.4).




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27 July 2021                Summarize cases re: preparation for hearing.                L Mezei           7.40            5,402.00

27 July 2021                Summarize case law cited in objection reply.                D Kim             5.40            3,429.00

27 July 2021                Review recent joinders to RSA objections (0.7); draft       D Rivero          6.40            4,064.00
                            analysis re: same to L. Baccash and R. Boone (0.6);
                            correspond with K. Burgess and G. Delgado re: hearing
                            preparation for J. Lauria (0.2); legal research re: same
                            (1.9); review case law cited in RSA objections (1.8);
                            draft analysis in part re: same (1.2).

27 July 2021                Summarize cases cited in RSA reply.                         C Tuffey          2.70            1,714.50

28 July 2021                Email re: mediation (1.0); comments re: Bates White's       A O'Neill         2.50            3,250.00
                            analysis and consider needs re: Disclosure Statement
                            and confirmation (0.5); review chartered organization
                            materials and emails re: same (0.2); call with Bates
                            White and J. Lauria, M. Linder re: chartered
                            organization issues (0.5); review materials from Ad Hoc
                            Committee of Local Councils on RSA amendment and
                            multiple related emails (0.3).

28 July 2021                Research re: case law in support of objection to motion     J Green           3.70            4,144.00
                            to strike (1.5); research re: case law in connection with
                            RSA motion (2.2).

28 July 2021                Correspondence with B. Warner re: timeline (0.1);           L Baccash         1.30            1,365.00
                            multiple calls with M. Linder re: status of case (1.2).

28 July 2021                Telephone call with J. Lauria, L. Baccash and B.            M Linder          1.80            1,890.00
                            Warner re: pending deliverables, timing and next steps
                            (0.6); telephone calls with L. Baccash re: disclosure
                            statement and RSA issues (0.5); telephone call with R.
                            Ringer re: recent developments and next steps (0.3);
                            telephone call with B. Whittman and C. Binggeli re:
                            pension study (0.2); follow-up call with J. Lauria re:
                            same (0.2).

28 July 2021                Telephone call with J. Russell re: DST documents (0.1);     M Linder          1.90            1,995.00
                            telephone call with L. Baccash re: plan and disclosure
                            statement matters (0.3); emails with client and RSA
                            parties re: amendment and joinders (0.2); emails with
                            MNAT team re: notice of same (0.1); telephone call with
                            Ad Hoc Committee re: RSA matters (0.4); revise notice
                            of amended RSA filings and prepare same for filing in
                            conjunction with MNAT team (0.8).

28 July 2021                Draft and revise objection to motion to strike per          S Hershey        12.50           13,312.50
                            comments from G. Kurtz and M. Andolina (4.2);
                            research privilege issues for same (2.8); call with M.
                            Jaoude and J. Thomas re: document production (1.2);
                            call with G. Kurtz and B. Martin re: redactions (0.9);
                            implement redactions to documents (0.7); correspond
                            with J. Lauria and M. Andolina re: next steps for hearing
                            (0.8); review documents for production (1.1); draft
                            proposed schedule (0.8).

28 July 2021                Review/revise common interest agreement.                    E Rosenberg       0.30                319.50




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28 July 2021                Call with J. Lauria, M. Linder and L. Baccash re: case       B Warner         0.70                679.00
                            and hearing updates and strategy (0.6); analyze
                            Coalition joinders and RSA signatures re: changes for
                            disclosure statement and other documents (0.1).

28 July 2021                Telephone calls with A. Hammond re: hearing                  J Thomas         6.10            5,612.00
                            preparation (0.4); telephone call with document review
                            team (0.5); analysis of R. Mosby materials re: relevant
                            information, redactions re: same (2.0); analysis of D.
                            Desai materials re: relevant information, redactions re:
                            same (2.0); review of board materials (1.2).

28 July 2021                Review and summarize RSA cited cases for hearing             K Burgess        3.10            2,263.00
                            preparation (2.8); correspondence with L. Baccash and
                            D. Rivero re: same (0.3).

28 July 2021                Research re: RSA issue.                                      L Mezei          4.60            3,358.00

28 July 2021                Legal research re: cases cited in RSA objections (3.1);      D Rivero         4.70            2,984.50
                            draft analysis re: same (1.5); email K. Burgess re: same
                            (0.1).

29 July 2021                Consider jurisdictional issues on reduction in tort          A O'Neill        1.20            1,560.00
                            systems (0.5); calls with M. Linder re: jurisdictional
                            issues (0.3); review updated judgment reduction issues
                            and analysis re: same and Chartered Organization
                            approach (0.3); letter re: discovery (0.1).

29 July 2021                Research re: case law in connection with RSA motion.         J Green          4.30            4,816.00

29 July 2021                Emails with J. Lauria re: RSA amendment (0.2);               M Linder         1.40            1,470.00
                            telephone calls with L. Baccash and B. Warner re: RSA,
                            plan, disclosure statement, and associated matters
                            (0.4); telephone call with A. Hammond re: same (0.5);
                            revise chartered organization treatment outline (0.2);
                            emails with J. Lauria re: same (0.1).

29 July 2021                Revise motion to strike (0.3); draft and revise letter re:   S Hershey        7.00            7,455.00
                            proposed schedule (0.9); correspond with M. Jaoude, J.
                            Thomas and A. Hammond re: discovery (0.6); review
                            documents for production (1.3); correspond with G.
                            Kurtz and M. Andolina re: redactions (0.7); impose
                            redactions on documents for production (0.8); draft
                            email re: schedule and responses (1.4); correspond re:
                            production of spreadsheet (0.4); draft letter re:
                            deposition request (0.6).

29 July 2021                Review of Boardvantage documents (1.4); review of            J Thomas         8.90            8,188.00
                            documents re: questions re: same (1.0); telephone call
                            with K. Leung re: next production (litigation support
                            team) (0.4); telephone call with S. Hershey and M.
                            Jaoude re: production (0.6); review of BSA email
                            correspondence re: draft documents (1.5); review
                            journals for redactions (1.8).

29 July 2021                Summarize all cited cases re: business judgment in           K Ferrier        3.80            3,173.00
                            RSA objections, reply, and joinder.




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29 July 2021                Prepare and e-mail redline of Omnibus Reply for D.           D Hirshorn        0.20                 66.00
                            Rivero.

30 July 2021                Messages with L. Baccash re: discovery issues and            A O'Neill         0.50                650.00
                            review emails re: same and send materials re: same.

30 July 2021                Research and review of case law in connection in             J Green           4.30            4,816.00
                            support of RSA motion (3.8); draft summaries of
                            research (0.5).

30 July 2021                Research re: judgment reduction (0.4); emails with J.        M Linder          0.60                630.00
                            Thomas re: same (0.2).

30 July 2021                Call with G. Kurtz and M. Andolina re: meet and confer       S Hershey        10.90           11,608.50
                            (0.4); participate in meet and confer with insurers (1.4);
                            call with G. Kurtz and M. Andolina (0.4); call with G.
                            Kurtz, M. Andolina and A. Hammond re: instructions
                            (0.7); draft letter re: same (1.2); finalize and release
                            document production (0.8); review documents for
                            production (3.7); review and redact presentations (2.3).

30 July 2021                Review cited cases and draft case summaries re: RSA          Sean Murray       1.30            1,196.00
                            hearing preparation.

30 July 2021                Telephone call with S. Hershey and M. Jaoude re:             J Thomas          4.10            3,772.00
                            document production (0.4); emails with M. Linder, I.
                            Popa, and A. Nasser re: judgment reduction research
                            follow up (0.4); review all meeting minute redactions
                            (1.6); telephone calls with team re: insurer concerns re:
                            documents and production (0.7); review of documents
                            re: minutes (1.0).

31 July 2021                Review of case law in connection with RSA motion.            J Green           2.50            2,800.00

31 July 2021                Review documents for production (1.4); correspond with       S Hershey         6.30            6,709.50
                            M. Andolina re: letter (0.3); correspond with A.
                            Hammond re: presentations (1.1); redact minutes for
                            production (2.2); correspond with M. Jaoude re:
                            document production (0.4); finalize and produce
                            document production (0.9).

31 July 2021                Revise and finalize minute redactions (1.5); telephone       J Thomas          4.60            4,232.00
                            call with M. Jaoude and S. Hershey re: document
                            production (0.3); revise journal redactions and finalize
                            (1.8); review of emails attaching draft documents and
                            presentations (1.0).

SUBTOTAL: Chapter 11 Plan Matters                                                                      1,400.80         1,300,941.00


Communication with Client
4 July 2021                 Phone conference with client re: case update and             M Andolina        0.80            1,040.00
                            strategy (0.4); client emails re: discovery issues (0.4).

7 July 2021                 Videoconference with Client, M. Andolina, B. Whittman,       M Linder          0.40                420.00
                            E. Martin, and A. Azer re: strategy.




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12 July 2021                Videoconference with Client, M. Andolina, S. Hershey,         M Linder                 0.40                420.00
                            E. Martin, A. Azer, and B. Whittman re: strategic
                            matters (0.3); telephone call with L. Baccash re: status
                            of various pending deliverables (0.1).

16 July 2021                Videoconference with Client, J. Lauria, M. Andolina, B.       M Linder                 0.50                525.00
                            Whittman, and A. Azer re: strategy.

19 July 2021                Review and respond to email from C. Nelson re: local          M Linder                 0.50                525.00
                            council property transaction (0.2); email to Client re:
                            telephone call with Methodist counsel (0.3).

20 July 2021                Videoconference with Client, J. Lauria, and M. Andolina       M Linder                 0.80                840.00
                            re: chartered organization issues.

21 July 2021                Videoconference with Client, J. Lauria, M. Andolina, E.       M Linder                 0.40                420.00
                            Martin and A. Azer re: recent developments, next steps
                            and related strategy.

23 July 2021                Tri-weekly call with Client.                                  M Linder                 0.40                420.00

26 July 2021                Videoconference with Client, J. Lauria, M. Andolina, E.       M Linder                 0.40                420.00
                            Martin, A. Azer and B. Whittman re: strategic matters.

28 July 2021                Meetings with client at BSA offices (2.3); emails with        M Andolina               3.20            4,160.00
                            BSA team re: meetings (0.2); correspond with client re:
                            additional production of documents and update to
                            litigation parties (0.7).

28 July 2021                Videoconference with Client, J. Lauria, G. Kurtz, M.          M Linder                 1.00            1,050.00
                            Andolina, E. Martin, A. Azer and B. Whittman re:
                            strategic matters.

30 July 2021                Videoconference with Client, J. Lauria, M. Andolina, E.       M Linder                 0.50                525.00
                            Martin, A. Azer and B. Whittman re: strategic matters.

31 July 2021                Draft and send email update to client (0.8); emails re:       M Andolina               1.00            1,300.00
                            deposition scheduling issue (0.2).

SUBTOTAL: Communication with Client                                                                               10.30           12,065.00


Disclosure Statement
1 July 2021                 Review Century motion to adjourn disclosure statement         J Lauria (Boelter)       1.10            1,485.00
                            hearing (0.4); emails with W&C team re: same (0.7).

1 July 2021                 Call with B. Warner re: timeline (0.1); multiple              L Baccash               12.20           12,810.00
                            correspondence with K. Burgess, D. Rivero and others
                            re: disclosure statement issues (0.2); review and revise
                            disclosure statement (5.0); review TDPs (1.0); review
                            insurance issues related to plan/disclosure statement
                            (1.0); review plan modifications (0.2); call with J. Lucas,
                            B. Warner and E. Goodman re: solicitation issues (0.3);
                            review correspondence re: same (0.3); call with B.
                            Warner re: same (0.5); call with R. Boone, K. Burgess,
                            B. Warner and others re: disclosure statement (0.3);
                            review and revise solicitation documents (1.7); review



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                            and revise RSA motion/declarations (1.0); review
                            motion to motion to shorten (0.2); review filings related
                            to adjournment of hearing (0.2); call with S. Hershey re:
                            response to motion to adjourn (0.2).

1 July 2021                 Emails with K. Burgess re: disclosure statement [WB1]         R Boone         10.50           10,972.50
                            revisions (0.3); emails with L. Baccash, K. Burgess, K.
                            Ferrier, D. Rivero re: disclosure statement revisions
                            (0.4); emails with C. Binggeli, B. Whittman, L. Baccash
                            and others (0.4); call with L. Baccash, K. Burgess, K.
                            Ferrier, D. Rivero re: disclosure statement revisions
                            (0.4); calls with K. Burgess re: disclosure statement
                            revisions (0.8); review plan revisions (0.7); email re:
                            disclosure statement changes per same with K.
                            Burgess, D. Rivero, and L. Baccash (0.3); revise
                            disclosure statement (7.2).

1 July 2021                 Review and revise disclosure statement with L.                B Warner         6.40            6,208.00
                            Baccash (0.8); draft revised solicitation and
                            confirmation hearing timeline and dates (0.6); review
                            and revise amended disclosure statement hearing
                            notice (0.4); correspond with W&C and MNAT teams on
                            same (0.1); correspond with L. Baccash re: solicitation
                            timeline (0.1); correspond with W&C team re: revised
                            solicitation timeline (0.2); correspond with Omni team
                            and W&C teams re: solicitation and timeline (0.1); call
                            with E. Goodman, J. Lucas (in part), and L. Baccash re:
                            solicitation procedures revisions (0.3); call with L.
                            Baccash re: solicitation procedures changes (0.1); call
                            with L. Baccash re: disclosure statement and solicitation
                            updates (0.2); call with L. Baccash, R. Boone, K.
                            Burgess, D. Rivero, and K. Ferrier re: disclosure
                            statement next steps (0.3); correspond with J. Lucas re:
                            solicitation timeline (0.2); review and respond to
                            solicitation procedures comments from TCC (3.0).

1 July 2021                 Review and revise insert re: litigation risk factors (0.8);   K Ferrier        6.40            5,344.00
                            review and revise draft amended disclosure statement
                            (2.1); revise references in amended disclosure
                            statement (1.2); correspond with W&C team re: same
                            (0.9);  review    precedent       disclosure    statement
                            amendments re: changes (1.4).

1 July 2021                 Revise disclosure statement (9.7); multiple calls with L.     K Burgess       13.30            9,709.00
                            Baccash re: same (0.5); multiple calls with R. Boone re:
                            same (1.2); call with D. Rivero re: same (0.3); various
                            emails with L. Baccash, R. Boone, D. Rivero, A&M,
                            Haynes Boone, and team re: same (1.6).

1 July 2021                 Call with K. Burgess re: disclosure statement revisions       D Rivero         6.90            4,381.50
                            (0.2); review revised disclosure statement (0.8); draft
                            analysis re: remaining revisions to the disclosure
                            statement (0.9); analyze and review re: insurer's motion
                            to adjourn disclosure statement hearing (0.4); draft
                            analysis re: same to L. Baccash and disclosure
                            statement team (0.4); revise exhibit to the disclosure
                            statement and create redline re: financial projections
                            (1.2); revise exhibit to the disclosure statement and
                            create redline re: liquidation analysis (1.4); research for
                            B. Warner re: chapter 11 precedent case disclosure
                            statement exhibits (0.4); draft analysis to L. Baccash re:



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                            mediators' statement rider (0.3); call with disclosure
                            statement team re: next steps (0.2); review disclosure
                            statement remaining open items (0.4); draft analysis to
                            K. Burgess, R. Boone, L. Baccash and K. Ferrier re:
                            same (0.3).

2 July 2021                 Review and revise disclosure statement (5.5); review           L Baccash        9.20            9,660.00
                            and revise solicitation materials (2.0); multiple calls with
                            M. Linder re: same (0.5); correspondence with M.
                            Wasson re: disclosure statement issues (0.2); review
                            liquidation analysis and projections (0.5); review
                            response to motion to adjourn (0.5).

2 July 2021                 Emails with L. Baccash, K. Burgess, K. Ferrier, D.             R Boone         13.40           14,003.00
                            Rivero re: disclosure statement revisions (0.8); review
                            plan revisions (0.7); email re: disclosure statement
                            changes per same with K. Burgess, D. Rivero, and L.
                            Baccash (0.3); call with L. Baccash (0.5); emails with D.
                            Evans re: disclosure statement language (0.3); calls
                            with K. Burgess re: disclosure statement revisions (1.2);
                            emails with P. Topper, L. Baccash, M. Linder and
                            others re: disclosure statement (0.3); revise disclosure
                            statement (9.3).

2 July 2021                 Review and revise solicitation procedures order,               B Warner        11.20           10,864.00
                            solicitation procedures, and all exhibits re: plan and
                            disclosure statement updates and comments from TCC
                            (2.6); review and comment on master ballot revisions
                            re: plan/disclosure statement/case updates (0.5);
                            correspond with TCC, Brown Rudnick and Omni re:
                            revised solicitation procedures and order (0.2); review
                            and comment on confirmation scheduling order (0.2);
                            call with L. Baccash re: solicitation procedures and
                            disclosure statement revisions (0.1); call with D. Rivero
                            re: solicitation procedures exhibit revisions (0.1); review
                            and comment on disclosure statement re: solicitation
                            and voting changes (1.3); review and comment on
                            master ballot exhibit (0.4); calls with L. Baccash re:
                            disclosure statement and solicitation procedures
                            changes (0.3); correspond with Omni team re:
                            solicitation and voting comments (0.2); review and
                            revise cover letter and notice exhibits re: solicitation and
                            voting (1.1); review and comment on solicitation
                            procedures order exhibits re: filing and plan and
                            disclosure statement updates (4.2).

2 July 2021                 Review and revise amended disclosure statement (1.4);          K Ferrier        7.30            6,095.50
                            revise Plan references in disclosure statement and
                            conform amended disclosure statement to revised Plan
                            (2.6); read and revise disclosure statement (3.3).

2 July 2021                 Revise disclosure statement (13.8); multiple calls with        K Burgess       16.20           11,826.00
                            L. Baccash re: same (0.6); multiple calls with R. Boone
                            re: same (0.8); various emails with L. Baccash, R.
                            Boone, D. Rivero, A&M, and team re: same (1.0).

2 July 2021                 Review amended plan to incorporate revisions into the          D Rivero        12.40            7,874.00
                            disclosure statement (0.5); revise disclosure statement
                            re: amended plan (0.9); call with B. Warner re:
                            solicitation materials and disclosure statement order
                            (0.1); review and revise all of the class ballots based on



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                            the revised plan and disclosure statement (3.9); revise
                            the disclosure statement exhibit based on A&M
                            comments and create redline for filing re: financial
                            projections (0.9); revise the disclosure statement exhibit
                            based on A&M comments and create redline for filing
                            re: liquidation analysis (0.8); email R. Boone re: same
                            (0.2); revise disclosure statement Order exhibit re:
                            confirmation hearing notice (0.6); revise disclosure
                            statement Order exhibit re: disputed claim notice (0.6);
                            revise disclosure statement Order exhibit re: cure and
                            assumption notice (0.5); revise all of the disclosure
                            statement Order exhibits re: class ballots based on M.
                            Linder's plan revisions (1.3); create redlines for filing re:
                            all disclosure statement solicitation materials (0.9);
                            email B. Warner and L. Baccash re: same (0.2); review
                            and revise the disclosure statement in its entirety (0.9);
                            email K. Burgess re: disclosure statement revisions
                            (0.1).

6 July 2021                 Emails with K. Burgess re: Disclosure Statement status          A O'Neill        0.10                130.00
                            hearing.

6 July 2021                 Call with R. Boone re: disclosure statement issues              L Baccash        5.80            6,090.00
                            (0.1); review disclosure statement and filings re:
                            potential objections and responses (1.0); review
                            pleadings related to status conference on disclosure
                            statement (0.5); review research related to potential
                            disclosure statement objections (3.1); multiple
                            correspondence re: same with R. Boone, B. Warner, K.
                            Ferrier, K. Burgess and D. Rivero (0.5); call with M.
                            Andolina re: RSA order (0.1); multiple calls with B.
                            Warner re: RSA issues (0.2); review mediators’
                            statement (0.2); call with R. Boone re: research (0.1).

6 July 2021                 Research re: notice period for disclosure statement             K Ferrier        2.80            2,338.00
                            modifications (1.4); draft research memo re: same (0.7);
                            telephone conference with W&C team re: same (0.3);
                            research re: status conference objection to disclosure
                            statement modification (0.4).

6 July 2021                 Review, summarize, and analyze Insurer objections to            K Burgess       10.70            7,811.00
                            disclosure statement (5.2); call with R. Boone re: same
                            (0.2); correspondence with R. Boone re: same (0.2);
                            call with R. Boone re: Bankruptcy Rule 3017 material
                            change (0.1); legal research re: same (0.3); legal
                            research re: section 363 of the Bankruptcy Code good
                            faith requirement (3.5); calls with R. Boone re: same
                            (0.5); various correspondence with R. Boone, D. Rivero,
                            and L. Baccash re: same (0.7).

6 July 2021                 Emails with L. Baccash re: disclosure statement                 D Rivero         6.00            3,810.00
                            objections (0.2); review and analyze numerous insurers'
                            comments to the disclosure statement and Plan (3.4);
                            draft analysis re: certain insurer's comments to the
                            disclosure statement (1.9); email R. Boone re: same
                            (0.2); review re: JPM's comments to the disclosure
                            statement (0.1); draft analysis re: same to L. Baccash
                            (0.2).

6 July 2021                 Legal research re: mediation settlement agreements.             C Tuffey         4.10            2,603.50




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7 July 2021                 Telephone calls with M. Andolina (0.1), L. Baccash          M Linder         0.70                735.00
                            (0.3), A. Remming, P. Topper (0.2), and A. Azer (0.1)
                            re: disclosure statement issues and next steps.

7 July 2021                 Calls with L. Baccash re: post-hearing timeline changes     B Warner         3.40            3,298.00
                            and issues (0.2); call with L. Baccash on same and with
                            M. Linder (in part) (0.2); correspond with Morris Nichols
                            re: notices and related deadline issues (0.3); review and
                            comment on amended RSA motion hearing notice and
                            amended disclosure statement hearing notice (0.3);
                            revise confirmation hearing timeline re: post-hearing
                            updates (0.8); correspond with L. Baccash, M. Linder
                            and S. Hershey re: timeline comments (0.1); review and
                            revise timeline re: various case issues and comments
                            from W&C team (1.0); call with L. Baccash re: revised
                            timeline and confirmation scheduling (0.2); draft email
                            to J. Lauria summarizing analysis and issues on same
                            (0.3).

7 July 2021                 Legal research re: substantial contribution under the       K Burgess        5.80            4,234.00
                            Bankruptcy Code (3.2); correspondence with R. Boone
                            re: same (0.3); legal research re: approval/enforcement
                            of settlement agreement (2.1); correspondence with R.
                            Boone re: same (0.2).

7 July 2021                 Draft analysis re: revisions to the disclosure statement    D Rivero         0.40                254.00
                            to R. Boone, L. Baccash, K. Burgess, and K. Ferrier.

8 July 2021                 Correspond with W&C team re: confirmation scheduling        B Warner         1.80            1,746.00
                            issues and analysis/revision of timeline (1.0); analyze
                            and revise timeline re: additional review (0.7);
                            correspond with Morris Nichols re: confirmation timeline
                            (0.1).

8 July 2021                 Review precedent mass torts case re: disclosure             D Rivero         3.00            1,905.00
                            statement objections (0.9); draft analysis re: same to R.
                            Boone, L. Baccash, and K. Ferrier (0.8); research
                            precedent mass torts case re: debtors' omnibus reply to
                            disclosure statement objections (0.7); draft analysis re:
                            same (0.6).

10 July 2021                Review and revise confirmation/disclosure statement         B Warner         0.50                485.00
                            timeline.

11 July 2021                Correspond with L. Baccash re: solicitation and             B Warner         0.20                194.00
                            confirmation timeline considerations.

12 July 2021                Call with L. Baccash re: timeline and case updates.         B Warner         0.20                194.00

13 July 2021                Emails with L. Baccash, B. Warner, K. Burgess, D.           R Boone          0.20                209.00
                            Rivero, and K. Ferrier re: disclosure statement.

13 July 2021                Call with K. Ferrier re: disclosure statement objection     C Tuffey         7.20            4,572.00
                            research (0.4); call with L. Baccash re: same (0.1); call
                            with K. Ferrier and L. Mezei re: same (0.3); research re:
                            confirmation requirements re: certain class of claimants
                            (6.4).




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14 July 2021                Revise and distribute draft confirmation schedule to        B Warner         0.20                194.00
                            W&C team.

15 July 2021                Review and revise plan summary re: disclosure from          L Baccash        1.20            1,260.00
                            proponents (1.0); review disclosure statement language
                            from A. Azer re: SIRs (0.2).

15 July 2021                Call with K. Burgess, L. Baccash, and K. Ferrier re:        R Boone          2.00            2,090.00
                            disclosure statement revisions (0.4); emails with L.
                            Baccash (0.2); review and revise proposed FAQ and
                            plan summary (1.1); emails with A. Azer, M. Stoner, and
                            L. Baccash (0.3).

15 July 2021                Correspondence with L. Baccash re: disclosure               D Rivero         0.30                190.50
                            statement next steps (0.1); draft analysis to R. Boone,
                            K. Burgess, and L. Baccash re: same (0.2).

16 July 2021                Call with B. Warner and R. Boone re: disclosure             L Baccash        0.60                630.00
                            statement revisions.

16 July 2021                Emails with L. Baccash and B. Warner (0.2); call with L.    R Boone          2.20            2,299.00
                            Baccash and B. Warner (0.6); revise proposed FAQ
                            and plan summary (0.8); emails with B. Whittman, J.
                            Lauria, M. Linder, L. Baccash, B. Warner, and others
                            (0.6).

16 July 2021                Emails with L. Baccash re: disclosure statement next        D Rivero         0.40                254.00
                            steps (0.1); emails with R. Boone re: disclosure
                            statement revisions (0.1); draft analysis to R. Boone, K.
                            Burgess, and L. Baccash re: same (0.2).

16 July 2021                Review analogous case docket re: indirect claims and        C Tuffey         2.90            1,841.50
                            summarize same.

17 July 2021                Multiple correspondence with A. O’Neill re: plan            L Baccash        0.20                210.00
                            summary for disclosure from proponents.

17 July 2021                Call with L. Baccash (0.2); revise proposed FAQ and         R Boone          1.10            1,149.50
                            plan summary (0.7); emails with B. Whittman, J. Lauria,
                            M. Linder, L. Baccash, B. Warner and others (0.2).

19 July 2021                Call with R. Boone and B. Warner re: TCC disclosure to      L Baccash        1.50            1,575.00
                            claimants in connection with disclosure statement (0.3);
                            call with K. Quinn, M. Linder and R. Boone re: plan and
                            disclosure statement changes (0.2); multiple calls with
                            R. Boone re: disclosure statement issues (0.4); call with
                            B. Warner re: same (0.6).

19 July 2021                Emails with A. Azer; K. Quinn, M. Linder, and L.            R Boone          2.10            2,194.50
                            Baccash (0.2); revise proposed FAQ and plan summary
                            (1.3); call with A. Azer; K. Quinn, M. Linder, and L.
                            Baccash (0.2); emails with B. Whittman, J. Lauria, M.
                            Linder, L. Baccash, B. Warner and others (0.4).

19 July 2021                Revise disclosure statement (5.3); multiple calls with R.   K Burgess        6.20            4,526.00
                            Boone re: same (0.5); correspondence with L. Baccash
                            and R. Boone re: same (0.4).




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19 July 2021                Emails with K. Burgess re: disclosure statement             D Rivero         0.30                190.50
                            revisions (0.1); draft analysis to R. Boone, K. Burgess,
                            and L. Baccash re: same (0.2).

19 July 2021                Research re: effect of court approval of agreements or      C Tuffey         2.30            1,460.50
                            settlements.

20 July 2021                Review K. Ferrier memo re: precedent case Disclosure        A O'Neill        2.20            2,860.00
                            Statement issues (1.0); review transcript re: same (0.3);
                            emails with R. Boone re: Disclosure Statement issues
                            and Trust Agreement description (0.2); consider same
                            (0.1); review Coalition Disclosure Statement comments
                            and analyze same (0.6).

20 July 2021                Emails with L. Baccash (0.2); review comments to            R Boone          3.80            3,971.00
                            disclosure statement (0.6); emails with A. O'Neill and L.
                            Baccash (0.2); emails with L. Baccash, D. Dreier and G.
                            Weeks (0.2); revise FAQ and Plan summary (1.3);
                            emails with J. Lauria, M. Linder, B. Whittman, L.
                            Baccash and others (0.2); emails with C. Binggeli (0.2);
                            revise disclosure statement (0.9).

20 July 2021                Analyze Coalition comments re: disclosure statement         B Warner         0.20                194.00
                            (0.1); propose changes to W&C team (0.1).

20 July 2021                Revise disclosure statement (6.2); calls with R. Boone      K Burgess        6.80            4,964.00
                            re: same (0.2); various correspondence with L. Baccash
                            and R. Boone re: same (0.4).

20 July 2021                Emails with K. Burgess, L. Baccash, R. Boone, and B.        D Rivero         0.50                317.50
                            Warner re: recent comments to the disclosure
                            statement (0.1); draft analysis to K. Burgess, L.
                            Baccash, R. Boone, and B. Warner re: same (0.4).

21 July 2021                Review and revise plan summary related to disclosure        L Baccash        0.90                945.00
                            from proponents.

21 July 2021                Emails with J. Lauria, M. Linder, B. Whittman, L.           R Boone          2.40            2,508.00
                            Baccash and others (0.3); call with A. Azer, L. Baccash,
                            C. Green and others (0.3); emails with D. Rivero re:
                            disclosure statement issue (0.2); call with L. Baccash
                            (0.3); call with K Gluck re: proposed disclosure
                            statement revisions (0.2); revise plan summary and
                            FAQ (0.8); emails with A. Azer, L. Baccash, D. Rivero
                            and others (0.3).

21 July 2021                Call with A. Azer, M. Stoner and disclosure statement       B Warner         0.30                291.00
                            W&C team re: Coalition disclosure statement
                            comments.

21 July 2021                Revise disclosure statement (4.2); multiple calls with R.   K Burgess        5.30            3,869.00
                            Boone re: same (0.5); various correspondence with L.
                            Baccash and R. Boone re: same (0.4); conference call
                            with Haynes Boone, R. Boone, L. Baccash, and D.
                            Rivero re: same (0.2).

21 July 2021                Correspond with R. Boone re: disclosure statement           D Rivero         0.30                190.50
                            comments.



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22 July 2021                Consider Disclosure Statement/RSA issues and timing            A O'Neill        0.60                780.00
                            of further changes and pleadings related to Disclosure
                            Statement hearing (0.4); call with J. Lauria re:
                            Disclosure Statement/RSA issues (0.2).

22 July 2021                Call with M. Linder re: plan summary and disclosure            L Baccash        2.20            2,310.00
                            issues (0.2); call with R. Boone re: plan summary and
                            disclosure issues (0.4); call with B. Warner re: same
                            (0.1); review and revise plan summary (0.3); call with E.
                            McKeigan, B. Warner, and G. Gigante re: solicitation
                            issues related to claims (0.5); review claim data related
                            to solicitation (0.4); call with K. Ferrier and R. Boone re:
                            disclosure statement issues (0.3).

22 July 2021                Emails with K. Burgess (0.2); call with L. Baccash (0.4);      R Boone          1.60            1,672.00
                            call with K. Burgess re: disclosure statement research
                            (0.3); call with L. Baccash and K. Barr (0.3); emails with
                            K. Burgess (0.1); revise disclosure statement (0.3).

22 July 2021                Revise disclosure statement (1.2); correspondence with         K Burgess        1.40            1,022.00
                            R. Boone re: same (0.2).

23 July 2021                Review mediator notice (0.2); consider intersection with       A O'Neill        0.30                390.00
                            RSA and Disclosure Statement hearing strategy (0.1).

23 July 2021                Review proposed disclosure statement revisions (0.2);          R Boone          0.50                522.50
                            emails with K. Burgess (0.1); call with K. Burgess (0.2).

28 July 2021                Call with R. Boone and K. Ferrier re: updates to               L Baccash        1.30            1,365.00
                            disclosure statement (0.5); call with B. Warner re: same
                            (0.4); call with K. Ferrier re: same (0.4).

28 July 2021                Call with L. Baccash, B. Warner, and K. Ferrier (0.8);         R Boone          2.20            2,299.00
                            revise disclosure statement issues list (0.3); emails with
                            D. Rivero (0.1); call with K. Burgess (0.3); revise
                            disclosure statement (0.7).

28 July 2021                Call with L. Baccash re: case timing (0.2); call with L.       B Warner         0.70                679.00
                            Baccash, R. Boone and K. Ferrier re: disclosure
                            statement next steps (0.5).

28 July 2021                Revise disclosure statement (3.2); correspondence with         K Burgess        3.60            2,628.00
                            R. Boone and D. Rivero re: same (0.4).

28 July 2021                Correspond with R. Boone re: disclosure statement              D Rivero         1.10                698.50
                            additions (0.1); draft email re: same to R. Boone, K.
                            Burgess, L. Baccash, and B. Warner (0.2); emails with
                            K. Burgess re: amended Plan and disclosure statement
                            (0.1); review new Plan to reflect in the disclosure
                            statement (0.3); revise disclosure statement (0.4).

29 July 2021                Begin analysis and preparation for Disclosure                  A O'Neill        1.20            1,560.00
                            Statement hearing (1.0); call with J. Lauria re:
                            Disclosure Statement hearing responsibility and
                            approach (0.2).

29 July 2021                Correspondence with J. Lauria re: disclosure statement         L Baccash        2.10            2,205.00
                            reply (0.2); correspondence with disclosure statement



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                            Team (R. Boone, K. Ferrier, and B. Warner) re: same
                            (0.2); review precedent re: same (0.2); correspondence
                            with P. Topper re: timeline and chambers (0.2); review
                            revised reply chart re: same (1.0); multiple calls with B.
                            Warner re: same (0.3).

29 July 2021                Emails with B. Warner, L. Baccash, K. Ferrier, and D.           R Boone          1.50            1,567.50
                            Kim (0.4); review precedent re: disclosure statement
                            issue (0.3); emails with D. Rivero (0.2); review draft
                            objection chart (0.6).

29 July 2021                Research precedent re: omnibus disclosure statement             B Warner         1.80            1,746.00
                            reply/objections (0.8); attend hearing in part re: status
                            conference and Rule 2019 motions (1.0).

29 July 2021                Revise disclosure statement.                                    K Burgess        3.80            2,774.00

29 July 2021                Emails with R. Boone re: response to disclosure                 D Rivero         5.50            3,492.50
                            statement objections (0.2); revise chart re: response to
                            disclosure statement objections (5.1); email L. Baccash,
                            B. Warner, K. Doah, K. Ferrier, and K. Burgess re:
                            same (0.2).

30 July 2021                Call with B. Warner re: same, timing and likely                 A O'Neill        1.10            1,430.00
                            objections (0.3); consider solicitation and balloting
                            issues (0.4); review precedent materials from mass
                            torts cases re: same (0.4).

30 July 2021                Call with L. Baccash re: disclosure statement noticing          B Warner         1.30            1,261.00
                            changes/timeline (0.2); call with A. O'Neill re: solicitation
                            process (0.2); review and comment on amended
                            disclosure statement hearing notice (0.1); analyze
                            solicitation procedures issues and draft update to A.
                            O'Neill on same (0.7); correspond with L. Baccash re:
                            disclosure statement noticing changes and timeline
                            (0.1).

SUBTOTAL: Disclosure Statement                                                                             259.40          222,418.00


Executory Contracts and Leases
12 July 2021                Review and comment on client lease amendment                    B Warner         0.40                388.00
                            question.

21 July 2021                Correspond with C. Binggeli and W&C team re: contract           B Warner         0.20                194.00
                            rejection damages claims.

28 July 2021                Prepare for call re: contract rejection claims and              B Warner         0.60                582.00
                            strategy (0.2); call with C. Binggeli, R. Walsh and R.
                            Szuba re: contract rejection claims and contract
                            strategy (0.4).

SUBTOTAL: Executory Contracts and Leases                                                                     1.20            1,164.00


Fee Applications
1 July 2021                 Revise monthly fee application (2.1); email with J.             S Ludovici       2.20            2,233.00



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                            Lauria, M. Andolina and M. Linder re: finalizing monthly
                            fee application (0.1).

2 July 2021                 Initial revisions to interim fee application.                S Ludovici       0.40                406.00

2 July 2021                 Draft interim fee application.                               C Tuffey         0.60                381.00

6 July 2021                 Revise and edit third interim fee application (2.9); email   S Ludovici       3.50            3,552.50
                            with D. Hirshorn re: same (0.1); email with B. Bravo re:
                            same (0.1); email to C. Tuffey, D. Rivero and C. Do re:
                            same (0.1); email to all matter timekeepers re:
                            comments received and ongoing requirements (0.1);
                            email to B. Warner and M. Linder re: draft third interim
                            fee application (0.2).

6 July 2021                 Review time entries related to the review, revision or       D Hirshorn       1.30                429.00
                            preparation of invoices (0.8); prepare chart re: same
                            (0.5); e-mail S. Ludovici re: same (0.1).

7 July 2021                 Email LEDES file to US Trustee, Fee Examiner, and            S Ludovici       0.10                101.50
                            client.

8 July 2021                 Emails with M. Linder, B. Bravo and J. Lauria re: US         S Ludovici       6.50            6,597.50
                            Trustee comment to White & Case 7th Monthly Fee
                            Application (0.1); review pro forma time entries for
                            monthly fee application for compliance with US Trustee
                            guidelines and other requirements, including privilege
                            and confidentiality (6.4).

9 July 2021                 Review pro forma time entries for monthly fee                S Ludovici       0.60                609.00
                            application for compliance with US Trustee guidelines
                            and other requirements, including privilege and
                            confidentiality.

12 July 2021                Review draft interim fee application (0.2); emails with S.   M Linder         0.30                315.00
                            Ludovici re: same (0.1).

12 July 2021                Emails to US Trustee office and Fee Examiner re:             S Ludovici       1.10            1,116.50
                            additional/revised data re: April fee application (0.2);
                            briefly skim over connections reports and email to L.
                            Baccash re: supplemental declaration (0.3); review pro
                            forma time entries for monthly fee application for
                            compliance with US Trustee guidelines and other
                            requirements, including privilege and confidentiality
                            (0.2); review attachments in emails from B. Bravo re:
                            inquiries from US Trustee and Fee Examiner (0.3);
                            email to M. Linder and B. Warner re: same (0.1).

12 July 2021                Revise interim fee application (0.2); email to P. Spencer    S Ludovici       0.70                710.50
                            re: specific inquiry re: US Trustee guidelines (0.2);
                            emails with M. Linder and B. Warner re: third interim fee
                            application (0.1); email with B. Bravo re: status of
                            inquiries re: fee applications (0.1); chat with D. Rivero
                            re: fee application (0.1).

12 July 2021                Review interim fee application (0.2); review fees email      B Warner         0.40                388.00
                            re: US Trustee comment from S. Ludovici (0.2).




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12 July 2021                Review pro forma time entries for fee application for           D Rivero         2.80            1,778.00
                            compliance with US Trustee guidelines and other
                            requirements, including privilege and confidentiality.

12 July 2021                E-mail W&C conflicts team re: updated conflicts search.         D Hirshorn       0.10                 33.00

13 July 2021                Review pro forma time entries for monthly fee                   S Ludovici       0.60                609.00
                            application for compliance with US Trustee guidelines
                            and other requirements, including privilege and
                            confidentiality (0.1); revise fee application (0.4); email to
                            J. Lauria and M. Andolina re: same (0.1).

13 July 2021                Review pro forma time entries for fee application for           D Rivero         1.90            1,206.50
                            compliance with US Trustee guidelines and other
                            requirements, including privilege and confidentiality.

13 July 2021                E-mail W&C conflicts team to run bring down searches            D Hirshorn       0.10                 33.00
                            in preparation for upcoming declaration.

14 July 2021                Call from E. Rosenberg re: timekeeping issues (0.2);            S Ludovici       1.40            1,421.00
                            emails with B. Warner and M. Linder re: same (0.2);
                            review connections reports (0.7); emails to matter
                            partners of other matters re: same (0.2); review pro
                            forma time entries for monthly fee application for
                            compliance with US Trustee guidelines and other
                            requirements, including privilege and confidentiality
                            (0.1).

14 July 2021                Prepare combined common PIP tracking chart.                     D Hirshorn       1.70                561.00

15 July 2021                Email to B. Warner and M. Liner re: BSA fee                     S Ludovici       0.30                304.50
                            application, and email to J. Lauria, and M. Andolina re:
                            interim fee application (0.1); email to L. Baccash, B.
                            Warner and M. Linder re: client email re: time entries
                            (0.1); email to Client re: LEDES file (0.1).

15 July 2021                Continue creating combined potential interested parties         D Hirshorn       3.00                990.00
                            chart (1.8); pull and review notices of appearance and
                            Rule 2019 statements for new parties to run through
                            Conflicts (1.2).

16 July 2021                Review email from Client re: fee amounts.                       S Ludovici       0.10                101.50

16 July 2021                Correspond with W&C team re: fee application client             B Warner         0.20                194.00
                            review.

16 July 2021                Review pro forma time entries for fee application for           D Rivero         2.70            1,714.50
                            compliance with US Trustee guidelines and other
                            requirements, including privilege and confidentiality.

16 July 2021                Review pro forma time entries for fee application for           C Tuffey         1.30                825.50
                            compliance with US Trustee guidelines and other
                            requirements.

16 July 2021                Update Conflicts report file (0.3); e-mail S. Ludovici re:      D Hirshorn       0.50                165.00
                            combined potential interested parties list and new
                            potential parties (0.2).



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18 July 2021                Review and comment on JLL invoice re: inquiry from R.         B Warner         0.30                291.00
                            Edgecombe (A&M).

19 July 2021                Review analysis from B. Warner re: confidential fee           S Ludovici       0.20                203.00
                            reduction matter.

19 July 2021                Analyze materials and draft analysis re: confidential fee     B Warner         3.60            3,492.00
                            reduction matter.

19 July 2021                Review pro forma time entries for fee application for         C Tuffey         1.20                762.00
                            compliance with US Trustee guidelines and other
                            requirements.

20 July 2021                Correspond with B. Bravo re: fee application (0.1);           S Ludovici       0.20                203.00
                            revise interim fee application (0.1).

20 July 2021                Correspond with S. Ludovici re: fee application               B Warner         0.40                388.00
                            comments and open issues (0.2); call with S. Ludovici
                            re: same (0.2).

20 July 2021                Update Conflicts file.                                        D Hirshorn       0.80                264.00

21 July 2021                Telephone call with P. Topper re: interim fee order.          M Linder         0.20                210.00

21 July 2021                Respond to B. Warner re: timekeeper issues on BSA             S Ludovici       0.10                101.50
                            matter.

21 July 2021                Call with C. Binggeli re: questions on fee application        B Warner         0.20                194.00
                            ruling from court.

21 July 2021                E-mails with S. Ludovici and B. Warner re: potential          D Hirshorn       0.30                 99.00
                            interested parties.

22 July 2021                Review and revise proposed order amending interim             M Linder         1.10            1,155.00
                            compensation procedures (0.3); emails with D.
                            Buchbinder, J. Lauria, P. Topper and T. Schiavoni re:
                            same (0.3); telephone call with A. Remming re: same
                            (0.1); review transcript (0.4).

22 July 2021                Correspond with C. Binggeli re: changes to interim fee        B Warner         0.10                 97.00
                            payment process re: court ruling.

27 July 2021                Email re: time entries, and chat with B. Warner re: fee       S Ludovici       0.10                101.50
                            reductions.

30 July 2021                Draft client email re: fees for J. Lauria.                    B Warner         0.60                582.00

SUBTOTAL: Fee Applications                                                                                43.80           34,919.00


Financing Matters and Cash Collateral
9 July 2021                 Telephone call with C. Adler re: debt documents under         M Linder         0.40                420.00
                            plan and next steps with regard to same.

9 July 2021                 Call with M. Linder re: financing matters (0.2); review       C Adler          0.70                731.50



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DATE                        DESCRIPTION                                                      TIMEKEEPER      HOURS                   USD

                            financing documents and emails (0.5).

10 July 2021                Review correspondence and matters re: financings.                Binoy Dharia       0.50                642.50

10 July 2021                Email to C. Adler re: debt documents and related plan            M Linder           0.80                840.00
                            provisions (0.7); emails with B. Dharia re: same (0.1).

15 July 2021                Review internal discussions re: financings.                      Binoy Dharia       0.50                642.50

15 July 2021                Call re: financing documents.                                    C Adler            0.50                522.50

16 July 2021                Review internal discussions and correspondence re:               Binoy Dharia       2.50            3,212.50
                            exit financing (2.0); review and analyze plan for exit
                            financing (0.5).

16 July 2021                Emails with K. Gluck and W&C debt finance and capital            M Linder           0.20                210.00
                            markets bond team re: debt documents.

16 July 2021                Call re: financing matters (0.2); review precedent notes         C Adler            0.50                522.50
                            (0.3).

18 July 2021                Draft BSA Settlement Trust Note and DST Note (3.0);              C Adler            3.50            3,657.50
                            email correspondence (0.5).

19 July 2021                Call re: exit financing and related matters.                     Binoy Dharia       0.50                642.50

19 July 2021                Call with NRF re: financing process (0.3); emails re:            C Adler            0.60                627.00
                            notes (0.3).

22 July 2021                Review    exit   financing     documentation            (0.5);   Binoy Dharia       1.00            1,285.00
                            correspondence re: same (0.5).

22 July 2021                Draft foundation loan agreement (3.0); revise DST note           C Adler            5.00            5,225.00
                            and BSA settlement trust note (1.5); email
                            correspondence (0.5).

23 July 2021                Revise foundation loan          agreement      (0.3);   email    C Adler            0.50                522.50
                            correspondence (0.2).

26 July 2021                Review correspondence and internal discussions (1.0);            Binoy Dharia       4.30            5,525.50
                            draft and revise exit financing Note documentation
                            (3.3).

26 July 2021                Telephone call with W&C and NRF finance counsel re:              M Linder           0.30                315.00
                            debt documents.

26 July 2021                Revise settlement trust note and DST note (1.0); email           C Adler            1.20            1,254.00
                            correspondence (0.2).

27 July 2021                Review correspondence and matters re: exit financing.            Binoy Dharia       0.50                642.50

28 July 2021                Correspond and review internal discussions re: exit              Binoy Dharia       4.30            5,525.50
                            financing (1.0); draft and revise Loan Agreement and
                            other matters re: exit financing documentation (3.3).




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DATE                        DESCRIPTION                                                   TIMEKEEPER            HOURS                   USD

28 July 2021                Revise foundation loan         agreement     (0.8);   email   C Adler                  1.00            1,045.00
                            correspondence (0.2).

30 July 2021                Review    correspondence      re:  exit   financing           Binoy Dharia             0.30                385.50
                            documentation (0.1); review comments to Foundation
                            Loan Agreement (0.2).

SUBTOTAL: Financing Matters and Cash Collateral                                                                   29.60           34,396.50


General Case Strategy
1 July 2021                 Call with M. Linder re: open issues.                          J Lauria (Boelter)       0.40                540.00

2 July 2021                 Call with Haynes Boone and W&C re: insurance                  J Lauria (Boelter)       5.00            6,750.00
                            litigation (0.5); revise plan of reorganization (3.0); call
                            with G. Kurtz (0.5); emails with W&C team re: plan filing
                            (1.0).

7 July 2021                 Call with L. Baccash re: post-hearing tasks - timeline        B Warner                 0.30                291.00
                            and notices.

13 July 2021                Catch up call with M. Linder and L. Baccash.                  J Lauria (Boelter)       0.50                675.00

14 July 2021                Attend Whittman deposition (5.0); emails and calls with       J Lauria (Boelter)       6.50            8,775.00
                            W&C team re: deposition preparation (1.0); emails with
                            team re: Babcock & Wilcox (0.5).

16 July 2021                Attend update call with client (0.5); attend mediation call   J Lauria (Boelter)       5.00            6,750.00
                            (0.5); attend call with team re: indirect abuse claims
                            treatment (0.5); attend call with Brown Rudnick re: open
                            issues (1.0); call with Haynes Boone re: coalition issues
                            (0.5); begin preparation for Hartford argument and
                            review legal issues re: same (2.0).

18 July 2021                Attend chartered organization strategy call with client       J Lauria (Boelter)       2.40            3,240.00
                            (0.5); attend follow-up call with ad hoc committee (0.5);
                            review and consider judgment reduction mechanics
                            (1.0); draft email to Haynes Boone and W&C team re:
                            same (0.4).

19 July 2021                Attend Ownby deposition (4.0); review judgment                J Lauria (Boelter)      10.80           14,580.00
                            reduction research (1.2); draft proposal for chartered
                            organization plan treatment (1.5); review plan revisions
                            and comment on same (2.0); revise chartered
                            organization plan treatment document (0.7); review
                            research re: testimony needed for RSA hearing (1.4).

20 July 2021                Call re: Ownby transcript (0.5); call with Coalition and      J Lauria (Boelter)       7.50           10,125.00
                            FCR re: testimony and legal case (1.0); call with client
                            re: chartered organizations and RSA hearing (1.0);
                            attend mediation session (1.0); continued review and
                            revision of chartered organization plan treatment (3.0);
                            review research re: treatment of indirect claims (1.0).

21 July 2021                Attend update call with client (0.5); attend chartered        J Lauria (Boelter)      12.50           16,875.00
                            organization call (1.0); pre-call with ad hoc committee
                            re: call with Methodists (0.5); attend call with Methodists



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DATE                        DESCRIPTION                                                   TIMEKEEPER            HOURS                  USD

                            (0.7); call with Haynes Boone re: insurance issues (0.8);
                            preparation for RSA hearing (4.0); attend BSA hearing
                            (3.0); prepare for BSA hearing (1.0); further revisions to
                            chartered organization plan treatment (1.0).

22 July 2021                Call with Coalition and FCR (1.0); call with BSA W&C          J Lauria (Boelter)       9.60           12,960.00
                            team (0.5); prepare for RSA hearing (3.0); review
                            Hartford deposition questions and comment on same
                            (0.8); calls with M. Andolina re: RSA litigation strategy
                            (0.5); email client re: same (0.3); review board materials
                            in preparation for RSA hearing (2.0); email team re:
                            board issues for RSA hearing (0.5); review and
                            comment on Desai declaration (1.0).

23 July 2021                Update call with client (0.5); attend zoom with coalition     J Lauria (Boelter)       2.50            3,375.00
                            and FCR (1.0); review and comment on RSA objection
                            chart (1.0).

24 July 2021                Further review and comment on Desai declaration (1.0);        J Lauria (Boelter)       2.00            2,700.00
                            numerous emails with A&M and W&C re: preparation
                            for RSA hearing (1.0).

26 July 2021                Attend update call with client (0.5); attend session with     J Lauria (Boelter)       5.50            7,425.00
                            Catholics (1.0); further comments on Desai declaration
                            (1.0); prepare for RSA hearing (3.0).

27 July 2021                Prepare for and attend bankruptcy task force meeting          J Lauria (Boelter)       9.50           12,825.00
                            (2.0); attend call re: RSA issues (1.0); attend call with
                            coalition and FCR re: RSA amendment (0.5); prepare
                            for RSA hearing (6.0).

28 July 2021                Attend update call with client (0.5); attend call with team   J Lauria (Boelter)       7.00            9,450.00
                            re: RSA objections (0.5); attend call with Bates White
                            re: chartered orgs (0.5); attend meeting with team re:
                            open issues (0.5); prepare for hearing (5.0).

SUBTOTAL: General Case Strategy                                                                                   87.00          117,336.00


Hearings and Court Matters
2 July 2021                 Emails re: status conference strategy with J. Lauria and      M Andolina               0.80            1,040.00
                            M. Linder and follow-up with BSA team.

6 July 2021                 Preparation call with BSA team re: 7/7 status                 M Andolina               1.00            1,300.00
                            conference (0.5); emails re: same (0.5).

6 July 2021                 Review responses filed by certain insurers (0.8);             M Linder                 6.40            6,720.00
                            prepare for status conference (5.6).

6 July 2021                 Call with W&C staff re: hearing preparation.                  B Warner                 0.10                97.00

7 July 2021                 Prepare for status conference (2.0); attend status            M Andolina               4.50            5,850.00
                            conference (2.0); correspond with BSA team and client
                            re: same (0.5).

7 July 2021                 Prepare for status conference (3.8); attend status            M Linder                 5.80            6,090.00
                            conference (2.0).



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DATE                        DESCRIPTION                                                    TIMEKEEPER            HOURS                   USD

15 July 2021                Attend Mosby deposition.                                       J Lauria (Boelter)       5.00            6,750.00

19 July 2021                Review draft agenda for 7/21 hearing and emails with           M Linder                 0.60                630.00
                            MNAT re: same (0.2); telephone call with J. Lauria re:
                            same (0.2); emails with S. Ludovici re: same (0.2).

20 July 2021                Review and analyze pleadings and prepare notes in              M Linder                 5.00            5,250.00
                            preparation for omnibus hearing on Insurer fee motion,
                            pro se matter and preliminary injunction (4.3); telephone
                            call with J. Lucas re: hearing (0.3); telephone call with J.
                            Lauria re: same (0.1); emails with B. Warner re: pro se
                            motion (0.2); telephone call with B. Warner re: same
                            (0.1).

20 July 2021                Call with M. Linder re: hearing agenda and items (0.1);        B Warner                 0.80                776.00
                            draft hearing outline re: fee applications and third party
                            motion and response (0.5); call with P. Topper re:
                            hearing status on same (0.1); correspond with M. Linder
                            and L. Baccash on same (0.1).

21 July 2021                Review pleadings and prepare notes in preparation for          M Linder                 3.70            3,885.00
                            omnibus hearing (1.2); attend same (2.5).

25 July 2021                Attend Desai prep session (2.0); review caselaw in             J Lauria (Boelter)       6.00            8,100.00
                            preparation for RSA hearing (3.0); email W&C team re:
                            arguments (1.0).

27 July 2021                Prepare for Court hearing re: Motion to Compel (1.3);          M Andolina               2.20            2,860.00
                            attend court hearing (0.7); emails with client and BSA
                            team re: same (0.1); phone conferences with client and
                            BSA team re: same (0.1).

27 July 2021                Attend discovery hearing.                                      M Linder                 0.70                735.00

27 July 2021                Emails with L. Baccash re: hearing (0.2); emails with L.       R Boone                  3.20            3,344.00
                            Mezei, D. Kim, and C. Tuffey re: RSA motion hearing
                            preparation (0.4); draft and revise hearing preparation
                            materials (2.6).

27 July 2021                Call with M. Linder re: hearing preparation and claims         B Warner                 0.80                776.00
                            (0.2); call with W&C team re: hearing preparation and
                            strategy (0.3); call with W&C team re: hearing
                            preparation and strategy (0.3).

28 July 2021                Telephone call with W&C litigation and restructuring           M Linder                 0.30                315.00
                            teams in preparation for hearing.

28 July 2021                Correspond with MNAT and W&C team re: hearing                  B Warner                 0.20                194.00
                            preparation and questions.

29 July 2021                Prepare for hearing (2.0); attend hearing (3.0).               J Lauria (Boelter)       5.00            6,750.00

29 July 2021                Prepare for Court hearing re: RSA motion update and            M Andolina               2.80            3,640.00
                            2019 motions (0.3); attend hearing (1.8); emails with
                            BSA team re: same (0.4); phone conferences with BSA
                            team re: same (0.3).




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29 July 2021                Attend hearing.                                           M Linder         1.80            1,890.00

SUBTOTAL: Hearings and Court Matters                                                                  56.70           66,992.00


Insurance Issues
2 July 2021                 Research re: insurance neutrality (2.5); draft case law   K Ferrier        4.60            3,841.00
                            memo re: same (1.1); correspond with W&C team re:
                            same (0.5); telephone conference with W&C team re:
                            same (0.5).

5 July 2021                 Review and analyze correspondence between BSA and         D Rifkin         6.40            5,344.00
                            respective insurance carriers and account for current
                            document and informational requests.

6 July 2021                 Call with M. Andolina, S. Hershey, M. Linder, B.          L Baccash        0.30                315.00
                            Warner, G. Kurtz, A. Hammond, P. Anker, T. Schiavoni
                            and others re: discovery related issues.

6 July 2021                 Meet and confer with insurer counsel re: discovery        M Linder         0.80                840.00
                            (0.4); follow-up call with M. Andolina, G. Kurtz, A.
                            Hammond, L. Baccash, and B. Warner re: same (0.4).

7 July 2021                 Call with M. Andolina, G. Kurtz, A. Hammond, S.           L Baccash        0.70                735.00
                            Hershey, B. Warner, and M. Linder re: litigation issues
                            and related discovery requests from insurers.

8 July 2021                 Review Insurer settlement issues (1.8); draft summary     K Ferrier        2.50            2,087.50
                            re: same (0.4); correspond with W&C team re: same
                            (0.3).

9 July 2021                 Further emails re: insurance issues.                      A O'Neill        0.20                260.00

9 July 2021                 Telephone call with M. Andolina, S. Hershey, J.           M Linder         3.20            3,360.00
                            Ruggeri, P. Anker and T. Schiavoni re: discovery
                            matters and scheduling of depositions (0.4); calls with
                            L. Baccash re: same (0.4); call with M. Andolina, G.
                            Kurtz, A. Hammond, L. Baccash and S. Hershey re:
                            same (0.2); telephone call with A. Azer in preparation
                            for call with P. Anderson and T. Dare (0.1); telephone
                            call with A. Azer, P. Anderson and T. Dare (0.7); call
                            with A. Azer re: same (0.1); telephone call with M.
                            Andolina, G. Kurtz, A. Hammond, L. Baccash and A.
                            Adrian re: insurance litigation (0.8); calls with M.
                            Andolina and L. Baccash re: same (0.5).

13 July 2021                Research re: Insurer objections (1.5); correspond with    K Ferrier        2.10            1,753.50
                            W&C team re: same (0.6).

14 July 2021                Telephone calls with A. Azer re: insurance issues.        M Linder         0.20                210.00

21 July 2021                Telephone call with J. Lauria, L. Baccash, and Haynes     M Linder         0.60                630.00
                            Boone team re: insurance issues addressed in draft
                            RSA joinder.

22 July 2021                Videoconference with A. Azer, G. LeChevalier and E.       M Linder         0.70                735.00
                            Grim re: non-abuse claims.



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23 July 2021                Research re: settlement and declaratory judgments           K Ferrier         1.90            1,586.50
                            (1.2); draft rider re: same (0.7).

24 July 2021                Email correspondence with M. Linder and L. Baccash          E Rosenberg       0.20                213.00
                            re: 9019 motion.

24 July 2021                Draft rider re: insurance neutrality (0.9); research re:    K Ferrier         1.40            1,169.00
                            same (0.5).

25 July 2021                Draft 9019 motion (0.9); email correspondence with M.       E Rosenberg       1.20            1,278.00
                            Linder, L. Baccash, A. Azer, and S. Lawand re: same
                            (0.3).

26 July 2021                Research re: neutrality precedent (1.1); correspond with    K Ferrier         1.70            1,419.50
                            L. Baccash re: same (0.6).

27 July 2021                Telephone call with A. Azer, E. Rosenberg and S.            M Linder          0.30                315.00
                            Lawand re: Bankruptcy Rule 9019 motion.

27 July 2021                Prepare for call re: 9019 motion (0.2); partially attend    E Rosenberg       0.60                639.00
                            call with M. Linder, A. Azer, and S. Lawand re: 9019
                            motion (0.4).

28 July 2021                Emails with insurers re: 7/30 call and hearing agenda       M Andolina        0.50                650.00
                            (0.3); emails with BSA team re: same (0.1); phone calls
                            with BSA team re: same (0.1).

28 July 2021                Emails with A. Azer and B. Whittman re: settlement of       M Linder          0.20                210.00
                            insurance dispute.

29 July 2021                Manage drafting of 9019 motion.                             E Rosenberg       0.60                639.00

30 July 2021                Call with M. Linder, J. Lauria, M. Andolina, T. Sciavoni,   L Baccash         1.30            1,365.00
                            and other insurers re: insurance issues related to the
                            discovery and RSA.

30 July 2021                Email correspondence with M. Linder and S. Lawand           E Rosenberg       0.30                319.50
                            re: settlement agreement and 9019 motion.

30 July 2021                Insurer meet and confer call with W&C and Haynes            B Warner          1.30            1,261.00
                            Boone re: RSA motion discovery and other issues.

SUBTOTAL: Insurance Issues                                                                               33.80           31,175.50


Non-Bankruptcy Litigation
6 July 2021                 Emails with A. Kutz, various defense counsel, and           M Linder          0.30                315.00
                            certain plaintiffs' counsel re: status of non-abuse
                            litigation.

6 July 2021                 Correspond with S. Hershey re: response letter to S.        Sean Murray       0.90                828.00
                            Call (Non-Abuse Litigation) (0.3); review letter from S.
                            Call and associated documents (0.6).

7 July 2021                 Email to TCC, FCR and Coalition counsel re: Lehr            M Linder          0.50                525.00



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                            settlement motion (0.3); emails with A. Kutz re:
                            chartered organization claim (0.2).

7 July 2021                 Draft response letter to S. Call (Non-Abuse Litigation)       Sean Murray       4.20            3,864.00
                            re: production of insurance policies (1.2); research case
                            law re: protective order and mandatory disclosures
                            (3.0).

8 July 2021                 Telephone call with J. Zirkman, A. Kutz, and A. Azer re:      M Linder          2.00            2,100.00
                            certain non-abuse litigation (0.5); call with S. Hershey
                            and C. Morris re: same (0.5); telephone call with
                            chartered organization counsel re: plan revisions and
                            related matters (1.0).

8 July 2021                 Research case law re: protective orders and initial           Sean Murray       0.90                828.00
                            disclosures (0.5); revise response letter to S. Call (Non-
                            Abuse Litigation) (0.1); review and revise same (0.2);
                            email to S. Hershey same (0.1).

9 July 2021                 Emails with A. Kutz re: chartered organization matter.        M Linder          0.20                210.00

12 July 2021                Emails with J. Zirkman, A. Kutz and A. Azer re: non-          M Linder          1.20            1,260.00
                            abuse claim settlements (0.2); telephone call with J.
                            Zirkman, A. Kutz and defense counsel re: certain non-
                            abuse claim (0.6); telephone call with A. Kutz and A.
                            Azer re: process for settlement of non-abuse claims
                            (0.3); emails with A. Kutz re: status of certain settlement
                            (0.1).

14 July 2021                Telephone call with E. Perkins re: non-abuse litigation       M Linder          0.60                630.00
                            claims (0.2); email to E. Perkins re: same (0.2); emails
                            with M. Severino re: non-abuse litigation claims (0.2).

15 July 2021                Locate and e-mail several state court complaints to A.        D Hirshorn        0.30                 99.00
                            Bowron.

16 July 2021                Telephone call with A. Azer re: Insurer and non-abuse         M Linder          0.80                840.00
                            litigation claims (0.1); prepare for same (0.2); telephone
                            call with A. Kutz, A. Azer, P. Anderson and Insurer
                            principals re: same (0.5).

20 July 2021                Emails with D. Chaney re: status of Lehr settlement.          M Linder          0.10                105.00

21 July 2021                Telephone call with E. Rosenberg re: stay of estimation       M Linder          0.50                525.00
                            matters and various non-bankruptcy litigation matters
                            and approach to same.

22 July 2021                Review and comment on EGW filing (0.2); emails with           M Linder          0.30                315.00
                            E. Rosenberg re: same (0.1).

29 July 2021                Emails with S. Manning and A. Azer re: certain pending        M Linder          0.40                420.00
                            non-bankruptcy litigation and potential settlement of
                            same.

29 July 2021                Monitor various stayed litigation dockets and distribute      D Hirshorn        0.30                 99.00
                            update to E. Rosenberg and H. Rubashkin.




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30 July 2021                Emails with A. Kutz and S. Manning re: certain further      M Linder         0.70                735.00
                            abuse actions against individuals (0.3); review terms of
                            consent order and related briefing (0.3); telephone call
                            with A. Azer re: same (0.1).

30 July 2021                Monitor various stayed litigation dockets (0.3); email      D Hirshorn       0.50                165.00
                            docket update to E. Rosenberg and H. Rubashkin (0.2).

SUBTOTAL: Non-Bankruptcy Litigation                                                                     14.70           13,863.00


Non-Working Travel
13 July 2021                3.6 hours of non-working travel from Chicago to Dallas      M Linder         1.80            1,890.00
                            for depositions of B. Whittman and R. Mosby billed at
                            half-time.

13 July 2021                6.2 hour of non-working travel time from NY to Dallas       S Hershey        3.10            3,301.50
                            billed at half time.

15 July 2021                4.2 hours of non-working return travel to Chicago from      M Linder         2.10            2,205.00
                            Dallas billed at half-time.

15 July 2021                Non-working travel time from Dallas to NY.                  S Hershey        6.10            6,496.50

18 July 2021                5.8 hours of non-working travel time from NY to Dallas      S Hershey        2.90            3,088.50
                            billed at half-time.

19 July 2021                5.6 hours of non-working travel time from Dallas to NY      S Hershey        2.80            2,982.00
                            billed at half time.

22 July 2021                2.1 hours of non-working travel time from NY to             S Hershey        1.00            1,065.00
                            Hartford CT billed at half-time.

23 July 2021                2.1 hours of non-working travel time billed at half-time.   S Hershey        1.00            1,065.00

SUBTOTAL: Non-Working Travel                                                                            20.80           22,093.50


Professional Retention
8 July 2021                 Correspond with M. Linder and C. Binggeli re: new           B Warner         0.10                 97.00
                            ordinary course professional party.

11 July 2021                Email to L. Baccash re: connections search report           S Ludovici       0.20                203.00
                            process.

13 July 2021                Email to L. Baccash, J. Lauria and others re: insurers      S Ludovici       4.50            4,567.50
                            conflict report (0.1); email to D. Hirshorn re: insurers
                            conflict report (0.1); email to L. Baccash and others re:
                            insurers conflict report (0.1); email to D. Hirshorn and
                            others re: new connections reports (0.1); review
                            connections reports (2.5); begin drafting third
                            supplemental declaration in connection with W&C
                            retention (1.2); email to J. Buenafe re: contents of
                            reports (0.2); email to L. Baccash re: scope of
                            declaration (0.2).




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DATE                        DESCRIPTION                                                  TIMEKEEPER    HOURS                   USD

13 July 2021                Correspond with S. Ludovici re: PPII search and              B Warner         0.10                 97.00
                            retention supplement.

15 July 2021                Several emails with D. Hirshorn re: reports (0.3); review    S Ludovici       0.60                609.00
                            issue re: potentially interested parties list being
                            redacted and email with D. Hirshorn re: same (0.3).

15 July 2021                Analyze PPII list and provide updates to D. Hirshorn         B Warner         0.30                291.00
                            and S. Ludovici re: same.

16 July 2021                Review email from J. Lauria re: fee application issues       S Ludovici       0.40                406.00
                            with client (0.1); emails to B. Warner re: same and
                            coordinating with next fee application (0.3).

SUBTOTAL: Professional Retention                                                                          6.20            6,270.50


Public Relations Issues
2 July 2021                 Correspond with BSA Communications             team    on    M Andolina       0.80            1,040.00
                            contacts (0.4); emails re: same (0.4).

2 July 2021                 Multiple emails with FTI and client and team re: press       A O'Neill        0.70                910.00
                            issues and characterizations and review language re:
                            same and analysis re: same and draft response re:
                            same.

2 July 2021                 Telephone calls and emails with E. Roberts re: certain       M Linder         0.30                315.00
                            press coverage and inaccuracies in same.

28 July 2021                Review and comment on draft media statement (0.6);           M Linder         0.80                840.00
                            telephone calls with E. Roberts re: AP inquiry and
                            response to same (0.2).

SUBTOTAL: Public Relations Issues                                                                         2.60            3,105.00


Tax Issues
28 July 2021                Correspond with A&M and taxing authority re: tax             B Warner         0.10                 97.00
                            inquiry.

28 July 2021                Correspond with Gregg County re: unpaid tax accounts.        K Ferrier        0.70                584.50

30 July 2021                Correspond with Gregg County re: tax accounts.               K Ferrier        0.30                250.50

SUBTOTAL: Tax Issues                                                                                      1.10                932.00


Unsecured Creditor and Issues and Communications
2 July 2021                 Correspond with Omni and FTI teams re: claimant              B Warner         0.20                194.00
                            FAQs re: RSA.

12 July 2021                Telephone call with J. Lucas re: recent developments         M Linder         0.80                840.00
                            and strategic considerations (0.5); telephone call with E.
                            Goodman re: plan issues and related diligence (0.3).




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21 July 2021                Telephone call with J. Lauria, M. Andolina, L. Baccash,       M Linder                 1.50            1,575.00
                            D. Molton, E. Goodman, and A. Andrews re: chartered
                            organizations.

SUBTOTAL: Unsecured Creditor and Issues and Communications                                                         2.50            2,609.00


Local Council Issues and Communications
1 July 2021                 Attend call in part with ad hoc committee re: status.         J Lauria (Boelter)       0.50                675.00

1 July 2021                 Call with M. Andolina, M. Linder, J. Lauria, R. Mason,        L Baccash                1.00            1,050.00
                            W. Sugden and others re: plan issues (0.5); call with J.
                            Lauria, M. Linder, R. Mason re: RSA filing (0.5).

1 July 2021                 Review local council submissions re: roster redaction         C Tuffey                 7.40            4,699.00
                            project (0.3); call with BSA and Bates White re: same
                            (1.1); collect local council certifications and correspond
                            with councils that have not provided review and/or
                            certifications (5.7); emails with B. Warner and local
                            council re: claims list inquiry (0.1); emails with Bates
                            White re: updates to Exhibit 1 and local council
                            submissions (0.2).

2 July 2021                 Correspond with M. Andolina, M. Linder re: Fifth              B Warner                 0.10                 97.00
                            preliminary injunction Stipulation tasks.

2 July 2021                 Call with D. Hirshorn re: collecting local council            C Tuffey                 1.90            1,206.50
                            certifications (0.1); emails with local councils re: same
                            (0.2); correspondence with councils that have not
                            submitted claims review (1.0); calls with councils that
                            have not submitted review (0.1); collect and record local
                            council certifications (0.3); emails with Bates White re:
                            roster production (0.2).

2 July 2021                 Review certification for the fourth stipulation (2.2); e-     D Hirshorn               2.50                825.00
                            mail C. Tuffey re: same (0.1); e-mail re: scout
                            executives to C. Tuffey (0.2).

3 July 2021                 Correspond with J. Celentino re: local council inquiry.       B Warner                 0.20                194.00

6 July 2021                 Correspond with local council re: inquiry (0.2); analyze      B Warner                 2.70            2,619.00
                            fifth preliminary injunction stipulation obligations (0.4);
                            draft proposed client Bates White email and procedures
                            for review (0.5); correspond with local council re:
                            chartered organization claims inquiry (0.1); draft
                            preliminary injunction stipulation email (0.3); draft email
                            to Bates White re: preliminary injunction stipulation
                            (0.5); correspond with J. Celentino re: question from
                            local councils (0.1); review email from M. Murray re: fifth
                            preliminary injunction stipulation project (0.2), draft
                            responses to M. Murray (Bates White) on same (0.4).

6 July 2021                 Review inquiry via Omni re: local council property and        C Tuffey                 2.00            1,270.00
                            respond to same (0.3); email Scout Executives re:
                            outstanding review and rosters re: claims lists (0.3);
                            collect outstanding certifications and review outstanding
                            certifications (1.1); draft email to B. Warner re: Bates
                            White local council deliverables (0.3).



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7 July 2021                 Call with J. Celentino re: local council chartered              B Warner         2.50            2,425.00
                            organization claims lists (0.1); correspond with Bates
                            White team re: local council fifth preliminary injunction
                            stipulation claims tasks (0.2); correspond with J.
                            Celentino re: issues on same (0.3); correspond with
                            Bates White team re: fifth preliminary injunction
                            stipulation claims tasks (0.3); analyze spreadsheet re:
                            fifth preliminary injunction stipulation (0.3); call with M.
                            Murray, W. Reppert and C. Tuffey re: fifth preliminary
                            injunction stipulation local council process (0.4);
                            correspond with J. Lucas re: Fifth preliminary injunction
                            stipulation (0.2); correspond with Bates White re: Fifth
                            preliminary injunction stipulation requirements (0.1);
                            draft email to Bates White re: Fifth preliminary injunction
                            stipulation procedures and respond to question (0.3);
                            review draft local council claims list (0.3).

7 July 2021                 Call with BSA re: local council inquiry (0.2); call with B.     C Tuffey         2.40            1,524.00
                            Warner and Bates White re: Fifth preliminary injunction
                            obligations (0.5); collect certifications from local
                            councils (0.3); correspondence with local councils re:
                            outstanding submissions (1.4).

7 July 2021                 Update second certifications folder (0.1); update               D Hirshorn       0.20                66.00
                            tracking chart (0.1).

8 July 2021                 Videoconference with M. Murray, W. Reppert, J.                  B Warner         2.50            2,425.00
                            Celentino and C. Tuffey re: local council fifth preliminary
                            injunction stipulation tasks (0.6); correspond with J.
                            Celentino re: local council claims data request (0.1); call
                            with C. Tuffey re: fifth preliminary injunction stipulation
                            tasks (0.1); correspond with Bates White team re: local
                            council fifth preliminary injunction stipulation tasks (0.1);
                            review multiple local council asset notifications and
                            related documents (0.4), and draft committee
                            notifications on same (0.4); correspond with Bates
                            White team and J. Celentino re: additional claims for
                            Fifth preliminary injunction Stipulation (0.3); draft
                            additional local council asset notification to committees
                            (0.2); review and comment on Fifth preliminary
                            injunction stipulation instructions (0.3).

8 July 2021                 Call with B. Warner, Ad Hoc Committee of Local                  C Tuffey         5.70            3,619.50
                            Councils (in part), and Bates White re: fifth preliminary
                            injunction stipulation obligations (0.7); call with B.
                            Warner re: same (0.1); call with local council re: fourth
                            preliminary injunction obligations (0.5); emails with local
                            councils re: outstanding materials re: fourth preliminary
                            injunction stipulation (0.2); call with BSA re: local
                            council inquiry (0.1); draft email to Bates White re:
                            outstanding fourth preliminary injunction submissions
                            (0.2); emails with local councils re: access to fifth
                            preliminary injunction subfolders (0.2); review fifth
                            preliminary injunction stipulation and draft instructions
                            for local councils and BSA re: same (0.7); calls with
                            local councils re: roster redaction and chartered
                            organization search (0.9); draft local council instructions
                            sheet re: fifth preliminary injunction stipulation (1.5);
                            draft email response to Bates White re: confirmation
                            templates and review same (0.3); collect local council
                            certifications re: fourth preliminary injunction (0.2).




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9 July 2021                 Video call with M. Andolina, B. Whittman, M. Linder, R.          L Baccash        0.50                525.00
                            Mason, and J. Celentino re: plan issues.

9 July 2021                 Telephone call with R. Mason and W&C team re:                    M Linder         0.50                525.00
                            chartered organizations.

9 July 2021                 Revise and send preliminary injunction stipulation email         B Warner         1.80            1,746.00
                            update to BSA Team (0.5); correspond with J. Celentino
                            re: preliminary injunction stipulation search dates (0.3);
                            correspond with C. Tuffey re: Fifth preliminary injunction
                            Stipulation tasks (0.2); correspond with J. Celentino and
                            C. Tuffey re: Fifth preliminary injunction stipulation and
                            Chartered       Organization      review     issues     (0.2);
                            videoconference with W. Reppert and C. Tuffey re: Fifth
                            preliminary injunction stipulation local council tasks and
                            issues (0.2); videoconference with NY councils, J.
                            Celentino, C. Tuffey, M. Murray and W. Reppert re:
                            Fifth preliminary injunction Stipulation obligations and
                            training (1.0); call with C. Tuffey re: post-call tasks (0.1);
                            call with J. Celentino re: local council abuse claims
                            question and Fifth preliminary injunction Stipulation
                            process (0.2).

9 July 2021                 Review Ad Hoc Committee of Local Councils'                       C Tuffey         5.00            3,175.00
                            comments re: instructions for fifth preliminary injunction
                            stipulation (0.3); review B. Warner's inquiry re: fifth
                            preliminary injunction stipulation (0.2); emails with
                            Bates White re: not-barred claims inquiry (0.1); call with
                            Ad Hoc Committee, Bates White, New York local
                            councils re: Fifth Preliminary Injunction Stipulation (1.0);
                            call with B. Warner re: same (0.1); call with Bates White
                            re: same (0.1); call with NY local council re: fifth
                            preliminary injunction stipulation (0.1); draft emails to
                            Bates White and New York local councils re: proofs of
                            claim (0.1); emails with Bates White re: confirmation
                            templates (0.2); call with Bates White and BSA re:
                            roster redaction project (0.4); Calls with numerous local
                            councils re: outstanding fourth preliminary injunction
                            submissions (1.8); emails with local councils re: missing
                            certifications (0.4); call with B. Warner re: fifth
                            preliminary injunction submissions and call with K.
                            Andes re: same (0.2).

12 July 2021                Meeting at BSA re: Chartered Organization strategy               M Andolina       3.20            4,160.00
                            with Client, J. Zirkman and W. Custer (1.0); Zoom re:
                            same (1.0); emails re: same (0.5); phone conferences
                            re: same (0.7).

12 July 2021                Call with R. Mason, Client, M. Andolina, M. Linder, and          L Baccash        1.30            1,365.00
                            A. Azer re: chartered organization issues.

12 July 2021                Correspond with C. Tuffey re: Fifth preliminary                  B Warner         0.90                873.00
                            injunction Stipulation tasks (0.1); review local council
                            Fifth preliminary injunction Stipulation certification (0.3);
                            analyze claims list from TCC re: Fifth preliminary
                            injunction stipulation tasks and issues (0.2); correspond
                            with C. Tuffey and Bates White re: same (0.2); call with
                            M. Linder re: local councils and claims issues (0.1).

12 July 2021                Emails with Bates White re: POCs for Fifth Preliminary           C Tuffey         9.10            5,778.50



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                            Injunction Stipulation (0.1); emails with Scout
                            Executives re: outstanding materials re: Fourth
                            Preliminary Injunction Stipulation (0.6); collect and
                            review outstanding Fourth Preliminary Injunction
                            submissions (2.2); calls with Scout Executives re: same
                            (0.7); call with Bates White re: July production deadline
                            (0.4); call with D. Hirshorn re: certifications (0.1); emails
                            with B. Warner and Bates White re: Fifth Preliminary
                            Injunction deadlines (0.1); call with Ad Hoc Committee
                            of Local Councils re: additional claims lists (0.1); review
                            Bates White list re: produced redacted rosters (1.0);
                            confer with Bates Whites re: same (0.2); revise list re:
                            Fifth Preliminary Injunction Stipulation requests (2.4);
                            distribute requested claims lists to certain local councils
                            (0.3); collect and track local council certifications re:
                            Fourth Preliminary Injunction Stipulation (0.9).

12 July 2021                Export round 2 certifications and prepare zip file (0.4);       D Hirshorn       1.30                429.00
                            cross reference export with iManage folder for
                            duplicates (0.5); e-mail C. Tuffey re: same (0.2); update
                            iManage folder (0.2).

13 July 2021                Review and analyze local council proposal (0.6);                M Linder         1.40            1,470.00
                            telephone call with J. Celentino re: same (0.3);
                            telephone call with C. Nelson re: same (0.2); emails
                            with C. Nelson and R. McNamer re: same (0.3).

13 July 2021                Correspond with C. Tuffey re: Fourth preliminary                B Warner         0.70                679.00
                            injunction Stipulation issues (0.2); correspond with C.
                            Tuffey and J. Celentino re: certain roster local council
                            issues and Fifth preliminary injunction Stipulation status
                            (0.3); correspond with J. Lucas re: roster issues and
                            follow-up (0.2).

13 July 2021                Review and respond to local council inquiry re: not-            C Tuffey         5.00            3,175.00
                            barred claims (0.3); draft email to B. Warner re:
                            Production Deadline (0.2); outreach to local councils re:
                            outstanding Fourth Preliminary Injunction materials
                            (3.9); review updated Exhibit from Bates White and
                            comment on same (0.3); emails with B. Warner re:
                            outstanding local council submissions re: production
                            deadline (0.1); correspond with local councils re: same
                            (0.3).

13 July 2021                Update roster certifications file.                              D Hirshorn       0.10                 33.00

14 July 2021                Correspond with J. Lucas and C. Tuffey re: certain local        B Warner         0.70                679.00
                            council roster and chartered organization search issues
                            and tasks (0.2); correspond with Bates White re:
                            chartered organization search requirements (0.2);
                            confer with C. Tuffey re: local council roster and Fifth
                            preliminary injunction stipulation updates (0.2); draft
                            email to J. Lucas re: same (0.1).

14 July 2021                Call with BSA re: Michigan claims (0.1); emails with            C Tuffey         4.90            3,111.50
                            Bates White and BSA re: same (0.2); review local
                            council submissions re: Fifth preliminary injunction
                            stipulation (0.4); emails with B. Warner and Ad Hoc
                            Committee of local councils re: same (0.4); emails with
                            Bates White re: same (0.1); conduct additional review of



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                            local council submission re: fifth preliminary injunction
                            stipulation (0.9); calls with all NY local councils re:
                            outstanding submissions and fifth preliminary injunction
                            obligations (2.8).

15 July 2021                Analyze stipulation and respond to email from J.              B Warner         0.50                485.00
                            Celentino re: NY councils fifth preliminary injunction
                            stipulation compliance (0.2); correspond with J.
                            Celentino and C. Tuffey re: Fifth preliminary injunction
                            stipulation requirements and issues (0.2); call J. Lucas
                            re: fifth preliminary injunction stipulation requirements
                            (0.1).

15 July 2021                Review correspondence between B. Warner, J. Lucas,            C Tuffey         2.40            1,524.00
                            and Ad Hoc Committee of Local Councils (0.2); review
                            Fifth Preliminary Injunction Stipulation re: production
                            deadlines and draft chart re: same (0.7); emails with
                            Bates White re: fifth preliminary injunction stipulation
                            productions (0.3); review TCC inquiry re: produced
                            materials (0.1); respond to same (0.1); emails with
                            Bates White re: fourth preliminary injunction production
                            (0.1); review ShareFile for same (0.1); emails with local
                            councils re: same (0.2); emails with Bates White, BSA
                            and B. Warner re: claims list pursuant to Fifth
                            Preliminary Injunction Stipulation (0.3); email with BSA
                            re: roster redaction progress (0.3).

16 July 2021                Emails with D. Hirshorn re: redacted roster checks re:        C Tuffey         0.60                381.00
                            fifth preliminary injunction (0.2); review same (0.3);
                            emails with Bates White and local council re: POC
                            documents for fifth preliminary injunction search (0.1).

16 July 2021                Review NY local council redacted rosters for C. Tuffey.       D Hirshorn       0.50                165.00

18 July 2021                Call with R. Mason, J. Lauria, M. Linder, M. Andolina, J.     L Baccash        1.30            1,365.00
                            Celentino and others re: chartered organization issues
                            related to plan.

19 July 2021                Analyze local council asset notification emails from          B Warner         0.50                485.00
                            client (0.2); draft asset updates for Committees (0.3).

20 July 2021                Correspond with C. Tuffey re: status on Fourth and Fifth      B Warner         0.20                194.00
                            preliminary injunction Stipulation obligations.

20 July 2021                Calls with K. Ferrier and L. Mezei re: research re:           C Tuffey         5.80            3,683.00
                            indirect claims (0.7); call with L. Mezei re: same (0.2);
                            call with K. Ferrier re: same (1.0); research re: indirect
                            claims (2.0); draft finding re: same (1.5); emails with
                            Bates White and B. Warner re: claims lists (0.2); review
                            Fourth preliminary injunction and Fifth preliminary
                            injunction stipulations re: same (0.2).

20 July 2021                Emails with Bates White re: NY local councils (0.2);          C Tuffey         4.20            2,667.00
                            confer with B. Warner re: fifth preliminary injunction
                            obligations (0.1); review emails from Local Councils re:
                            same (0.2); review submissions from NY local councils
                            re: Fifth preliminary injunction stipulation (0.5); prepare
                            lists of produced redacted rosters (0.6); email with
                            Bates White re: BSA redaction tracker and progress for



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                            specific local council (0.1); review same (0.2); emails
                            with NY local councils re: Fifth preliminary injunction
                            stipulation deadlines (2.2).

21 July 2021                Correspond with C. Tuffey         re:   Fifth   preliminary   B Warner         0.20                194.00
                            injunction stipulation tasks.

21 July 2021                Calls with NY local councils re: Fifth Preliminary            C Tuffey         4.90            3,111.50
                            Injunction interim deadlines, progress, and questions
                            (3.4); review submissions re: same (1.0); emails with
                            Bates White re: same (0.2); emails with local councils
                            re: same (0.3).

22 July 2021                Review local council submissions re: Fifth preliminary        C Tuffey         0.50                317.50
                            injunction stipulation (0.4); email local council re: same
                            (0.1).

23 July 2021                Review BSA claims list re: Fifth preliminary injunction       C Tuffey         0.20                127.00
                            stipulation (0.1); respond to Bates White re: claims lists
                            for local councils (0.1).

26 July 2021                Video call with R. Mason, J. Ryan, M. Linder, and J.          L Baccash        1.00            1,050.00
                            Lauria re: chartered organizations.

27 July 2021                Videoconferences with W&C restructuring team, R.              M Linder         1.00            1,050.00
                            Mason, J. Celentino and M. Levy re: RSA issues.

27 July 2021                Correspond with Bates White team re: roster project           B Warner         0.40                388.00
                            questions (0.1); correspond with C. Tuffey re: roster
                            status/preliminary injunction stipulation tasks (0.2);
                            correspond with J. Lucas and C. Tuffey re: roster
                            question (0.1).

27 July 2021                Review Fourth preliminary injunction folder in response       C Tuffey         0.40                254.00
                            to TCC inquiry (0.2); emails with Bates White re: roster
                            redaction (0.1); emails with Bates White re: Fifth
                            preliminary injunction claims lists (0.1).

28 July 2021                Call with R. Mason, J. Celentino, M. Linder, J. Lauria        L Baccash        1.30            1,365.00
                            and others re: plan and chartered organization issues
                            (0.4); Call with D. Evans, M. Linder and others re:
                            chartered organization claims (0.4); review chartered
                            organization structure (0.5).

28 July 2021                Facilitate mediation party access to claims data (0.2);       C Tuffey         1.60            1,016.00
                            review TCC inquiry re: supporting documentation re:
                            fifth preliminary injunction stipulation (0.2); correspond
                            with local council re: same (0.2); review TCC inquiry re:
                            rosters and respond to same (0.6); emails with counsel
                            to local council and Bates White re: redacted rosters
                            submission (0.2); email with BSA re: roster progress
                            (0.1); update Ad Hoc Committee of Local Councils and
                            B. Warner re: interim deadline submissions (0.1).

28 July 2021                Emails with local councils and Bates White re: new            C Tuffey         2.50            1,587.50
                            claims re: fifth preliminary injunction stipulation (0.7);
                            review submissions re: fifth preliminary injunction
                            stipulation interim deadline (0.8); emails with B. Warner



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                            and Bates White re: fourth preliminary injunction
                            stipulation claims lists (0.3); review templates and
                            timeline (0.3); emails with local council and Bates White
                            re: update to review template (0.1); emails with local
                            councils re: outstanding fifth preliminary injunction
                            materials for interim deadline (0.2); emails with BSA re:
                            national BSA search results (0.1).

29 July 2021                Review and comment on local council roster search             B Warner         0.20                194.00
                            materials from C. Tuffey.

29 July 2021                Review and transfer local councils' supporting                C Tuffey         2.60            1,651.00
                            documentation re: TCC request (0.6); draft instructions
                            to local councils re: claims lists re: roster review (0.5);
                            review B. Warner's comments re: same and respond to
                            same (0.1); draft final certification re: NY Chartered
                            Organization search for fifth preliminary injunction
                            stipulation (0.8); respond to local councils re: fifth
                            preliminary injunction questions (0.2); respond to Bates
                            White inquiries re: local council review templates and
                            redacted roster uploads (0.2); review claims lists re: Ad
                            Hoc Committee of Local Councils inquiry re: roster
                            review and respond to same (0.2).

30 July 2021                Review documents and draft committee local council            B Warner         0.30                291.00
                            asset disposition update.

30 July 2021                Update Scout Executive contact list and distribute            C Tuffey         2.60            1,651.00
                            instructions for roster review (0.8); review form of final
                            certification (0.2); draft email to NY local councils re:
                            Chartered Organization search deadline (0.3); respond
                            to local council inquiries re: roster review (0.2); draft
                            email to local councils re: final deadline re: fifth
                            preliminary injunction stipulation (0.3); field responses
                            to same (0.1); confer with B. Warner and Ad Hoc
                            Committee of local councils on same (0.1); email TCC
                            request to certain council (0.1); call with Local Council
                            re: deadlines (0.2); emails with Bates White and Local
                            Councils re: roster review search (0.2); call with local
                            council re: new claims list (0.1); emails with local
                            councils re: claims lists (0.2).

SUBTOTAL: Local Council Issues and Communications                                                        103.70           75,615.50


Bankruptcy Appeals
26 July 2021                Review appellate case docket for updates.                     C Tuffey         0.20                127.00

SUBTOTAL: Bankruptcy Appeals                                                                               0.20                127.00


Mediation
2 July 2021                 Ongoing discussions with Coalition and BSA team re:           M Andolina       1.70            2,210.00
                            mediation issues and settlements (1.0); correspond with
                            D. Molton re: same (0.7).

2 July 2021                 Verify mediation party access to claims data.                 C Tuffey         0.10                 63.50




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6 July 2021                 Update communications with mediators re: status                M Andolina       1.20            1,560.00
                            conference (1.0); emails with BSA team re: same (0.2).

6 July 2021                 Draft sixth mediators'     report   (1.0);    revise   sixth   B Warner         1.40            1,358.00
                            mediators' report (0.4).

7 July 2021                 Mediation communications with insurer group members            M Andolina       1.10            1,430.00
                            and Coalition (1.0); emails with BSA team re: same
                            (0.1).

8 July 2021                 Communications with Coalition, Ad Hoc Committee of             M Andolina       1.70            2,210.00
                            Local Councils and client re: mediation re: Chartered
                            Organization issues (1.0); correspond with BSA team
                            re: same (0.7).

8 July 2021                 Call with T. Gallagher re: mediation party (0.1);              B Warner         0.90                873.00
                            research re: mediation party (0.2); update mediation
                            parties distribution list (0.2); respond to email from
                            Catholic Mutual re: mediation party status and claims
                            (0.2); correspond with D. Schufreider re: Catholic
                            Mutual mediation party access (0.1); correspond with D.
                            Hirshorn on same (0.1).

9 July 2021                 Phone conference with Ad Hoc Committee of Local                M Andolina       1.30            1,690.00
                            Councils (R. Mason, J. Celentino) re: various issues
                            (0.5); emails re: same (0.5); calls re: same (0.3).

9 July 2021                 Mediation call with A. Azer, M. Linder, T. Gallagher and       L Baccash        0.60                630.00
                            ORIC team re non-abuse claims.

9 July 2021                 Videoconference with K. Carey, T. Gallagher, M.                M Linder         0.60                630.00
                            Andolina, B. Whittman and A. Azer re: strategic matters.

10 July 2021                Email update to Ad Hoc Committee of Local Councils             M Andolina       0.50                650.00
                            re: mediation session (0.3); email to BSA re: same
                            (0.2).

13 July 2021                Draft details of mediation schedule responsive to              D Kim            0.70                444.50
                            interrogatory requests.

13 July 2021                Review mediation party request          re:    access    to    C Tuffey         0.30                190.50
                            confidential proofs of claim.

15 July 2021                Send list of mediation party information to W&C and            B Warner         0.10                 97.00
                            Haynes and Boone teams.

16 July 2021                Emails with various Chartered Organizations re: update         M Andolina       1.60            2,080.00
                            and strategy re: mediation issues (0.6); phone
                            conferences re: same (1.0).

16 July 2021                Videoconference with mediators, J. Lauria, M. Andolina,        M Linder         1.70            1,785.00
                            and B. Whittman re: recent developments, strategy and
                            next steps (0.7); telephone call with K. Anker, M.
                            Salzberg, and L. Baccash re: mediation issues (0.3);
                            email to Client re: same (0.2); emails with M. Andolina,
                            L. Baccash, E. Rice, and J. Ryan re: mediation issues
                            (0.2); telephone call with B. Warner re: mediation issues



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                            (0.3).

16 July 2021                Review and analyze case law re: mediation.                  C Walker         0.40                406.00

16 July 2021                Correspond with Haynes Boone re: mediation party            B Warner         0.30                291.00
                            status (0.1); draft mediator communication re: additional
                            mediation parties (0.2).

17 July 2021                Emails with mediators and W&C team re: admission to         M Linder         0.20                210.00
                            mediation.

17 July 2021                Correspond with mediation parties and mediator team         B Warner         0.20                194.00
                            re: additional parties.

20 July 2021                Update call with mediation parties re: same (1.0);          M Andolina       2.30            2,990.00
                            emails re: same (0.5); calls with BSA team and
                            mediators re: same (0.4); emails with same re: same
                            (0.4).

20 July 2021                Videoconference with J. Lauria, M. Andolina, L.             M Linder         0.20                210.00
                            Baccash, T. Gallagher and P. Finn re: status of
                            mediation discussions.

20 July 2021                Correspond with M. Linder re: mediation party status        B Warner         0.50                485.00
                            (0.1); draft communication to all mediation parties re:
                            addition of mediation party (0.2); draft mediation party
                            admission email and instructions to counsel (0.2).

21 July 2021                Phone conferences with Coalition re: mediation issues       M Andolina       1.90            2,470.00
                            (0.5); emails with BSA team re: same (0.5); phone
                            conferences with BSA team re: same (0.2); emails with
                            mediators re: update (0.2); calls with mediators re:
                            same (0.3); correspond with client and BSA team re:
                            same (0.2).

21 July 2021                Correspond with W&C team and Wachtell re: mediation         B Warner         0.40                388.00
                            party questions (0.1); correspond with M. Linder re:
                            Catholic Ad Hoc Committee questions (0.1); review
                            mediation order issues and respond to email from
                            counsel to RCAHC (0.1); call with T. Weaver re:
                            mediation party admittance questions (0.1).

23 July 2021                Zoom with mediation parties re: RSA hearing.                M Andolina       1.50            1,950.00

23 July 2021                Weekly call with mediators.                                 M Linder         0.30                315.00

23 July 2021                Draft and distribute mediation notice to all mediation      B Warner         0.30                291.00
                            parties.

26 July 2021                Correspond with     M.   Linder   re:   mediation   party   B Warner         0.10                 97.00
                            correspondence.

27 July 2021                Research re: mediation party claims; draft email to C.      B Warner         0.40                388.00
                            Tuffey re: research.

27 July 2021                Review proof of claim docket re: mediation party            C Tuffey         2.60            1,651.00



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DATE                        DESCRIPTION                                                 TIMEKEEPER            HOURS                   USD

                            inquiry.

28 July 2021                Emails with mediators re: additional mediation schedule     M Andolina               2.80            3,640.00
                            (0.3); phone conferences re: same (0.2); ongoing
                            negotiations of amendment to RSA (1.5); phone
                            conferences with Coalition, TCC and Ad Hoc
                            Committee of Local Councils (0.5); emails with same
                            (0.3).

28 July 2021                Telephone call with J. Lucas re: mediation parties (0.2);   M Linder                 0.40                420.00
                            emails with B. Warner re: same (0.2).

28 July 2021                Call with counsel to Roman Catholic Ad Hoc Committee        B Warner                 0.80                776.00
                            re: mediation party status (0.1); draft mediation
                            scheduling notice (0.4); correspond with mediators and
                            other mediation parties re: upcoming mediation (0.3).

28 July 2021                Review proof of claim docket re: mediation party inquiry    C Tuffey                 1.30                825.50
                            (1.1); draft summary of same to B. Warner (0.2).

29 July 2021                Correspond with mediation parties re: admittance and        B Warner                 0.30                291.00
                            questions re: upcoming mediation (0.2); correspond
                            with counsel to mediation party re: admission status
                            (0.1).

30 July 2021                Attend mediation session (0.5); attend additional           J Lauria (Boelter)       2.50            3,375.00
                            mediation session (1.0); attend prep session with
                            Haynes Boone and W&C re: mediation (0.5); attend call
                            re: RSA hearing (0.5).

30 July 2021                Prepare for mediation session with insurers (0.5);          M Andolina               1.50            1,950.00
                            attend mediation session with insurers (1.0).

30 July 2021                Videoconference with mediators, J. Lauria, M. Andolina,     M Linder                 2.20            2,310.00
                            and B. Whittman re: strategic matters (0.5); telephone
                            call with chartered organization general counsel re:
                            mediation and related matters (0.3); mediation call with
                            insurers (1.4).

30 July 2021                Correspond with W&C team re: mediation and planning.        B Warner                 0.10                 97.00

30 July 2021                Review mediation party access to claims data and            C Tuffey                 0.20                127.00
                            dataroom.

SUBTOTAL: Mediation                                                                                             39.20           44,049.00


District Court Litigation
9 July 2021                 Analyze terms of motion to approve RSA affecting            E Rosenberg              0.40                426.00
                            estimation proceedings.

12 July 2021                Email correspondence with P. Topper re: stay of             E Rosenberg              0.30                319.50
                            estimation proceedings (0.1); calls with P. Topper re:
                            same (0.2).

14 July 2021                Review form for stipulation staying estimation matters.     E Rosenberg              0.20                213.00



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16 July 2021                Further draft/revise stipulation staying estimation       E Rosenberg       0.90                958.50
                            matters (0.8); email correspondence with P. Topper re:
                            same (0.1).

19 July 2021                Further draft and revise stipulation staying estimation   E Rosenberg       2.90            3,088.50
                            matters (1.4); email correspondence with P. Topper and
                            A. Remming re: same (0.2); review and analyze
                            procedures re: same (0.9); call with P. Topper re: same
                            (0.2); email correspondence with M. Linder and M.
                            Andolina re: same (0.2).

20 July 2021                Email correspondence with M. Linder and M. Andolina       E Rosenberg       0.20                213.00
                            re: stay of estimation matters.

21 July 2021                Prepare for call with M. Linder to discuss stay of        E Rosenberg       0.60                639.00
                            estimation matters (0.2); call with M. Linder re: same
                            (0.4).

26 July 2021                Draft proposed language re: stay of estimation matters    E Rosenberg       1.00            1,065.00
                            (0.8); email correspondence with M. Linder re: same
                            (0.2).

28 July 2021                Correspond with M. Linder re: stay of estimation          E Rosenberg       0.20                213.00
                            matters.

SUBTOTAL: District Court Litigation                                                                     6.70            7,135.50



TOTAL                                                                                               3,503.80         3,382,840.00




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                                             Exhibit B

                                         Expense Detail

             Work Date       Timekeeper Name                Description        WIP Amt
               7/5/2021   Andolina, Michael           Business Meals             555.00
              7/15/2021   Nolan-Thompson, Stella      Business Meals             200.00
              7/15/2021   Nolan-Thompson, Stella      Business Meals             496.38
              7/15/2021   Nolan-Thompson, Stella      Business Meals             553.62
              7/15/2021   Nolan-Thompson, Stella      Business Meals             850.00
              7/12/2021   Rosenberg, Erin             Computer Services           16.00
              7/21/2021   Linder, Matthew             Computer Services           15.99
              7/21/2021   Linder, Matthew             Computer Services           15.99
              7/23/2021   Hershey, Sam                Computer Services           25.00
              7/23/2021   Hershey, Sam                Computer Services           25.00
              7/23/2021   Hershey, Sam                Computer Services           25.00
              7/23/2021   Hershey, Sam                Computer Services           25.00
               7/6/2021   Shenberg, Michael           Courier Service             58.75
              7/19/2021   Thomas, Jennifer            Document Research           34.84
              7/19/2021   Rosenberg, Erin             Document Research            0.43
              7/22/2021   Hershey, Sam                Deposition Transcripts   1,624.50
              7/22/2021   Hershey, Sam                Deposition Transcripts   2,989.08
              7/27/2021   Hershey, Sam                Deposition Transcripts   4,285.88
              7/27/2021   Hershey, Sam                Deposition Transcripts   2,446.65
              7/30/2021   Linder, Matthew             Miscellaneous Other         50.00
              7/14/2021   Chen, Tony                  Overtime Meals              12.25
              7/27/2021   Chen, Tony                  Overtime Meals              12.55
               7/2/2021   Ferrier, Kyle               Printing                    24.90
               7/2/2021   Ferrier, Kyle               Printing                     2.10
              7/15/2021   Bachiller, Gladys           Printing                     0.20
              7/15/2021   Bachiller, Gladys           Printing                     0.20
              7/15/2021   Bachiller, Gladys           Printing                     0.20
              7/15/2021   Bachiller, Gladys           Printing                     0.50
              7/20/2021   Simon, Abigail              Printing                    45.70
              7/20/2021   Simon, Abigail              Printing                    43.10
              7/20/2021   Simon, Abigail              Printing                     0.30
              7/20/2021   Simon, Abigail              Printing                     0.20
              7/21/2021   Lauria (Boelter), Jessica   Printing                     2.40
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.10
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.40
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.10
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.40
              7/21/2021   Lauria (Boelter), Jessica   Printing                     2.20
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.50
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.50
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.20
              7/21/2021   Lauria (Boelter), Jessica   Printing                     0.20
              7/26/2021   Dharia, Binoy               Printing                     0.20
              7/26/2021   Dharia, Binoy               Printing                    47.30
              7/26/2021   Dharia, Binoy               Printing                     0.20
              7/26/2021   Dharia, Binoy               Printing                     1.20
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              7/26/2021   Dharia, Binoy          Printing        47.30
              7/26/2021   Dharia, Binoy          Printing         1.20
              7/26/2021   Perry, Stephanie       Printing         0.20
              7/26/2021   Perry, Stephanie       Printing         9.20
              7/26/2021   Perry, Stephanie       Printing        21.00
              7/26/2021   Perry, Stephanie       Printing         0.40
              7/26/2021   Perry, Stephanie       Printing        21.00
              7/26/2021   Perry, Stephanie       Printing         0.20
              7/26/2021   Perry, Stephanie       Printing         9.20
              7/26/2021   Perry, Stephanie       Printing        41.80
              7/26/2021   Perry, Stephanie       Printing        41.80
              7/26/2021   Perry, Stephanie       Printing         0.40
                                                             14,684.91




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